          Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 1 of 96



                              UNITED STATES DISTRICT COURT
                                FOR DISTRICT OF COLUMBIA

MAN AGAINST XTINCTION A/K/A M.A.X. FN1,              )
                                                     )
                            Citizen Attorney General )              Civil Action No.
                                                     )
v.                                                   )
                                                     )               1:21-cv-01131-TJK
MICHAEL PENTONY, as an individual                    )
                                                     )
ADMINISTRATOR of the NATIONAL OCEANIC AND )                          28 February 2022
ATMOSPHERIC ADMINISTRATION (“NOAA”) `                )
                                                     )
JANET COIT in his official capacity as the assistant )
administrator of the NATIONAL MARINE FISHERIES )
FISHERIES (“NMFS”) FN2                               )
                                                     )
ATLANTIC STATES COASTAL                              )
MARINE FISHERIES COMMISSION (“ASMFC”)                )
                                                     )
JANE DAVENPORT &                                     )
DEFENDERS OF WILDLIFE FN3                            )
                                                     )
AMY KNOWLTON & NEW ENGLND AQUARIUM                   )
                                                     )
ARTHUR SAWYER                                        )
                            Defendants               )



                VERIFIED CORRECTED & AMENDED PETITION FOR DECLARATORY &
                       INJUNCTIVE RELIEF & REQUEST FOR A JURY TRIAL


       I, Richard Maximus Strahan, serving as Citizen Attorney General Man Against Xtinction
hereby SPEAKS:



1M. A. X. is a licensed commercial lobster fisherman, an avid whale watcher, a conservation scientist
 & a professional recovery agent for whales and other endangered marine wildlife.
2 Replacing original defendant Paul Doremus.
3 WINGO is an acronym for “Whale Interested Non-Government Organization.” WINGOS now
 constitute a main source of consultation and partnership for NOAA/NMFS’ program to evade and
 not enforce the ESA concerning its licensing and regulating of marine fisheries .
           Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 2 of 96
28 February 2028 Typographic Corrected Complaint in Strahan v. Pentony, 1:21-cv-01131-TJK
                                                                                                     2

1.      Man Against Xtinction (“MAX”) is prosecuting the Defendants in the name of the People of
the United States, pursuant to his appointment by Congress pursuant to the Public Attorney General
provisions of the Endangered Species Act. 16 USC Sec. 1540(g). Pursuant to this appointment, the
Congress gives me Article III standing and the authority to prosecute the Defendants for their
engaging in conduct that constitutes ESA Section 9 prohibited taking of ESA Listed Species of
wildlife. I am authorized by Congress to petition the Court in the name of the People of the United
States for an order requiring the Defendants to immediately cease any activity that they are engaged
in or directly supporting that is causing or resulting in ESA Listed Species being “taken” as defined
pursuant to ESA Section 9. Congress pursuant to the ESA has imposed a mandatory and non-
discretionary duty on the Court to enforce the ESA Section 9 take prohibition against the
Defendants regardless of the Defendants NOAA/NMFS failure to do so. As such, the Court is
required to immediately stop any ongoing prohibited taking by the Defendants the Court recognizes
them to be responsible for and to do so despite any adverse consequence to the Defendants or the
US economy.

2.      Defendants NOAA/NMFS and their employees are maliciously acting in concert over the
span of the last several decades to deliberately insure the extinction of the Northern Black Whale
species. Their intent is to prevent any adverse impact on the US commercial fishing industry from
the enforcement of the Endangered Species Act against it. The instant action is a Public Interest
prosecution of the government employee scofflaws of NOAA/NMFS for engaging in their multi-
decanal pattern of malicious activities that are supporting the prohibited killing, injuring and
otherwise \ taking of ESA Listed Species of whale and sea turtles.

3.      The Northern Black Whale species now faces inevitable extinction within the next decade.
NOAA/NMFS themselves recognize that the remaining Black Whale population is crashing with
about a ten percent annual rate of population loss (“Black Whale Decline”). This decline
commenced four decades after their becoming an ESA Listed Species in 1969. The Black Whale’s
Decline is a direct result of NOAA/NMFS deliberate and knowing crimes of commission &
omission against ESA Listed Species. Example, since 1973 NOAA/NMFS required the use of
vertical buoy ropes and other fishing gear that annually catches, kills and otherwise decimates ESA
Listed Species of whales and sea turtles. Example, NOAA/NMFS has refused since 1973 to the
present date to enforce the ESA/MMPA prohibitions against ALL individual fishers whose fishing
gear has caught and killed ESA Listed Species of whales and sea turtles. Example, NOAA/NMFS
             Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 3 of 96
28 February 2028 Typographic Corrected Complaint in Strahan v. Pentony, 1:21-cv-01131-TJK
                                                                                                        3

has deliberately failed to implement any meaningful program that takes proactive measures to
increase the size of the Northern Black Whale population so that it is no longer requires protection
under the ESA.

4.        These Defendants then and now maintain an occupational culture among their employees
that works deliberately to encourage the extinction of the Black Whale in order to protect the
commercial fishing industry off the US Atlantic coastline from being adversely affected by the
whale’s ESA Listed Species status. These Defendants have known since 1997 that their requiring
their licensed fishers to use vertical buoy ropes in their regulated lobsterpot and gillnet fisheries
(“Fishing Activity”) routinely catches, kills and injures Northern Black Whales and other ESA
Listed Species of whales and sea turtles. By 1997 these defendants knew that their requiring the use
of VBR constitutes a ESA9 prohibited taking of ESA Listed Species of whales and sea turtles. FN4
Despite this awareness, NMFS employees continued maliciously acting collaboratively to the
present day to continue their required use of VBR and to prevent lawful and proper enforcement of
the ESA’s take prohibitions against the fishing that would have immediately ended any further
ESA9 prohibited taking by the Defendants’ Fishing Activity.

5.        In 1973, Defendant NOAA began the Northern Black Whale species path to inevitable
extinction. Congress assigned ESA/MMPA superintendent authority to NOAA who then
capriciously delegated it its infra-agency NMFS. In doing, NOAA ignored its other infra-agencies
— like the National Ocean Service – that would be a better choice to manage a species recovery
program. At the outset, NMFS would be the worst possible choice for protecting Ocean
biodiversity. NMFS under its organic statute only promote the industrial killing of marine wildlife
for commercial gain. In 1973 as now, NMFS licensing and regulating marine fisheries is the main
cause for most of the anthropogenic destruction of Black Whales and other ESA Listed Species of
whales and sea turtles living along the US Atlantic coastline.

6.        As a result of its continuing prohibited killing by NMFS, in 2021 the Northern Black Whale
species is facing an inevitable extinction by the beginning of the 21 st Century if not even sooner. For
the past several decades, the Defendants acting in concert have protected the Atlantic fishing
industry’s obsession with using vertical buoy ropes (VBR) that routinely catch ESA Listed Species
of whales and sea turtles. The Defendants position as government employees allow them to do this


4
    See Strahan v. Coxe, 939 F. Supp. 963 (Dist. Mass. 1996) and 127 F. 3d 155 (1st Circuit, 1997).
           Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 4 of 96
28 February 2028 Typographic Corrected Complaint in Strahan v. Pentony, 1:21-cv-01131-TJK
                                                                                                        4

despite federal courts since 1997 repeatedly ruling that these defendants requiring the use of VBR
by the fishing industry constitutes ESA Section 9 prohibited taking of these ESA protected species.

7.      Defendants Atlantic States Marine Fisheries Commission (“ASMFC”) and the Defenders of
Wildlife (“Defendant WINGO”) or just “WINGO”) are acting in concert with NMFS to prevent the
full enforcement of the ESA take prohibition against the commercial and recreational fishing
industry operating in US coastal waters off the Atlantic coastline. The ASMFC is developing the
fisheries management plans requiring the use of VBR that NMFS simply rubber stamps in adopting
them. Defendant WINGO serves on NMFS Atlantic Large Whale Take Reduction Team as NMFS
official consultant. It that capacity Defendant WINGO has voted to ignore the ESA and continue the
use of VBR. As NMFS and the industry’s agent, has issued propaganda to deflect the Public from
blaming the ongoing entanglement of Black Whales on the US fishing industry.

                 M. A. X. has Article III Standing Supplied by 16 USC 1540(g) to
                  Prosecute the ESA Take Prohibitions against the Defendants

8.      In adopting 16 USC 1540(g) in 1973, Congress recognized that federal wildlife agencies
then and still are wholly dedicated under their organic statutes to the commercial and recreational
destruction of wildlife. And that the employees of these agencies were unlikely to prosecute anyone
for the prohibited taking of ESA/MMPA protected wildlife pursuant to these agencies regulated
activities, including prosecuting the agencies themselves. Congress therefore agreed to take the
extraordinary action to authorize citizens pursuant to 16 USC 1540(g) to prosecute on behalf of the
Public individuals and government agencies in federal courts for their prohibited taking of ESA
Listed Species. Congress in doing so empowered federal courts to enjoin ongoing commercial and
recreational activities that historically and currently cause the prohibited taking of animals whose
species are now ESA Listed Species.

             The Supreme Court Requires Judges to Independently Search for and
              Apply Legal Theory to Justify Pro Se Petitioners Sought for Relief

9.      M. A. X. is petitioning the Court for relief without the use of an attorney. The Supreme
Court and other federal courts have ruled that a Court is under a constitutionally imposed duty to
not burden these petitioners with obligation to provide the correct legal theory to justify a court
granting their sought for relief. A pro se petitioner only needs to allege pertinent fact and clearly
state the relief it seeks from a court. Courts then have a mandatory duty to find sua sponte any legal
basis to justify the court issuing the relief sought by the pro se petitioner.
           Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 5 of 96
28 February 2028 Typographic Corrected Complaint in Strahan v. Pentony, 1:21-cv-01131-TJK
                                                                                                       5

10.     M. A. X. while under no obligation to supply legal arguments justifying his requested relief
from the Court will none the less raise meritorious legal claims and claims of fact that should allow
the Court to grant his requested relief against the Defendants. That said, the Plaintiff encourages the
Court to supply its own theories of law that will allow it to order the Defendants to stop their
prohibited taking of ESA Listed Species of whales and sea turtles and grant him all his other
requested relief from the Court.

 NOAA Violated ESA Section 7 Mandates to Protected ESA Listed Species of Whales and Sea
            Turtles by Delegating Its ESA Superintendent Authority to NMFS

11.     Congress adopted the ESA 1973. It then assigned Defendant NOAA superintendent
authority to administer and enforce the ESA for ESA Listed Species of whales and sea turtles. This
assignment made NOAA responsible for enforcing the ESA Section 9 take prohibitions against
government agencies and private individuals’ activities. It also made NOAA responsible for
developing and coordinating the overall implementation of conservation plans to recover these
endangered species from their biological endangered status in facing extinction.

12.     NMFS promptly surrendered its ESA superintendent authority to its infra-agency in a knee
jerk manner without any rational basis for doing so. NOAA violated its ESA Section 7 mandated
duty to enter the required consultation in order to review its plan to delegate its ESA superintendent
authority to one of its infra-agencies. NOAA violated its ESA Section 7 mandated duty to determine
FIRST on whether delegating its said authority to NMFS would jeopardize the continued survival of
ESA Listed species of whales and sea turtles. History has now demonstrated that NOAA’s said
violation directly led to the beginning of the modern decline of the Right Whale species population
and their current status of facing inevitable extinction.

13.     NMFS’s organic statute gives it only the duty and authority to promote and regulate the
economic success of US marine commercial fishing industry. Historically NMFS and its originating
agency only licensed the killing and harvesting of whales and other marine mammals. The
enactment of the ESA was a direct result of the wholesale depletion of marine biodiversity
promoted and licensed by NMFS. Then and to this very day, NMFS is responsible for and
authorizes the killing and destruction of marine wildlife populations. It has no demonstrated
expertise in the conservation or recovery of wildlife species outside of its occasional limiting the
killing and destruction. NOAA’s delegating ESA superintendent status to NMFS not only violated
its ESA Section 7 mandated duties, but its duties under the ESA not to delegate its ESA
           Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 6 of 96
28 February 2028 Typographic Corrected Complaint in Strahan v. Pentony, 1:21-cv-01131-TJK
                                                                                                      6

superintendent authority to an infra-agency whose licensed agents routinely engage in ESA Section
9 prohibited taking of ESA Listed Species of whale and sea turtles from entanglement in their
fishing gear.

14.     NMFS is the wolf in the nursery staring into the cradle. NOAA is pouring ketchup on the
baby by delegating to it its ESA superintendent authority. NMFS administrators and employees
since 1973 have deliberately dedicated themselves to develop and implement an occupational
culture for NMFS that supports and protects the marine fishing industry from the enforcement of
environmental laws. As a result, handing the ESA superintendent authority to NMFS only gave it
the authority to evade any enforcement of the ESA against the commercial interests of the marine
fishing industry. NMFS employees are trained from the start to recognize that they must not hurt the
industry by enforcing environmental laws against it. Upon information and belief, NMFS
employees have been fired or transferred from their jobs based on nothing more than making a
suggestion that the industry needs to obey environmental laws.

15.     NMFS has a de facto policy of never enforcing MMPA or ESA Section 9 prohibitions
against any state or federally licensed marine fisher when a ESA Listed Species of whale or sea
turtle is entangled by the vertical buoy ropes on its fishing gear. Upon information and belief,
NMFS has never issued a single citation to a fisher whose gear is known to have entangled an ESA
Listed Species of whale or sea turtle.

16.     I am petitioning the Court to enjoin NMFS current delegation of ESA superintendent
authority to NMFS and any attempt by it to do so in the future. I am petitioning the Court to order
NMFS to conduct the required ESA Section consultation on any future decision to delegate its ESA
Superintendent authority to any of its other infra-agencies.


           Defendant NMFS’ Occupational Culture Seeks Protecting the Use of VBR
                       by Exterminating the Northern Black Whale

17.     Today, the number one source of death and injury of ESA Listed Species of whales and sea
turtles is there being entangled in the vertical buoy rope. The VBR is one of the required features of
pot and gillnet fishing gear licensed and regulated by NMFS. Defendant NMFS itself is liable for
the killing and otherwise prohibited taking of ESA Listed Species from its licensing and regulating
marine fisheries activities. It is the only agency that licenses and regulates the commercial and
recreational harvesting of marine wildlife. Its ESA/MMPA prohibited takings of these ESA Listed
           Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 7 of 96
28 February 2028 Typographic Corrected Complaint in Strahan v. Pentony, 1:21-cv-01131-TJK
                                                                                                       7

Species is malicous and intentional. Defendant NMFS is well aware the VBR is requires fishermen
to use catches ESA Listed Species of whales and sea turtles. Defendant NMFS is deliberately
engaging in conduct prohibited by the ESA Section 9 take prohibitions.

18.     The Defendant NMFS is deliberately authorizing agents to catch ESA Listed Species
through NMFS licensed and regulated marine fisheries. Defendant NMFS refuses to cite any of its
licensed fishers when they catch ESA Listed Species in their fishing gear. Defendant NMFS now
has a de facto policy -- that it instructs its employees to enforce -- of approving its licensed and
regulated fishers catching of ESA Listed Species in their fishing gear. NMFS occupational culture
acts to support the said policy by ensuring that no scientific research is permitted or funded by
NMFS that will identify the actual locations and fishers (state or federally licensed) whose fishing
gear catches members of ESA Listed Species in US coastal waters.

19.     NMFS recognizes that the economic conflict between the marine fisheries industry and the
ESA prohibiting the killing and otherwise taking of ESA Listed Species of whales and sea turtles is
not reconcilable. Its industry biased occupational culture is resolving the complex by refusing to
enforce the ESA against the marine fishing industry and to encourage and facilitate the extinction of
the Northern Black Whale. It has implemented its pro-extinction program against the Black Whale
for the past several decades. It and has been successful in causing the collapse of the Northern
Black Whale population and insuring that its future extinction is inevitable.

20.     NMFS supporting the industry use of VBR by requiring the use of VBR since 1973 has
resulted in “shrunken” Right Whales. FIRST, the Right Whales are shrinking in their numbers. In
2020, NMFS calculated that during the year before the Right Whales remaining population had
shrunk by over ten percent. This loss was mostly do to the adverse effects from these whales routine
entanglement in VBR laden pot and gillnet fishing gear licensed by NMFS.

21.     SECOND, the average length of a Right Whale shrunk by over a yard from the 1970’s to the
last decade. This average length reduction is seen as a direct result of VBR entanglements adverse
impact on the health of entangled whales and its reduction of an entangled whales ability to feed
and female whales ability to supply adequate amounts of milk to their young.

22.     THIRD, VBR entangled Right Whales are prevented from finding adequate nourishment
and immediately begin to lose weight especially in its body fat. This results with shrinkage in the
breadth of a whale’s body. Additionally Right Whales buoyancy shrinks and staying afloat is more
              Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 8 of 96
28 February 2028 Typographic Corrected Complaint in Strahan v. Pentony, 1:21-cv-01131-TJK
                                                                                                      8

laborious for entangled whales. When these whales die from the VBR entanglement, they
immediately sink owing to their malnourished induce lack of buoyancy. This results in the dead
whale not stranding on a beach or otherwise leaving evidence of its VBR entanglement caused
death.

23.      The above facts require a finding that the mere act of deploying VBR laden fishing gear in
Right Whale critical habitat constitutes per se prohibited conduct pursuant to the ESA’s Section 9
prohibitions against the taking of ESA Listed Species. No subsequent entanglement of a Right
Whale is needed for deployed VBR laden fishing gear to constitute a legally prohibited taking of the
Right Whale.

24.      Defendants NOAA & NMFS employees are usurping their authority as federal employees in
order to protect federal and state licensed fishing activity from any adverse impact on commercial
fisheries (“Fishing Activity”) from being required to comply with the ESA/MMPA prohibitions
against the killing and injuring of ESA Listed Species of whales and sea turtles. NMFS in
implementing its latest marine fisheries management plans (“2021 Fishing Rules”) and
subsequently issuing its 2021 ESA 7 Biological Opinion on these Fishing Rules unlawfully refused
to consider banning the use of VBR by these marine fisheries. In developing and adopting its 2021
Atlantic Large Whale Take Reduction Plan (“ALWTRP”), it refused to consider the alternative of
prohibiting the use of VBR by federal and state licensed marine fisheries. These failures by NMFS
are a consequence of NMFS’ occupational culture’s commitment to prevent any provision of the
ESA or MMPA from adversely affecting the marine fishing industry chosen way of operating.
NOAA & NMFS in practice refuse to challenge at all fisheries management plans developed under
the aegis of the Defendant Atlantic States Marine Fisheries Commission (ASMFC). It simply
implements these plans with no significant alteration even in order to comply with their mandatory
and non-discretionary duties imposed on them by the ESA & MMPA. They will never stop
requiring the use of VBR as long as the marine fishing industry through the ASMFC continues to
support its use.

                         Partial Requested Relief Against the Defendants
25.      M. A. X. is seeking a Permanent Injunction against the Defendants —
         a.      Declaratory Judgement that NMFS is engaged in ESA9 prohibited taking by
                 licensing and requiring the use of vertical buoy ropes by lobsterpot and gillnet
                 fisheries along the northeast US coastline
             Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 9 of 96
28 February 2028 Typographic Corrected Complaint in Strahan v. Pentony, 1:21-cv-01131-TJK
                                                                                                       9

        b.      Enjoining the Defendants from requiring the further use of Vertical Buoy Ropes in
                its Fishing Activity and from licensing any fishing activity using VBR. .
        c.      Enjoining the Defendants from further licensing the use of fixed Gill Nets off the
                US northeast coastline.
        d.      Order that the Defendants to enforce the ESA Section 9 take prohibitions against
                coastal state marine fishing agencies that license lobsterpot and gillnet fishing in
                US coastal waters. In doing so NOAA must authorize said state fisheries pursuant
                to the ESA’s Section 10 requirements before it allows these states continue their
                lobsterpot and gillnet fisheries in US coastal waters that routinely entangle ESA
                Listed Species of whales and sea turtles.
        e.      Enjoin NOAA’s past delegation of its ESA superintendent authority to NMFS.
        f.      Enjoin NMFS’ further acting pursuant to a claim of ESA superintendent authority
                delegated to it by NOAA over ESA Listed Species, this includes stopping its
                supervising and overseeing further ESA Section 7 consultations & stopping its use
                of its 2021 Biological Opinion on its 2021 Fishing Rules and enforcing its 2021
                ALWTRP.
        g.      Order the Defendant NOAA to do the requisite ESA Section 7 consultation of any
                further action by it to delegate ESA/MMPA supervisory authority to any of its
                infra-agencies.
        h.      Enjoin ASMFC from issuing any marine fisheries management plan that requires
                the use of VBR.
        i.      Enjoin NMFS from conducting an MMPA Section 118 take reduction team for
                Northern Black Whales and other ESA Listed Species of whales and enjoying
                Defendant WINGO membership on any such team.
26.     M. A. X. is seeking a jury trial on his request for a declaratory judgment against the
Defendants and for compensatory and punitive damages against Defendant Pentony, ASMFC, the
WINGOS and Sawyer. He is also seeking an award against the Defendants of his costs of
litigation in the instant action.
                                                   The Parties
27.     Citizen Attorney General Richard Maximus Strahan as Man Againt Xtinction recently
graduated magnum cum laude with a Bachelor of Arts degree in Classics Studies from the
University of Massachusetts in Boston MA. In 2020, M. A. X. was awarded a Master of Arts degree
          Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 10 of 96
28 February 2028 Typographic Corrected Complaint in Strahan v. Pentony, 1:21-cv-01131-TJK
                                                                                                     10

by the University of New Hampshire in Durham, NH. He is a licensed commercial lobsterpot
fisherman in New Hampshire and is a licensed recreation fisherman in Massachusetts. He is an avid
whale watcher along the Massachusetts, Maine and New Hampshire coastlines. He volunteers as the
Chief Science Officer of Whale Safe USA, a campaign to make the US coastline environmentally
safe for endangered species of coastal whales and sea turtles. Strahan is a conservation scientist
whose profession activities include designing and implementing conservation programs that protect
Endangered Species of Whales and Sea Turtles in order to stop their extinction and to provide for
their recovery from their endangered species status. He is an avid whale watcher. He observes and
collects field data on Endangered Whales and Sea Turtles off the US northeast Atlantic coastline.
Every major conservation effort for Endangered Whales in US coastal waters has originated and
designed by him. This includes imposing 500 yard protection zones around the Northern Right
Whale and the designation of protected critical habitat for it. Strahan is a licensed commercial
lobster pot fishermen in New Hampshire. His mailing address is 83 Main Street, 6080 Granite Street
Station, Durham NH 03824.
28.     Defendant Administrator of the National Oceanic and Atmospheric Administration is
being sued in his official capacity. Its official business address is 1401 Constitution Avenue
NW, Room 5128, Washington, DC 20230.
29.     Defendant Janet Coit is being sued in his official capacity as the appointed Assistant
Administrator of the National Marine Fisheries Service. Its official business address is % Office
of the Assistant Administrator, National Marine Fisheries Service, 1315 East-West Highway,
Silver Spring MD 20910.
30.     Defendant Michael Pentony is being sued as an individual for his personally acting outside
his duties as a government employee in order to violate the constitutionally and statutory protected
rights of M. A. X. His business address is % Greater Atlantic Region Fisheries Office, NMFS, 55
Great Republic Drive, Gloucester MA 01830.
31.     Defendant Jane Davenport is being sued individually and with her employer Defenders of
Wildlife (“DOW”). DOW is a WINGO (wildlife interested NGO) being sued as a member of the
Defendant NMFS’ Atlantic Large Whale Take Reduction Team. It is an official consultant to the
fishing industry and also assisting NMFS employees in protecting the fishing industry’s continued
use of Vertical Buoy Ropes and its partner in evading its compliance with the ESA. Its business
address is % CEO is Jamie Rappaport Clark, Defenders of Wildlife, 1130 17 th Street, Washington
DC, 20236-4604
            Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 11 of 96
28 February 2028 Typographic Corrected Complaint in Strahan v. Pentony, 1:21-cv-01131-TJK
                                                                                                       11

32.       Defendant Atlantic States Marine Fisheries Commission is a compact of state employees
and the commercial fishing industry that develops and adopts commercial fisheries plans for the pot
and gillnet fisheries along the Atlantic coastline. Upon information and belief, the ASMFC is
legally construed not to be either a state or federal agency. Its business address is % Robert Beal,
executive director, Atlantic States Marine Fisheries Commission, 1050 N. Highland Street, Suite
200 A-N, Arlington, VA 22201
33.       Defendant Arthur Sawyer is being sued both as an individual and as chief executive officer
of the Defendant Massachusetts Lobstermen Association. His business address is Arthur Sawyer,
368 Concord Street, Gloucester, MA 01930.
34.       Amy Knowlton is being sued individually and her employer the New England Aquarium
(NEA”). NEA is a WINGO (wildlife interested NGO) being sued along with Knowlton as a
member of the Defendant NMFS’ Atlantic Large Whale Take Reduction Team. They are paid
consultants to the fishing industry and by NMFS to assist its employees in protecting the fishing
industry’s continued use of Vertical Buoy Ropes and its partner in evading its compliance with the
ESA. Their business address is % Vikki Spruill, CEO, New England Aquarium, 1 Central Wharf,
Boston MA 02110
                                       Jurisdiction and Standing

35.       This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 (federal question)
under the ESA, APA, 5 U.S.C. § 701 et seq. (APA), 28 U.S.C. § 1361 (mandamus) and may issue a
declaratory judgment and further relief pursuant to 28 U.S.C. § 2202 (declaratory and injunctive
relief). An actual, justiciable controversy now exists between Plaintiff and Defendants, and the
requested relief is proper under 28 U.S.C. §§ 2201-2202, 5 U.S.C. §§ 701–706, and 16 U.S.C. §
1540(g). Pursuant to 16 U.S.C. § 1540(g), Plaintiff on or about 4 June 2018 served a notice on each
of the Defendants and the Secretary of Commerce pursuant to 16 USC § 1540(g) more than 60 days
prior to his commencing the instant action (“ESA Notice”). In his ESA Notice Strahan notified the
Defendants that he was going to commence a civil action against the Defendants for their said
violations of the ESA. FN5


5   Strahan “confirmed” the proper service of his ESA Notice on the Defendants by his filing a copy of
    his ESA Notice in a prior action against these Defendants in the US District Court for the District
    of Massachusetts. See Strahan v. Administrator NOAA, et al., 18-CV-10392-DJC (D. Mass 2018).
    At no point henceforth has the Defendants claimed that they did not receive Strahan’s ESA Notice.
    The Defendants were eventually dismissed without prejudice pursuant to FRCP Rule 41(a) from the
               Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 12 of 96
28 February 2028 Typographic Corrected Complaint in Strahan v. Pentony, 1:21-cv-01131-TJK
                                                                                                         12

36.       Venue in this judicial district is proper under 28 U.S.C. § 1391(e) because this is an action
against an agency of the United States and officers of the United States acting in their official
capacity. Additionally at least one Defendant resides in this district.
37.       M. A. X. as Richard Maximus Strahan has been granted Article III by Congress pursuant to
16 USC 1540(g) in order to prosecute the Defendants to stop they’re entangling, injuring and
killings of ESA Listed Species of whales and sea turtles which is prohibited by the ESA’s Section 9
take prohibitions. Otherwise he has Article III standing tio serve as a Citizen Attorney General
standing pursuant to his professional involvement and recreational observational activities of
Endangered Whales and Sea Turtles off the US northeast Atlantic coastline.
38.       The Plaintiff has Article III standing because he is personally experiencing irreparable and
monetary injury by the Defendants to their adverse impact on his following personal and
professional interests —
          a.      His “whale watching” of Endangered Whales and Sea Turtle on Jeffrey’s Ledge,
                  Stellwagen Bank National Marine Sanctuary, Cape Cod Bay, Narragansett Bay, and
                  along the New York/New Jersey State coastlines. FN6
          b.      His scientific research and data collection on Endangered Whales and Sea Turtles.
          c.      His professional services to protect and recover endangered populations of Whales
                  and Sea Turtles which involves his being paid by his clients to recover said
                  endangered populations of marine wildlife.
          d.      His being a commercial “Green Fishermen” who advertises that his commercial
                  fishing activities are “whale safe” to prospective customers. He needs to have
                  Endangered Whales and Sea Turtles recover so his own commercial lobsterpot
                  fishing will be regarded as “whale safe” by his customers and not threaten
                  Endangered Whales and Sea Turtles with the threat of extinction.




 Massachusetts lawsuit.
6 Japan Whaling Association v. American Cetacean Society, 478 U.S. 221, 230 n.4 (1986) (plaintiffs
 “whale watching” activities establishes Article III standing to seek enforcement of conservation
 laws).
              Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 13 of 96
28 February 2028 Typographic Corrected Complaint in Strahan v. Pentony, 1:21-cv-01131-TJK
                                                                                                           13

         e.      The Plaintiff has Article III standing to protect his profession interests in his
                 commercial fishing activities from violating the ESA Section 9 taking of Endangered
                 Whales and Sea Turtles. FN7
                  The Regulatory Scheme for the Protection of Endangered Species
39.      In enacting the ESA, Congress recognized that certain species “have been so depleted in
numbers that they are in danger of or threatened with extinction” and that these species are “of
esthetic, ecological, educational, historical, recreational, and scientific value to the Nation and its
people.” 16 U.S.C. § 1531(a) (2) and (3). The ESA protects imperiled species by listing them as
“endangered” or “threatened.” A species is “endangered” if it “is in danger of extinction throughout
all or a significant portion of its range.” Id. § 1532(6). A species is “threatened” if it “is likely to
become an endangered species within the foreseeable future throughout all or a significant portion
of its range.” Id. § 1532(20). The Secretary of Commerce is charged with administering and
enforcing the ESA for most marine species, including North Atlantic right whales, and has
delegated this responsibility to NMFS. 50 C.F.R. § 402.01(b).

40.      The ESA seeks “to provide a means whereby the ecosystems upon which endangered and
threatened species depend may be conserved, [and] to provide a program for the conservation of
such . . . species.” 16 U.S.C. § 1531(b). The ESA defines conservation as “the use of all methods
and procedures which are necessary to bring any endangered species or threatened species to the
point at which the measures provided pursuant to [the ESA] are no longer necessary.” Id. § 1532(3).
Accordingly, the ultimate goal of the ESA is not only to prevent listed species from going extinct,
but also to recover these species to the point where they no longer require ESA protection

41.      To accomplish these goals, Section 9 of the ESA generally makes it unlawful for “any
person” to “take” an endangered species. Id. § 1538(a)(1). A “person” includes private parties as
well as local, state, and federal agencies. Id. § 1532(13). “Take” is defined broadly under the ESA
to include harassing, harming, wounding, killing, or capturing a protected species (or attempting to
engage in such conduct), either directly or by degrading its habitat enough to impair essential
behavior patterns. Id. § 1532(19); 50 C.F.R. § 222.102. The ESA prohibits the acts of parties
directly causing a take as well as the acts of third parties, such as governmental agencies, whose
acts cause such taking to occur. 16 U.S.C. § 1538(g). Additionally, Section 7(a)(2) of the ESA


7
    Bennett v. Spear, 520 US 154 (1997) (Rancher has standing since ESA hurts his business).
          Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 14 of 96
28 February 2028 Typographic Corrected Complaint in Strahan v. Pentony, 1:21-cv-01131-TJK
                                                                                                        14

requires federal agencies to “insure that any action authorized, funded, or carried out by such
agency . . . is not likely to jeopardize the continued existence of any” endangered or threatened
species. Id. § 1536(a)(2).

42.     To comply with Section 7(a)(2)’s substantive mandate, federal agencies must consult with
NOAA when their actions “may affect” a listed marine species. 16 U.S.C. § 1536(a)(2). NMFS and
the action agency must utilize the “best scientific and commercial data available” during the
consultation process. Id.; 50 C.F.R. § 402.14(a).

43.     Where, as here, NMFS is the action agency, NMFS must undertake intra-agency
consultation. At the completion of consultation, the consulting branch of NMFS issues a biological
opinion that describes the expected impact of the agency action on listed species. 16 U.S.C. §
1536(b); 50 C.F.R. § 402.14. The biological opinion must include a summary of the information
upon which the opinion is based, an evaluation of “the current status of the listed species,” the
“effects of the action,” and the “cumulative effects.” 50 C.F.R. § 402.14(g)(2), (g)(3). “Effects of
the action” include both direct and indirect effects of an action “that will be added to the
environmental baseline.” Id. § 402.02. The “environmental baseline” includes “the past and present
impacts of all Federal, State or private actions and other human activities in the action area, the
anticipated impacts of all proposed Federal projects in the action area that have already undergone
formal or early section 7 consultation, and the impact of State or private actions which are
contemporaneous with the consultation in process.” Id. “Cumulative effects” include “future State
or private activities, not involving Federal activities, that are reasonably certain to occur within the
action area.” Id.

44.     Thus, in issuing a biological opinion, NMFS must consider not just the isolated share of
responsibility for impacts to the species traceable to the activity that is the subject of the biological
opinion, but also the effects of that action when added to all other activities and influences that
affect the status of that species. After NMFS has added the direct and indirect effects of the action
to the environmental baseline and cumulative effects, it must make its determination of “whether
the action is likely to jeopardize the continued existence of a listed species.” 16 U.S.C. §
1536(b)(3), (b)(4); 50 C.F.R. § 402.14(h). A likelihood of jeopardy is found when “an action []
reasonably would be expected, directly or indirectly, to reduce appreciably the likelihood of both
the survival and recovery of a listed species in the wild by reducing the reproduction, numbers, or
distribution of that species.” 50 C.F.R. § 402.02. Recovery is defined as “improvement in the status
          Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 15 of 96
28 February 2028 Typographic Corrected Complaint in Strahan v. Pentony, 1:21-cv-01131-TJK
                                                                                                       15

of listed species to the point at which listing is no longer appropriate.” Id. A biological opinion that
concludes that the agency action is not likely to jeopardize the continued existence of a listed
species but will result in take incidental to the agency action must include an incidental take
statement. 16 U.S.C. § 1536(b)(4).

45.     The incidental take statement must specify the amount or extent of incidental taking on such
listed species, “reasonable and prudent measures” that NMFS considers necessary or appropriate to
minimize such impact, and set forth “terms and conditions” that must be complied with by the
action agency to implement the reasonable and prudent measures. Id.; 50 C.F.R. § 402.14(i).
Additionally, when the listed species to be incidentally taken are marine mammals, the take must
first be authorized by NMFS pursuant to the MMPA, and the incidental take statement must include
any additional measures necessary to comply with the MMPA take authorization. If NMFS
determines in its biological opinion that the action is likely to jeopardize the continued existence of
a listed species, the biological opinion must include “reasonable and prudent alternatives” to the
action that will avoid jeopardy. 16 U.S.C. § 1536(b)(3)(A); 50 C.F.R. § 402.14(h)(3).

46.     Regardless of the conclusion reached in the biological opinion, the agency undertaking the
federal action has an independent duty to ensure that its actions are not likely to jeopardize the
continued existence of listed species. 16 U.S.C. § 1536(a)(2). An agency’s reliance on a legally
flawed biological opinion to authorize an action does not satisfy its substantive duty to ensure
against jeopardy.

47.     Moreover, the ESA’s implementing regulations further require an agency to reinitiate
Section 7 consultation when: (a) the amount of take specified in the incidental take statement is
exceeded; (b) new information reveals that the action may have effects not previously considered;
(c) the action is modified in a way that was not previously considered; or (d) a new species is listed
or critical habitat designated that may be affected by the identified action. 50 C.F.R. § 402.16. The
ESA specifies that Section 7 consultation must typically be completed within ninety days after
initiation. 16 U.S.C. § 1536(b)(1); 50 C.F.R. § 402.14(e). The substantive duty to ensure against
jeopardy of listed species remains in effect regardless of the status of the consultation.

                                 The Administrative Procedure Act
48.     The APA governs judicial review of federal agency actions. 5 U.S.C. §§ 701–706.           Under
the APA, courts “shall . . . hold unlawful and set aside agency action, findings, or conclusions found
to be arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law” or made
           Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 16 of 96
28 February 2028 Typographic Corrected Complaint in Strahan v. Pentony, 1:21-cv-01131-TJK
                                                                                                         16

“without observance of procedure required by law.” Id. § 706(2)(A), (C), (D).
                  Background on Endangered Species of Whales and Sea Turtles
                          Adversely Affected by Commercial Fishing

49.      The Northern Black Whale (a/k/a the Northern Right Whale) is the world’s most critically
endangered large whale species and also one of the world’s most endangered mammals. Northern
Right Whale’s essential marine habitat is within the 200 mile ECZ of mostly the US but extends
northwards into Canada. They live in the “urban sea” of the United States. Their coastal marine
habitat is no longer marine wilderness from having so hugely been adversely impact from
commercial development of area within 100 miles inland of the US coast that spills outward to the
Ocean.

50.      The Northern Right Whale living along the US coastline is more akin to a moose trying to
live in a suburb of an eastern city like Boston or Concord NH. Not a good situation. Right whales
migrate annually from their summer feeding grounds off the Northeast coast of the United States to
their winter breeding grounds off the Southeast coast.

51.      Females typically reach sexually majority at age nine or ten and give birth to a single calf.
The gestation period lasts roughly one year. From 2005 to 2014, the average right whale calving
interval (i.e. the amount of time between the birth of a right whale calf and a subsequent calf from
the same mother) ranged from three to five years. The average right whale calving interval has
increased every year since 2014, to a high of 10 years in 2017. Right whales have raised patches of
roughened skin on their heads, known as callosities. These callosities are found only on right whales
and, like human fingerprints, have distinctive patterns that enable scientists to individually identify
right whales. The callosities are covered by barnacles and tiny crustaceans known as whale lice.

52.      Although the Northern right whale has been protected under the ESA since 1973, the species
has not recovered to a sustainable population level. NMFS own employees now estimate that the
species consisted of only about 360 individuals as of 2019. This is a decline of over ten percent in
one year since the 2018 estimates. Not a single new born Northern Right whale calf was sighted by
dedicated survey efforts during the 2017-2018 calving season. NMFS has previously admitted that
the species’ survival is dependent on protecting every individual, concluding that the loss of even
one whale may contribute to the extinction of the species. Entanglement in commercial fishing gear
and ship strikes are the two most significant documented sources of mortality and serious injury for
Northern Right Whales. Since 1973 Defendants NOAA/NMFS have failed to meaningfully manage
          Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 17 of 96
28 February 2028 Typographic Corrected Complaint in Strahan v. Pentony, 1:21-cv-01131-TJK
                                                                                                      17

commercial fishing and vessel operations off the US eastern coastline in order to significantly
reduce the unlawful taking of Endangered Whales and Sea Turtles by commercial fishing and vessel
operations.

53.     To reduce the threat of ship strikes, NMFS issued regulations in 2008 as a result of law suits
against it and then in 2013 requiring ships 65 feet in length and longer to slow to ten knots or less in
Northern Right whale habitat areas at certain times of year. 73 Fed. Reg. 60,173 (Oct. 10, 2008); 78
Fed. Reg. 73,726 (Dec. 9, 2013). The rule has not reduced right whale mortalities from ship strikes.
Entanglement in fishing gear has been the primary cause of death and serious injuries to
Endangered Whales and Sea Turtles in recent years. NMFS has acted arbitrarily and capriciously in
refusing to enforce ESA Section 9 prohibitions against individual commercial fishermen or
otherwise regulate commercial fishing operation to minimize their causing the entanglement and
otherwise unlawful taking of Endangered Whales and Sea Turtles.

54.     When Northern Black whales and other Endangered Whale s get caught by fishing gear,
they can drown immediately. In a significant number of cases, however, the animals die over an
extended time period as they become incapacitated by injuries or infections caused by the
entanglement or starve. Gear often wraps around whales’ flippers, mouths, and tails and,
particularly in growing animals, cinches tighter over time. Such injury often results in major tissue
and bone damage and systemic infection. The animals often lose weight, causing them to sink when
dead so that death from entanglement is often underreported. From 2010 to 2014, there were 24
records of serious injuries and mortalities of right whales that involved entanglement or fishery
interactions ‒ an average of 4.65 whales per year.

55.     There is a clear historical record of Right Whales being entangled in the VBR of lobsterpot
gear licensed and regulated by the Defendants. In 2015, there were at least 4 new confirmed
entanglements of right whales in fishing gear; in 2016 there were at least 7 new confirmed right
whale entanglements; and in 2017, there were at least 9 new confirmed right whale entanglements.
From 2010 to 2016, entanglement related deaths accounted for 85% of diagnosed right whale
mortalities. In its 2016 stock assessment report, NMFS established an annual right whale PBR of 1.
In other words, NMFS has determined that only a single right whale may be killed as a result of
human activity while still allowing the species to reach its optimum sustainable population under
the Marine Mammal; Protection Act. 16 U.S.C. § 1362(20). Therefore, current documented serious
injuries and mortalities are unsustainable and vastly exceed the standards of the MMPA.
          Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 18 of 96
28 February 2028 Typographic Corrected Complaint in Strahan v. Pentony, 1:21-cv-01131-TJK
                                                                                                      18

56.     Most right whale entanglements and mortalities go undocumented by NMFS. Documented
serious injury and mortality rates may vastly underrepresent actual mortality. Scarring data may
better reflect actual entanglement rates. For example, a study of scarification data estimated that
between 1980 and 2009, nearly 83% of known right whales suffered entanglements and 59% of
right whales have been entangled more than once. A recent follow-up study indicates that the
pattern persisted through at least 2012, and there is no evidence to suggest this threat has been
mitigated. In addition to causing serious injuries and mortalities, entanglement in fishing gear
causes other significant harm to Endangered Whales and Sea Turtles. . For example, research
indicates that survivorship probability for individual Northern Right whales is reduced by at least
40% after an entanglement event.

57.     Chronic entanglement impairs foraging and locomotion. Impaired locomotion can contribute
to starvation, while an entanglement of the mouth directly impedes foraging, causing starvation.
One entangled North Atlantic right whale gradually starved to death over the course of 320 days
owing solely to his impairment of feeding and infection of wounds caused directly by entanglement.
An entanglement can also increase stress hormone levels, which can contribute to the development
of systematic infections. Severe wounding from an entanglement or repeated entanglements of right
whales can increase their susceptibility to disease.

58.     Entanglements are reducing the reproductive success of right whales, inhibiting the species’
ability to recover from the brink of extinction. Studies show that severe wounding and repeated
entanglements of right whales can cause reduced reproduction. Studies have also found that female
right whales seen alive and carrying gear or with severe wounds from entanglement had a
significantly lower chance of calving again. Females that experienced moderate or severe
entanglement wounds between calving events had a significantly longer calving interval than
females that experienced minor or no entanglement wounds. Other studies have found that
significant energetic impacts also occur from entanglements, especially in reproductive females.
The drag from fishing gear can delay right whale reproduction by months or years.

59.     The myriad negative impacts from entanglements are contributing to the dire status of the
right whale population. Just since 2010, calving rates have dropped by nearly 40%, and the last four
decades have seen increasing numbers of right whales killed, primarily by entanglement in fishing
gear. The right whale population is now in decline.

60.     The declining population trend was evident even before the spring and summer of 2017,
          Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 19 of 96
28 February 2028 Typographic Corrected Complaint in Strahan v. Pentony, 1:21-cv-01131-TJK
                                                                                                     19

during which at least 17 Northern Right whales were found dead in the United States and Canada.
Twelve whales were found dead in Canadian waters, and five were found dead in U.S. waters. The
cause of death is still being investigated for many of these deaths, but necropsies show that at least
two of the whales found dead in Canadian waters appear to have died from entanglement in fishing
gear. Two of the whales found dead in U.S. waters show evidence of entanglement. Some of the
whales were too decomposed to determine cause of death.

61.     These recent mortalities, which amount to nearly 10% of the current right whale population,
will compound negative impacts to right whales, especially considering that at least four of the dead
whales have been identified as females and only five calves were born in 2017. Conservation
scientists assign a high probability that Northern Right whales owing to their reduced viability
cause just by the Defendants said commercial fishing activities that ESA Section 9 prohibits will
become biologically incapable of survival as a species by the second half of this century. If the
Court fails to order the Defendants to stop their ongoing said prohibited killing and injuring of
Northern Right whales, they will soon be extinct even after being fully protected under law by the
ESA.

62.     All ESA Listed Species of Whales and Sea Turtles become routinely become entangled in
the VBR of Pot Gear and Gill Nets licensed and regulated by the Government Defendants. These
Endangered Whales and Sea Turtles are then killed and injured as a result. In recent years the
incidents of entanglements have increased for Endangered Whales and Sea Turtles. This is because
there has been an explosion in the population of Amerikan Lobsters off the US northeastern coast
coincident with an increase in the consumer market for lobster. Now more commercial fishermen
are deploying more commercial fishing gear due to the greater market demand and the larger lobster
population that can meet this demand.

63.     It is important to note that there are more lobsters because their main predator — the Cod
fish — was recently wiped out by overfishing authorized and encouraged by Defendant NMFS.
Despite its constantly decreasing population over many years, NOAA/NMFS refused to list the
Codfish under the ESA as an endangered/threatened species and still refuses to do so to the current
day. Their failure is a systemic error owing to their singular loyalty to the commercial fishing
industry and not to the Public interest or to the rule of law. If the NOAA/NMFS are not ordered to
do otherwise, they will continue to ignore the entanglement of Endangered Whales and Sea Turtles
by the Pot Gear and Gill Nets that they license and regulate till the Northern Right Whale goes
            Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 20 of 96
28 February 2028 Typographic Corrected Complaint in Strahan v. Pentony, 1:21-cv-01131-TJK
                                                                                                         20

extinct. It will be the first and not last species of whale or sea turtle to be extirpated by the
negligence and commercial loyalty of NOAA/NMFS — the “foxes guarding the chicken coop.”

64.       Because of the extinction of Codfish off the US northeastern coast as a result of its being
overfished, the Amerikan Lobster population greatly increased from it no longer being preyed upon
by the Codfish. Once its predator was eliminated by overfishing the population of Amerikan
lobsters was no longer restrained by predation. It must be noted as a lesson of history that it was the
refusal of NOAA/NMFS to list the Codfish as an endangered species that resulted in its remaining
population being totally depleted from overfishing leading to its extirpation in the US northeast
coastal waters. Despite all the data collected by NMFS clearly showing that the Codfish population
was decimated from overfishing and it was facing imminent extinction, NMFS refused to put any
moratorium on its further commercial exploitation nor did it list the species as endangered under the
ESA. To this day, NMFS’ complete dedication to the commercial exploitation by commercial
fishing makes it incapable of stopping its licensing the commercial fishing of Cod.

65.       All of the above should be a convincing example of why NOAA & NMFS and the other
Defendants must be ordered by the Court to obey the ESA if there is any possibility of stopping
commercial fishing from causing the extinction of any of the Endangered Species of Whales and
Sea Turtles.

                               Plaintiff’s Claims Against the Defendants

 COUNT I: Defendant NOAA Violation of 16 USC § 1536(a)(1) and the APA: Defendant NOAA
           Failure to Comply with the Mandatory Duties Imposed on It to Insure the Continued
           Survival of ESA Listed Species of Endangered and Threatened Whales and Sea
           Turtles by Proactively Increasing Size and Range of Their Remaining Populations
           FN8

66.       Citizen Attorney General M.A.X. incorporates all allegations of fact and law made in
paragraphs 1 – 65.

67.       Upon information and belief, NOAA every year since 1973 has violated ESA Section 7(a)


 8   ESA Section 7(a)(1): The Secretary [i. e. Secretaries of the Departments of Commerce and
     Agriculture] shall review other programs administered by him and utilize such programs in
     furtherance of the purposes of this Act. All other Federal agencies shall, in consultation with and
     with the assistance of the Secretary, utilize their authorities in furtherance of the purposes of this
     Act by carrying out programs for the conservation of endangered species and threatened species
     listed pursuant to section 4 of this Act.
             Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 21 of 96
28 February 2028 Typographic Corrected Complaint in Strahan v. Pentony, 1:21-cv-01131-TJK
                                                                                                      21

by abandoning its mandated and non-discretionary duties to fund, develop and implement proactive
recovery efforts to increase the size of the remaining populations of ESA Listed Species of whales
and sea turtles. NOAA delimited its mandated and non-discretionary duties assigning them to be
solely carried out by its infra-agency whose sole statutory authority is to promote the commercial
harvesting of marine wildlife – the National Marine Fisheries Service. As a direct consequence,
NMFS since 1973 historically refuses to enforce the ESA to adversely affect the commercial fishing
industry.

68.        The Northern Black Whale is now declining in number and its species facing inevitable
extinction as a direct result of NOAA’s delimiting its ESA7 mandatory duties to recover ESA
Listed Species by delegating them to just one infra-agency whose licensing and regulating of US
marine fisheries activities (“NMFS’ Fishing Activity”) violate and are prohibited by ESA9 take
prohibitions.

69.        As a result, instead of NOAA enforcing the ESA take prohibitions against NMFS Fishing
Activity, it has unlawfully delegated NMFS to be the “fox guarding the chicken coop” and
empowering it to ignore and not comply with the ESA9 prohibitions against its entangling, killing
and otherwise taking of ESA Listed Species of whales and sea turtles. Predictably since NMFS
refuses to obey ESA9 prohibitions on taking it now refuses to enforce the ESA9 take prohibitions
against state marine fishing agencies, shipping companies and recreational boaters to stop their own
killing, injuring and otherwise ESA9 prohibited taking of ESA Listed Species of whales and sea
turtles.

70.        NOAA has historically delegated its ESA superintendent authority to NMFS without a
scintilla of expressed concern for its adverse impact on ESA Listed Species. Despite its delegation
of ESA superintendent duties to NMFS it still retains the ESA mandated and non-discretionary
duty to supervise and insure that NMFS carries out its ESA delegated duties faithfully and in
compliance with the ESA statute. But NOAA has not done so. Although it has renewed its
delegation to NMFS every year since 1973, it has wholly failed to review the consequences of its
delegating its ESA superintendent duties to NMFS or made any attempt to assess whether or not
NMFS is effectively carrying out its delegated ESA superintendent authority. As a result of its
deliberate negligence the Northern Black Whale is now facing inevitable extinction.

71.        NOAA’s historical delegation of ESA Superintendent authority to NMFS has been a disaster
for the recovery and survival of ESA Listed Species of whales and sea turtles. NMFS refuses to
          Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 22 of 96
28 February 2028 Typographic Corrected Complaint in Strahan v. Pentony, 1:21-cv-01131-TJK
                                                                                                     22

enforce the ESA & MMPA take prohibitions when fishers’ gear entangles any member of an ESA
Listed Species. Upon information and belief it does this out of its occupational culture commitment
to protecting the fishing industry from enforcement of the ESA. As a result the fishing industry has
no motivation to compel it to switch to Whale Safe fishing gear or pay to research and develop
Whale Safe fishing equipment or techniques.

72.     The current plight of the Northern Right Whale is a telling example of the illegality and
disastrous impact of NOAA’s arbitrary handing the fate of the Right Whale species over to NMFS.
Despite its being listed an ESA Listed Species since 1969, its population in 2021 is crashing
towards inevitable extinction oin the next few decades. In 2020, the International Union for the
Conservation of Nature, the world’s most prestigious conservation organization, upgraded the
species threat status to “critically endangered” which recognizes that the Black Whale faces
imminent extinction over the next few decades. In short, the result of NOAA’s delegating its
superintendent authority to NMFS has been a declining whale population.

73.     The Black Whale endangered status is worst off than it was in 1973 and the species now
facing imminent extinction as a direct consequence of NOAA delegating its ESA superintendent
authority to NMFS than if it had not done so. It is incontrovertible as fact, that NOAA’s repeated
delegation of its ESA superintendent authority to NMFS since 1973 has jeopardize the survival of
the Northern Right Whale and Leatherback Sea Turtle species.

74.     It is incontrovertible it was not a rational choice for NOAA to hand over the fate of ESA
Listed Species of whales and sea turtles to an agency whose organic statute requires it to promote
the commercial killing and harvesting of marine wildlife. By its own admission, NMFS licensing
and regulating of marine fisheries is the number one source of anthropogenic killing, injury and
impaired feeding/reproduction on the Northern Right Whale species. NMFS is requiring the use of
vertical buoy ropes by marine fisheries that it licenses and regulates. This is what the northeast pot
and gillnet fisheries management plans produced by Defendant Atlantic States Marine Fisheries
Commission requires NMFS to do.

75.     Since VBR routinely and inevitably entangles Endangered Whales and Sea Turtles, VBR in
any state or federal fishery prohibited by the ESA Section 9 prohibitions on the taking of ESA
Listed Species. Since 1997 federal courts have ruled this. FN9 How likely is NMFS going to be to


9 See Strahan v. Coxe, 939 F. Supp. 963 (Dist. Mass. 1996) and 127 F. 3d 155 (1st Circuit, 1997)
           Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 23 of 96
28 February 2028 Typographic Corrected Complaint in Strahan v. Pentony, 1:21-cv-01131-TJK
                                                                                                       23

enforce ESA Section 9 prohibitions against itself? History has shown that NMFS has never once
cited any fishermen or itself when its gear entangled a member of an ESA Listed Species. NMFS in
its pot and gillnet fisheries plans and in it ALWTRP is still requiring the use of VBR that routinely
catches, kills and otherwise results in prohibited takes of ESA Listed Species of Whales and Sea
Turtles.

76.     Cui bono? Who benefits from NOAA’s annual delimiting its use of its ESA superintendent
authority and to recover endangered marine wildlife species by delegating it to just one of its infra-
agencies and in doing so making the worst possible choice, delegating its authority to one infra-
agency that is dedicated to the commercial slaughter of marine wildlife. The obvious answer is that
the US commercial fishing industry is the only beneficiary from NOAA’s turning over its
enforcement authority to NMFS and Endangered Whales or the marine fishing industry, ESA Listed
Species of marine wildlife are the losers. This delegation is evidence of a de facto, unlawful policy
by NOAA that the ESA should not be enforced against the marine fishing industry if it would either
have an adverse impact on the industry and/or if an ESA regulation is not approved of by the
industry. This policy is not sanctioned by the ESA or any other statute. It is largely unwritten but
carried out faithfully by NOAA & NMFS since 1973.

77.     NMFS at present has an agency “occupational culture” wholly invested in protecting marine
fisheries from being adversely affected by the enforcement of the ESA or any other federal law
against it. As a consequence, NOAA abuses and violates its assigned ESA superintendent duties by
delegating them to NMFS not to achieve the recovery of ESA Listed Species but to protect the
marine fisheries industry from the adverse impact of enforcing the ESA on the industry in order to
protect and recover these species from their endangered biological status. This is tragically
expected. NMFS’ organic statute mandates conflicts with the ESA. NMFS function by its organic
statute is to insure the economic growth and success of the marine fishing industry despite this
industry’s killing and adverse impact on ESA Listed Species of whales and sea turtles.

78.     Pursuant to this culture, both NOAA and NMFS consider whales to be legally “fish” and to
be only managed only for their possible future commercial harvesting. See Addendum A. NMFS
considers whales and legally defined “fish” species a marine fisheries resource. It thus segregates
whale species as “living marine (fisheries) resources” from its program for endangered Sea Turtles.
            Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 24 of 96
28 February 2028 Typographic Corrected Complaint in Strahan v. Pentony, 1:21-cv-01131-TJK
                                                                                                     24

FN10 Sea Turtles are managed under the requirements of the ESA. Whales and other legally defined
“fish” species (i. e. other endangered marine mammals) are only managed under the requirements
imposed on NMFS by the 1994 Amendments to the Marine Mammal Protection Act. These
requirements wholly favor the marine fishing industry and immunize the fishing industry from the
take prohibitions of the MMPA when they catch marine mammals in their gear. Because the
MMPA immunizes fishermen from catching marine mammals in their gear, NMFS chooses to
unlawfully ignore ESA Section 9 prohibited catching of ESA Listed Species of whales and sea
turtles in fishing gear. This “transfer feature” is evidenced of NMFS occupational “extinction”
culture.

79.       NOAA has several infra-agencies dedicated to scientific research and the development and
use of advanced technology to solve environmental problems. These include the National Ocean
Service (NOS) which oversees protected marine sanctuaries FN11, Office of Oceanic and
Atmospheric Research (OAR) which does world class research on the effects of climate change on
the environment (but not on ESA Listed Species). FN12 The National Weather Service (NWS)
FN13 The National Environmental Satellite, Data, and Information Service (NESDIS). FN14

80.       All of these sophisticated agencies are dedicated to the highest levels of environmental
science were summarily gutted from any use by NOAA to recover ESA Listed Species by its
handing these species over to the exclusive proprietary use. One of them is the National Ocean
Service that is dedicated to the conservation of marine habitat and not its commercial exploitation.
Another is NOAA’s OAR which mostly does scientific research in climate, Ocean ecology and
other areas of marine science. FN15 the OAR does not do research in fisheries management or any
other area concerning the commercial exploitation of marine wildlife. The NESDIS builds and


10 NOAA has a “Live Marine Resources” research center at a state university called the NOAA
 LivingMarine Resources Cooperative Science Center (LMRCSC): True to its name it only does
 researchof fisheries management issues. NOAA has no such dedicated funded research program on
 any issue concerning the protection of Ocean biodiversity. https://www.noaa.gov/office-
 education/epp- msi/csc/noaa-living-marine-resources-cooperative-science-center.
11   https://oceanservice.noaa.gov.
12   https://research.noaa.gov.
13   https://www.weather.gov
14https://www.nesdis.noaa.gov
15 https://oceanservice.noaa.gov/
            Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 25 of 96
28 February 2028 Typographic Corrected Complaint in Strahan v. Pentony, 1:21-cv-01131-TJK
                                                                                                      25

launches remote sensing satellite and data networks. NESDIS possesses the needed technology
infrastructure that could document the overall anthropogenic alteration of the marine environment
that is preventing endangered marine species to recover despite their no longer being hunted. But
NOAA has cut NESDIS out of any ESA conservation program for ESA Listed Species of whales
and sea turtles by turning all marine wildlife over to NMFS so it can exploit them for its vested
interests in commercial fisheries.

81.        NOAA has never considered delegating its ESA superintendent authority to any of these its
said infra-agencies despite their being wholly focused on scientific research, conservation and
environmental protection. NOAA has also refused to require that NOS, OAR, NESDIDS participate
in any aspect of the recovery of ESA Listed Species of whale and sea turtles. This is evidence that
the politically appointed NOAA & NMFS considers science and endangered wildlife conservation
programs should ONLY serve the interests of protecting the marine fishing industry from any
adverse economic consequences of ESA enforcement. This includes the preventing as a crime of
omission any research efforts that will document and fully assess the state of the commercial fishing
industry’s ongoing killing, injuring and otherwise prohibited taking of ESA Listed Whales and Sea
Turtles.

82.     NOAA repeated annual choice to delegate its superintendent authority to NMFS is wholly
arbitrary and capricious. It is being done as part of NOAA’s own occupational policy that the ESA
should not be enforced against the marine fisheries industry unless it will have no adverse impact on
it. NOAA wants ESA enforcement to be just a “positive program” for the fishing industry. In which
NOAA only offers advanced technology and other services to the industry to lessen its impact on
ESA Listed Species. What NOAA does not want to do is to enforce restraints to stop its killing of
ESA Listed Species imposed on the marine fishing industry that will have a detrimental economic
impact on the industry. NOAA’s handing ESA Listed Species over to NMFS insures that will not
happen.

83.     Instead since 1973, NOAA has failed to develop and implement an effective, proactive
recovery program for the Northern Black Whale or any other ESA Listed Species of whale or sea
turtle. This failing constitutes a repeated and malicious violation of its ESA Section 7(a)(1) non-
discretionary and mandatory duties to recover ESA Listed Species of whales and sea turtles. By
delimiting and not fully complying with its superintendent duties assigned it by Congress over
ESA Listed Species of whales and sea turtles, it has allowed NMF’s Fishing Activity to run
          Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 26 of 96
28 February 2028 Typographic Corrected Complaint in Strahan v. Pentony, 1:21-cv-01131-TJK
                                                                                                    26

rampant in killing and injuring ESA Listed Species of marine wildlife.

84.     If NOAA was obeying its ESA superintendent mandated duties, it would summarily
prohibit the use of Vertical Buoy Ropes by NMFS and its Fishing Activity. It is incontrovertible
that in 2021, VBR is the leading known source for killing and injuring of Black Whales in US
coastal waters. In 2021, these unlawful takings of Endangered Whales and Sea turtles are not
mere incidental takings. They are intentional takings pursuant to their commercial fishing and
therefore fully prohibited without exception by ESA Section 9 prohibitions. Therefore, they cannot
be allowed by MMPA Section 101(a)(5)(E).

85.     Similarly, NOAA is also violating its said mandatory and non-discretionary
superintendent duties under the Marine Mammal Protection Act by delimiting them through the
delegation of them to NMFS. NMFS through its occupational culture of extinction its violating
provisions of the MMPA by its forming a MMPA Atlantic Large Whale Take Reduction Team to
falsely justify its ongoing violations of both ESA9and MMPA take prohibitions bu its Fishing
Activity. The ALWTRT and its issued 2021 take reduction plan (“ALWTRP”) is unlawful under
the provisions of the MMPA. Since NOAA/NMFS has not issued the required MMPA Section
101(a)(5)(E) to itself, it cannot authorize the entanglement of a single Black Whale or any other
ESA Listed Species of Whale in the US northeast and iots Fishing Activity is also prohibited from
causing any such entanglement. But NMFS ignores the` law. It uses the ALWTRP to simply use
an unlawful claim that it is “lessening but continuing more” prohibited entanglements of Black
Whales and other ESA Listed Species of whales.

86.     As further evidence of its ESA Section 7 mandated duties to protect and recover its ESA
Listed Species is its failure to comply with ESA7 requirement to conduct an internal consultation
of the adverse impact of listed endangered wildlife by handing their fate over to NMFS and the
commercial fishing industry. Since 1973 NOAA has never conducted the required consultation to
determine if handing endangered marine wildlife over to NMFS would jeopardize the survival of
any of these species instead of aiding their recovery.

87.     The Black Whale’s is now facing inevitable extinction is a direct consequence of NOAA
since 1973 annually delegating its ESA & MMPA superintendent authority to NMFS. It doing so,
NOAA did not just jeopardize the survival of ESA Listed Species of whales and sea turtle. NOAA
deliberately chose to sacrifice the Northern Black Whale species to inevitable extinction to protect
the fishing industry from any adverse economic consequences of having the ESA enforced against
          Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 27 of 96
28 February 2028 Typographic Corrected Complaint in Strahan v. Pentony, 1:21-cv-01131-TJK
                                                                                                       27

it.

88.     These said violations by the Defendant will continue to reoccur annually until the Court
enjoins NOAA from further delegating its ESA & MMPA superintendent authority to NMFS and
orders to immediately develop and implement a proactive recovery program for the Blck Whale
species and otherwise fully comply with its mandatory and non-discretionary duties under ESA
Section 7(a)(1).

COUNT II:       NOAA’s Violation of ESA Section 7(a)(2) and APA

89.     Citizen Attorney General M.A.X. re-alleges his claims of fact and law asserted in
paragraphs 1 – 88.

90.     NOAA annual delegates its ESA & MMPA superintendent duties to NMFS in violation of
its mandatory and non-discretionary duties under the ESA7(a)(2) to consult with itself over the
adverse impacts on any said delegation to an infra-agency and to insure such delegation is not likely
to jeopardize the continued existance of any ESA Listed Species of marine wildlife. NOAA must
do a ESA Section 7 internal consultation over any attempt to delegate any aspect of its
superintendent authority to an infra-agency.

COUNT III: NMFS Violation of ESA Section 7(a((2) and APA: NMFS 2021 ESA Section 7 Biological
            Opinion on Fisheries Management Plans and its 2021 Atlantic Large Whale Take
            Reduction Plan and its 2022 List of Fisheries designating the Massachusetts pot and
            gillnet fisheries as a MMPA Category II Fishery are Unlawful.

91.     In. 2018, The WINGO Defendants sued NMFS as “Trojan Horse” plaintiff over alleged
ESA failing. In reality these WINGOS only were suing to get a court ordered sanction for NMFS
continuing to require the use of VBR. As a result, NMFS recently “consulted with itself” under
ESA Section 7 one more time over the adverse impact on ESA Listed Species of whales and sea
turtle by its 2016 fisheries management plans for its lobsterpot & gillnet fisheries along the Atlantic
northeast coast (2015 Lobster & Gillnet FMP). This process also included NMFS preparing an
Environmental Impact Statement under NEPA and revising its existing 2015 MMPA ALWTRP.

92.     Since NMFS was only forced by a court to simply review the same 2015 Lobster & Gillnet
FMP one mor time, that is exactly what it did. NMFS consulted with itself under ESA7 over its
continued use in the future of the identical 2015 Lobster & Gillnet FMP. Not unexpectedly, NMFS
agreed with itself again that its licensing and regulating its said lobsterpot and gillnet fisheries
would not “jeopardize” any ESA Listed Species of whale or sea turtle, including the Northern Black
          Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 28 of 96
28 February 2028 Typographic Corrected Complaint in Strahan v. Pentony, 1:21-cv-01131-TJK
                                                                                                        28

Whale species.

93.     In issuing its 2021 BIOP, NMFS did admit to a few facts that contradicts its repeated “no
jeopardy” finding. It admitted in 2020 that the Northern Black Whale population was declining at
the annual rate of over ten percent. In October 2021 it officially announced a similar annual decline
for the remaining Black Whale population over the last year. It admitted in the BIOP that federal
fisheries were responsible for most of the killing and injuring of Black Whales. Despite these
admissions, the BIOOP justified its repeated “no jeopardy” with phantasmagoria claims that: 1)
Eliminating all killing and serious injury of the these whales from commercial fisheries would not
stop their species population from further decline & 2) The further killing and injuries of Black
Whales from any source will not cause their species to decline. The latter was NMFS repeating its
past finding under the MMPA that the Black Whale species “Possible Biological Removal” was a
positive number. All these findings are scientifically invalid, devoid of empirical support, and were
issued in an arbitrary and capricious manner.

94.     NMFS only used its 2021 revised ALWTRP to justify its repeated “no jeopardy” opinion of
its 2015 Lobster & Gillnet FMP. But NMFS failed to conduct any ESA Section 7 consultation of it
and the proposed regulations to implement it.

95.     In 2021 it issued a ESA Section 7 biological opinion as a result of the said consultation
(“2021 FMP BIOP”). NMFS’ 2021 FMP BIOP expectedly simply issued itself another “no
jeopardy” opinion on the impact of the said fisheries on all ESA Listed Species of whales and sea
turtles. The “no jeopardy” finding is scientifically wrong and is categorically arbitrary and
capricious owing to NMFS simple continuing “knee jerk” support of the 2015 Lobster a& Gillnet
FMP adopted by Defendant ASMFC that requires the continued use of VBR.. Because the reviewed
BIOP require the use of VBR, NMFS licensing and regulating pot and gillnet fisheries is guaranteed
to continue to entangle, kill, injure and otherwise cause ESA Section 9 prohibited takings of
Northern Black Whales and other ESA Listed Species of whales. It is a scientific fact that ANY
entanglement of a Northern Black Whale lead to an irreparable adverse impact on the ability of the
declining population of this whale to recover from its biologically endangered status. The 2021
BioOp “no jeopardy” decision concerning Black Whale species is prohibited under ESA Section 7.

96.     NMFS 2021 BioOp also violated ESA Section 7 by its failing to issue the required
incidental take statement (ITS) on its fisheries future entanglement, killing, serious injury and all
other prohibited takings of these whales. NMFS claimed that the MMPA Section 1372(a)(5)(E) first
           Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 29 of 96
28 February 2028 Typographic Corrected Complaint in Strahan v. Pentony, 1:21-cv-01131-TJK
                                                                                                            29

requires that it must first issue itself a 3 year incidental take permit under this provision to allow it
to authorize an incidental take by killing or injuring by the required ESA ITS. The 2021 BioOp is
wrong. The said MMPA provision enforces the MMPA’s taking prohibitions against NMFS unless
NMFS can scientifically show that the mere entanglement of a single whale will NOT have an
adverse impact on the ability of the Black Whale to recover from its endangered status. It is a
scientific fact that a single entanglement of a Right Whale by VBR will likely have an irreparable
adverse impact on the Black Whales ability to recover. ESA Section 7 therefore required NMFS to
not issue any ITS to allow even a single entanglement of a Right Whale. NMFS 2021 BioOP
violates the MMPA Section 1372(a)(5)(E) requirements and MMPA’s taking prohibition and is
therefore is facially decrepit and violative of ESA Section 7 requirements.

97.     NMFS violated the ESA Section 7 consultation requirements by failing to undergo the
required consultation in developing and issuing its 2021 Atlantic Large Whale Take Reduction Plan
(ALWTRP). The ALWTRP continues NMFS requirement for the use of VBR in by its US northeast
coast pot and gillnet fisheries. This alone guarantees that the 2021 ALWTRP regulations will
continue to cause more entanglements, killings, injuring and otherwise other ESA & MMPA
prohibited takings of Right Whales and other ESA Listed species of whales and sea turtles. This
reality makes the ALWTRP process unlawful per se as it was done in a manner to deliberately
allow even more said taking of ESA Listed Species of whales. But the MMPA’s take prohibitions as
stated prohibit any taking at all of an ESA Listed Species of whale unless a three-year incidental
take permit is first issued to NMFS under MMPA Section 1372 (a)(5)(E). This is a permit admits it
cannot legally issue to itself.

98.     The above realities shows that NMFS’ 2021 Atlantic Take Reduction Team is prohibited
under the ESA Section 9 take prohibitions and is also unlawful under the MMPA regime. NMFS
use of the unlawful ALWTRT process is evidence of its ongoing fraud and malicious practice of
breaking the law in order to prevent the enforcement of the ESA against its marine fisheries
industry. NMFS occupational culture since 1973 only offers to manage ESA Listed Species of
Whales under the MMPA provisions of just having to reduce the immediate killing and serious
injury of a whale from being caught by a marine fisheries operation. This is of course unlawful
under the ESA as well as the MMPA. See Appendix One.

99.     NMFS prevents its ESA enforcement by only limiting its “management” of the species
under an unlawful interpretation of the Marine Mammal Protection Act. As such it only focuses on
          Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 30 of 96
28 February 2028 Typographic Corrected Complaint in Strahan v. Pentony, 1:21-cv-01131-TJK
                                                                                                        30

direct “killing and serious injure” requirements on commercial fisheries. NMFS wholly ignores
other anthropogenic sources of mortality and injury. NMFS also ignores anthropogenic insult to
generic whale health and reproductive potential. These are ESA requirements which NMFS ignores
in its malicious focus only on meeting MMPA requirements of the fishing industry.

100.    NMFS violated the ESA Section 7 and the MMPA by its 2022 List of Fisheries that
irrationally reclassifies Massachusetts pot and gillnet fisheries as an MMPA Category II fishery
without having performed the requisite consultation over the adverse impact on ESA Listed Species
of Whales from the said reclassification. It did this solely at bequest of the Massachusetts Division
of Marine Fisheries and the Massachusetts lobsterpot industry calling to it for help to defeat M. A.
X.’s ESA Section 9 prohibited takings prosecution of it its lobsterpot and gillnet fisheries that are
also using VBR also are entangling ESA Listed Species of whales by the VBR the DMF also
requires to be used. NMFS only reclassified the DMF fishery to serve as maliciously forged
evidence to that federal court that DMF use of “weakened rope” VBR kills less whales after
entangling the whale. Right Whales will still be entangled by DMF’s fisheries use of “weakened
VBR” at the same rate as it did in 2020 and before as a NMFS classified MMPA Category I fishery.

101.    Defendant NMFS in regulating and licensing marine fisheries will continue to violate ESA
Section 7 mandatory and non-discretionary requirements unless ordered by the Court to
immediately stop doing so.

COUNT IV: Defendant NMFS Violation of 16 USC § 1538(a and g): The Defendants Violation of
           the ESA Section 9(a) Prohibitions by Requiring VBR Use in State and Federal Fishing
           Activity FN16

102.    Citizen Attorney General M.A.X. re-alleges his claims of fact and law asserted in
paragraphs 1 – 101.

103.    The Defendant NMFS is licensing and regulating commercial fishing operation off the
northeast Atlantic coastline that is killing and injuring ESA Listed Species of whales and sea turtles


16 ESA Section 9(a):[I]t is unlawful for any person subject to the jurisdiction of the United States
  to—
 (A) import any such species into, or export any such species from the United States; (B) take any
 such species within the United States or the territorial sea of the United States; (C) take any such
 species upon the high seas; (D) possess, sell, deliver, carry, transport, or ship, by any means
 whatsoever, any such species taken in violation of subparagraphs (B) and (C); … or (G) violate any
 regulation pertaining to such species or to any threatened species of fish or wildlife listed pursuant
 to section 4 of this Act and promulgated by the Secretary pursuant to authority provided by this Act.
           Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 31 of 96
28 February 2028 Typographic Corrected Complaint in Strahan v. Pentony, 1:21-cv-01131-TJK
                                                                                                     31

since 1973. FN17 The Defendants require that its pot and gillnet fisheries use vertical buoy ropes
attached to its fishing gear. The said VBR routinely entangle Endangered Whales and Sea Turtles
along the US coast line according to NMFS’ own records concerning marine wildlife entangled by
pot and gillnet fishing gear.

104.    The NMFS agents themselves are violating the ESA Sections 9 prohibitions by their mere
deploying lobster pot gear in US coastal waters that historically entangles Endangered Whales and
Sea Turtles in a routine and continuous manner since 1973. The simply deployment of VBR laden
fishing gear pursuant to NMFS’s regulations that require its use is on its own a per se prohibited
taking under ESA Section 9 without the need for the VBR laden gear to entangle any ESA Listed
Species after its deployment. The overwhelming majority of these entanglements are caused by
VBR. NMFS never issued any ESA Section 10 Incidental Take Permit to its licensed fishers to
authorize their incidental taking by them of Endangered Whales and Sea Turtles in the commercial
fishing gear that they license and regulate to be deployed in US coastal waters under the concurrent
state jurisdiction.

105.    ESA Section 9 requires that NMFS issue each of its fishers an ESA Section 10 Incidental
Take Permits to immunize them ESA Section 9 prohibited taking from using VBR on their fishing
gear. NMFS alleged conducting an ESA Section 7 consultation on its fisheries regulations does not
extend to its “action” in issuing individual fish permits. The individual conduct in fishing is a
separate issue of liability than the categorical establishing a fishing permit system by NMFS. FN18
Both avenues result in NMFS ESA Section 9 liability for their prohibited entanglement and


17 Defendant NMFS established a northeast Atlantic coast regional office that manages NMFS
   fisheries operation in an area ranging from the Virginia coast north to the coast of Maine. The
   Plaintiff is claiming that the Court has jurisdiction to hear ESA claims throughout this range
   concerning ESA violations against NMFS northeast regional office’s fisheries management actions.
   All Endangered Whales and Sea Turtles are migratory species along the northeast US coastline. So,
   as an example, a whale entangled by NMFS licensed lobsterpot fishery in Maine affects the quality
   of whale watching in Massachusetts on Stellwagen Bank since that whale migrates through the
   coastal waters of both states.
18
   See Strahan v. Coxe, 939 F. Supp. 963 (Dist. Mass. 1996) and 127 F. 3d 155 (1st Circuit, 1997)
(Massachusetts marine fishing agency liable under ESA Section 9(a) for unlawful taking of ESA
listed species of endangered whales by entanglements of endangered whales in fishing gear licensed
and regulated this agency). See also Florida Key Deer v. Paulison, 522 F.3d 1133 (11th Cir. 2008)
and Florida Key Deer v. Stickney, 864 F. Supp. 1222 (Dist. FL 1994) (Federal Emergency
Management Agency violates ESA §§ 9 and 7 for its authorizing, regulating, and funding commercial
development in habitat of ESA listed endangered deer species).
             Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 32 of 96
28 February 2028 Typographic Corrected Complaint in Strahan v. Pentony, 1:21-cv-01131-TJK
                                                                                                      32

otherwise prohibited taking of ESA Listed Species of whales and sea turtles.

106.     NMFS and each of its licensed fishers will continue their said ESA Section 9(a) prohibited
taking of Endangered Species of Whales and Sea Turtles into the future unless ordered to stop by
the Court.


COUNT V:        Defendant Pentony’s Violation of the Richard Maximus Strahan’s Constitution
                protected rights to Free Speech, to Petition the Courts, to Equal Treatment under the
                law and to Due process by Its enforcing a Gag Order to coerce NOAA/NMFS
                employees to not communicate with the Plaintiff. FN19

107.     Citizen Attorney General M.A.X. re-alleges his claims of fact and law asserted in
paragraphs 1 – 106.

108.     in 2019 Defendant Pentony issued an order to all NOAA employees of its Greater Atlantic
Regional Fisheries Area including the Northeast Fisheries Science Center to not communicate
directly in any manner with the Plaintiff absent his personal authorization to do so. Pentony did this
in retaliation for the M. A. X.’s enjoyment of his constitutionally protected rights to fraternize with
government employees, petition the courts for relief, engage in peaceful political activism to protect
endangered wildlife from anthropogenic assault. Pentony also did this as retribution out of a generic
fear that M. A. X. would use the knowledge gathered in his friendly and voluntary conversations
with NMFS employees to bring lawsuits in the future against NMFS and in particular Pentony.
Pentony also construed M. A. X. to be “bad company” for NMFS employees. He feared that M. A.
X. would educate NMFS employees on issues of biology, conservation measures and law that
would then make NMFS employees less willing to support and participate in NMF evading the
enforcement of the ESA against the Marine fishing industry.

109.     Pentony issuing the Gag Order resulted in massive irreparable injury being inflicted on M.
A. X. He was kept from getting information on all aspects of whale and sea turtle biology and
conservation. His most simple request for a document was involuntarily converted into a FOIA
request and the document not supplied using a pretense of cost or process to justify NMFS
subsequent refusal to produce the document to him. from gathering information and facts needed to
force the Defendants and their regulation of commercial fishing to comply with environmental law



19
     See Bivens v. Six Unknown Federal Agents, 403 US 388, 91 SCT 1999 (1971)
          Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 33 of 96
28 February 2028 Typographic Corrected Complaint in Strahan v. Pentony, 1:21-cv-01131-TJK
                                                                                                       33

and to stop its killing and injuring of endangered marine wildlife and their marine ecosystem.

110.    Pentony poisoned his collegial relationship with NMFS employees and his participation in
the scientific community surrounding the conservation of ESA Whales and Sea Turtles in the
northeast. He could no longer get information on whales or sea turtles. He was banned for any
access to fishing gear removed from whales or from information on entanglements. NMFS
scientists that he met at scientific conferences were uncomfortable talking to him and excuse
themselves by telling M. A. X. that Pentony had ordered them to not have any direct
communication with him.

111.    The Plaintiff has repeatedly attempted to communicate with NOAA employees in 2018-
2019. They told him that they wanted to talk to him but were ordered by Pentony not to have any
communication with the Plaintiff, including supplying him Publicly available NOAA documents or
data. NOAA employee Colleen Coogan — coordinator of its ALWTRT —told him that she wanted
to communicate with him but Pentony ordered her not to do so.

112.    In issuing his Gag Order, Pentony deliberately violated the Plaintiffs First Amendment
protected right to core political speech, the Petition Clause of the First Amendment’s protection of
his right to petition government agencies and the courts, and his 14 th Amendment constitutional
right to due process and equal treatment under the law.

113.    Because of Pentony’s Gag Order the Plaintiff has been irreparably injured and prevented
from meaningfully prosecuting his claims against the Defendants. He has been prevented from
meaningfully seeking any injunctive relief from the Court. He has been prevented from having the
necessary facts available to him in order to prepare and file a meaningful amended complaint in the
instant action. Many Endangered Whales and Sea Turtles have horribly died unnecessarily as a
result. Pentony has unlawfully cost the Plaintiff much time and money as a result of his enforcing
the Gag Order against him.

114.    M. A. X. will never again be able to enjoy his constitutionally protected right to
communicate and fraternize with personally willing NMFS employees unless the Court enjoins
Pentony in his individual capacity from further enforcing his unlawful Gag Order against M.A.X.

COUNT VI: WINGO Defendants Davenport, DOW, Knowlton & NEA violation of the ESA Section9
          Take Prohibitions by Acting in Concert with NMFS and Fishing Industry to Force the
          Plaintiff and other Green Fishers to be Required to Use VBR in Pot and Gill Net
          Fisheries in US Coastal Waters that Kill and Otherwise Take ESA Listed Species of
          Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 34 of 96
28 February 2028 Typographic Corrected Complaint in Strahan v. Pentony, 1:21-cv-01131-TJK
                                                                                                       34

                   Whales and Sea Turtles.

115.    Citizen Attorney General M.A.X. re-alleges his claims of fact and law asserted in
paragraphs 1 – 114.

116.    The Defendants Defenders of Wildlife and the New England Aquarium are wildlife
interested NGOs or WINGOS. As such they seeks to serve commercial pot and gillnet fishers –
what these WINGOS seek out as “stake holderss” to assist them in evading the ruthless enforcement
of the ESA against them, especially in ESA prosecutions brought by Citizen Attorney Generals like
M. A. X. The WINGOs serves as protective agents for the fishing industry to aid them in evading
the enforcement of the ESA against it. As such they serves as a member of NMFS unlawful
Atlantic Large Whale Take Reduction Team. In so doing they act in concert with the marine fishing
industry members as their representatives to insure NMFS will never ban the use of VBR. In 2018,
WINGOS voted with the industry members to continue the use of VBR indefinitely to allow more
killing, entanglements, and other ESA Section 9 prohibited takings of ESA Listed Species of whales
and sea turtles.

117.    The WINGO DOW also maliciously carries on as a Trojan Horse advocate for endangered
wildlife. This means that as a agent for commercial developers it misdirects the Public opinion to
believe that the continued killing of endangered wildlife is actually conservation just from killing
less wildlife annually. In return the fishing industry supports DOW’s NIMBY lawsuits to stop oil
drilling off the Atlantic coast. One of the deliberate scams orchestrated by the WINGO as a member
of the ALWTRT in 2018 is the following. It issued propaganda that climate change forced Black
Whales to commence feeding in Canada’s Gulf of St. Lawrence. That is when the Black Whale
population began to collapse. Driven out of the “whale safe” waters of the US, where caring and
lwhale loving fishermen willingly sacrificed their income to fish in a “whale safe” manner, they
started to be slaughtered by the uncaring “baby seal killing Canucks.” The WINGO lobbied the
Congress to get congressman to support sanctions against Canada for causing the decline of Black
Whales.

118.    As NMFS’s and the fishing industry’s agent on the ALWTRT, the WINGO acted in concert
with the fishing industry to get the Public to believe “we got to save whales and fishermen” and to
support not banning VBR until advanced technology became available that the industry could use to
keep fishing but not threaten wildlife populations. Of course, the WINGO worked with NMFS to
get its unlawful practice that VBR could continue until NMFS could also buy whale safe fishing
            Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 35 of 96
28 February 2028 Typographic Corrected Complaint in Strahan v. Pentony, 1:21-cv-01131-TJK
                                                                                                       35

gear and then give it for free to the fishermen.

119.    Because of the WINGO acting in concert with NMFS and the fishing industry, the fishing
industry is succeeding in evading any enforcement of the ESA9 take prohibitions against it and to
be freely able entangle and kill ESA Listed Species of whales and sea turtle with impunity.

120.    Defendant Knowlton and NEA conspired with the fishing industry and NMFS in a malicious
scheme to allow NMFS to claim that VBR with a 1700 LB breaking strength (“VBR-1700”) will
not kill or seriously injure entangled whales. This irrational and erroneous claim is now used by
NMFS to evade court’s enjoining it from continuing to require VBR. Knowlton/NEA was paid
hundred of thousands of dollars by NMFS and Massachusetts’ marine fishing agency to fabricate a
phony research project and to maliciously publish false claims in a professional journal that VBR-
1700 will not kill or seriously injure whales. Based solely on Knowlton’s fraudulent claims, NMFS
issued a “no jeopardy” opinion in its 2021 BIOP for the US northeast lobsterpot FMP. Knowlton
profited further by appearing as a paid witness for the state of Massachusetts in the June 2021 trial
in M. A. X. v. EOEEA (D. Mass. 2019). Kit testified under oath that VBR-1700 would completely
eliminate VBR’s threat of death and serious injury ESA Listed Species of endangered whales. On
cross exam she admitted under oath that her claims made no sense statistically and her claims
amount only to her personal opinion as a non-scientists and advocate for commercial fishing
industry.

121.    The Black Whale species is facing inevitable extinction owing to these WINGOS malicious
acting in concert with NMFS and the fishing industry to insure the continued use of VBR and its
continued killing/injuring of Black Whales that is now equally responsible for current ten percent
annual decline in size of its remaining population. The Black Whale would not be facing inevitable
extinction in 2021 if it were not for the efforts of these WINGOS to have NMFS continue requiring
the use of VBR and their collaboration with the fishing industry to insure that the Public will nogt
blame the industry for the inevitable extinction of the Black Whale Species.

COUNT VII: Defendant Atlantic States Marine Fisheries Commission violation of the ESA Section
           9 Take Prohibitions by Acting in Concert NMFS to Require the Use of VBR Pot and
           Gill Net Fisheries in US Coastal Waters that Kill and Otherwise Take ESA Listed
           Species of Whales and Sea Turtles.

122.    Citizen Attorney General M.A.X. re-alleges his claims of fact and law asserted in
paragraphs 1 – 121.
           Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 36 of 96
28 February 2028 Typographic Corrected Complaint in Strahan v. Pentony, 1:21-cv-01131-TJK
                                                                                                       36

123.    The Defendant Atlantic States Marine Fisheries Commission is the partner in crime with
NOAA/NMFS in committing ESA Section 9 crime with NMFS. The ASMFC is not a government
agency. But it possesses a federal charter to operate and it has exclusive authority to develop coastal
marine fisheries management plans for the implementation and licensing by NMFS. It’s literally a
mere “clubhouse” where the marine fishing industry gets exclusive opportunity to work in concert
with state and federal employees to issue the industry’s desired pot and gillnet fisheries plans for
the US northeast coast. The ASMFC has a written agreement with NMFS that NMFS will just
“rubber stamp” and accept any fisheries plan served on it by the ASMFC.

124.    Since the fishing industry want to use VBR in its pot and gillnets fisheries, the ASMFC
issues a fishing plan that requires the use of VBR. Because the ASMFC issues a fisheris plan
requiring the use of VBR, NMFS rubber stamps the plan and promulgates regulations to implement
it with little alteration.

125.    The ASMFC is therefore liable along with NMFS for the ESA Section 9 prohibited killing
and injuring of ESA Listed Species of Whales and sea turtles pursuant to NMFS licensed agents
deploying VBR ladened fishing gear into US coastal waters in which ESA Listed Species of whales
and sea turtle co-occur.

126.    ASMFC and NMFS and each of NMFS’ licensed fishers will continue their said ESA
Section 9(a) prohibited taking of Endangered Species of Whales and Sea Turtles into the future
unless ordered to stop by the Court.

COUNT VIII. Defendant Sawyer’s Engaging in the ESA9 Prohibited Taking of ESA Listed
             Species of Whales and Sea Turtles by His Deploying Vertical Buoy Ropes and
             Associated Fishing Gear in ESA Designated Listed Critical Habitat for the
             Northern Black Whale.

127.    Citizen Attorney General M.A.X. re-alleges his claims of fact and law asserted in
paragraphs 1 – 126.

128.    The Defendant Sawyer is a government licensed commercial fisher who deploys VBR laden
fishing gear into US coastal waters primarily off the Massachusetts coast. Upon information and
belief he deploys the said fishing gear almost exclusively in marine waters within the boundaries of
the ESA listed designated critical habitat for the Northern Black Whale (“Black Whale Critical
Habitat”). By its character, VBR laden lobsterpot and gillnet fishing gear deployed by Sawyer
routinely catches and entangles ESA Listed Species of whales and sea turtles principally owing to
          Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 37 of 96
28 February 2028 Typographic Corrected Complaint in Strahan v. Pentony, 1:21-cv-01131-TJK
                                                                                                      37

the use of the VBR and gillnetting.

129.    The ESA9 take prohibitions prohibit the deployment of any VBR laden fishing gear in Black
Whale Critical Habitat. Currently in 2021 the deployment of VBR laden fishing gear is now a per se
ESA9 prohibited activity on its own without any need to actually catch/entangle any animal who is
a member of an ESA Listed Species. This is due tio the historical reality that VBR fishing gear is
scientifically proven to devastate the Northern Black Whale population. The extinction of the Black
Whale is a “death by a thousand cuts.” All fishermen share a percentage of liability for the
inevitable extinction of this endangered species. Owing to the chaotic character of Black Whales
being caught by VBR laden fishing gear, there is no realistic way of predicting when or which
fisher’s VBR gear will catch a Black Whale. Therefore the ESA9 prohibitions must be equally
enforced against all fishers deploying VBR lkaden fishing gear at all times in order to prevent any
future entanglement.

130.    Currently any entanglement of a Black Whale constitutes a species extinction event. To stop
the extinction of the Black Whale requires that Defendant Sawyer be enjoined from deploying any
more VBR laden fishing gear in Black Whale Critical Habitat.
          Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 38 of 96
28 February 2028 Typographic Corrected Complaint in Strahan v. Pentony, 1:21-cv-01131-TJK
                                                                                                       38

                      Claims Under the Court’s Supplementary Jurisdiction

COUNT IX. Defendants ASMFC, DOW, NEA, Sawyer Davenport, & Knowlton as a Public
           Nuisance

131.    Citizen Attorney General M.A.X. re-alleges and incorporates herein by reference each and
every allegation contained in paragraphs 1 through 130.

132.    The Defendants ASMFC, DOW, NEA, Davenport, Sawyer & Knowlton are Public
Nuisances that have adversely injured the property interests and otherwise inflicted tortious injury
on the protectable interest of the M.A.X. Together that have acted in concert to insure required use
of VBR (“Fishing Activity”) by the all lobsterpot and gillnet fishers in the northeastern United
States coastal waters. In doing so these Defendants have maliciously and negligently destroyed the
Northern Black Whale’s species ability to thrive and condemned it to an inevitable extinction. The
People are suffering recurring and continuing tortious injury from these Defendants’ their said
unlawful activities. The M.A.X. also suffered much financial loss inflicted on him by the said
unlawful activities of the Defendant. His ability to make a living studying and gathering data on
these whales has been devastated by them. His ability to engage in Green Fishing is being prevented
by them. Tax payers have spent over a half-billion dollars to stop the extinction of wildlife species
these Defendants are causing. As a commercial fishermen the Defendants’ Fishing Activity is
costing him ongoing losses in time and money as a result of the Endangered Whales being kept
from recovering from their biologically endangered status by these Defendants. As a commercial
fisherman M.A.X. has a unique status distinguished from that by other members of the Public.

133.    M.A.X. is asking the Court to award him compensatory damages for the decades of
economic loss and the lost ability for him to enjoy the marine environment, that is guaranteed under
the Massachusetts Constitution, that is being inflicted on him by NMFS’ Fishing Activity. M.A.X.
is also asking the Court for an award of punitive damages against the Defendants. The Defendants
negligence has hurt all members of the Public and their ability to enjoy the marine environment.
There are fewer whales to be seen on commercial whale watch vessels, kayaks, by swimmers and
surfers. The Defendants need to be punished economically in order to put an end to their deliberate
destruction of the Public Weal – the wildlife of the Ocean and the coastal marine environment.
          Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 39 of 96
28 February 2028 Typographic Corrected Complaint in Strahan v. Pentony, 1:21-cv-01131-TJK
                                                                                                      39

COUNT X         Defendant Pentony’s Violation of Mass. General Laws Chap. 12 § 11I, the
                Massachusetts Civil Rights Act
134.    Citizen Attorney General M.A.X. re-alleges his claims of fact and law asserted in
paragraphs 1 – 133.

135.    The Massachusetts Civil Rights Act authorizes citizens to prosecute anyone in a court of law
for injunctive and compensatory relief who uses threats and intimidation against him to coerce him
from enjoying his constitutional and statutory protected liberties and authority. The MCRA statute,
12 MGL § 11I, reads as follows —

        “Section 11I. Any person whose exercise or enjoyment of rights secured by the
         constitution or laws of the United States, or of rights secured by the constitution or
         laws of the commonwealth, has been interfered with, or attempted to be interfered
         with, as described in section 11H, may institute and prosecute in his own name and
         on his own behalf a civil action for injunctive and other appropriate equitable relief
         as provided for in said section, including the award of compensatory money
         damages. Any aggrieved person or persons who prevail in an action authorized by
         this section shall be entitled to an award of the costs of the litigation and reasonable
         attorneys' fees in an amount to be fixed by the court.”

136.    The Defendant Pentony is engaging in First Amendment prohibited retaliatory conduct by
Defendant Pentony that has been ongoing since 2018. The M.A.X. right to Free Speech and to
petition the Courts of the United State is protected by the Petition Clause of the First Amendment.
Owing to M.A.X. demanding the banning of VBR in US coastal waters and his many decades long
repeated prosecutions of NMFS employees in federal courts for violation of environmental and civil
rights laws, Pentony is now coercing M.A.X. from any further litigation of NMFS employees from
his coercing NMFS employees to no speak or in any way communicate with M.A.X. despite these
employees willingness and desire to do so. On or after 2018, Pentony in conspiracy with NOAA”s
Samuel Rausch issued a gag order (“Gag Order”) to NMFS employees in its northeast regional
office and at the Northeast Fisheries Science Center in Woods Hole MA ordering them to no longer
communicate with M.A.X. either verbally or through email etc.

137.    Since 2018, NMFS scientists and researchers now refuse to communicate with M.A.X. after
receiving notice of the Gag Order from Pentony. Every time M.A.X attempts to email or otherwise
communicate with willing scientists and researchers employed by NOAA, they either ghost him or
politely inform him that they got Pentony’s Gag Order and can no longer communicate with him.
These employees tell M.A.X. that they live in fear of losing their government jobs or being
sanctioned as employees if they speak with M.A.X.
          Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 40 of 96
28 February 2028 Typographic Corrected Complaint in Strahan v. Pentony, 1:21-cv-01131-TJK
                                                                                                       40

138.    The Massachusetts Civil Rights Act allows citizens to prosecute in court any federal
government employee for using threats and intimidation against the citizen that coerces him from
the full enjoyment of his statutory and constitutional protected liberties, including Free Speech, the
righty to petition the courts, the right to equal treatment under the law, the right to due process, and
the right to free association. The Gag Order deliberate acts to coerce M.A.X. from enjoying his
ability to prosecute NMFS employees in court. Pentony directly told M.A.X. during a phone and in
an email that if he chooses to sue NMFS he will not be allowed to speak with NMFS employees.
The Gag Order is now permanent. Since Pentony considers M.A.X. a constant threat to sue NMFS,
the Gag Order is permanent.

139.    The Gag Order’s intent includes stopping M.A.X. communicating with NOAA “whistle
blowers” and to coerce him from getting NOAA documents and scientific data to intimidate him
from being able to petition the government to ban VBR in US coastal waters.
           Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 41 of 96
 28 February 2028 Typographic Corrected Complaint in Strahan v. Pentony, 1:21-cv-01131-TJK
                                                                                                       41

                                        PRAYER FOR RELIEF

I.      For a Declaratory Judgment that the ESA Section 9 take prohibitions prohibit the government
        licensing of and/or any individual’s deployment of fishing gear utilizing vertical buoy ropes into
        coastal waters designated under the ESA as critical habitat for the Northern Black Whale off the
        northeastern US coast.

IIA.    For a Declaratory Judgment that NOAA is now in continuous violation of its mandatory and
        non-discretionary duties under ESA Section 7(a) by delimiting its superintendent authority for
        the ESA by delegating it to NMFS without NOAA first having conducted an internal ESA
        Section 7 review to determine such an action’s possible adverse impact on ESA Listed Species.

IIB.    For an Order enjoining NOAA from further delegating its ESA superintendent authority to
        NMFS, enjoining NMFS from further conducting ESA Section 7 consultations, and to not
        have NOAA delegate its authority to any other of its other infra-agencies until it has first
        conducted the appropriate ESA Section 7 internal consultation prior to such possible action.

IIIA.   For an Order enjoining Defendant Pentony from any further attempt to coerce or intimidate
        any NOAA/NMFS employee from communicating directly with the Plaintiff.

IIIB.   For an Order enjoining Arthur Sawyer from deploying gillnet and/or pot fishing gear using
        vertical buoy ropes in US coastal waters off the Massachusetts coast.

IV.     For an Order to enjoin NMFS from enforcing its ALWTRP against M.A.X. or any other state
        licensed fisher and to enjoin Davenport/DOW/Knowlton/NEA and Sawyer/MLA from serving
        on the NMFS’ ALWTRT.

V.      For an order, enjoining NMFS from further licensing and/or requiring any individual to use
        vertical buoy ropes on pot or gillnet fishing gear to be deployed in ESA designated critical
        habitat for the Northern Black Whale off the northeast US coast.

VI.     For an order requiring NOAA to develop and implement an effective, pro-active program to
        recover Northern Black Whale species including taking steps to immediately increase the
        species annual rate of birth in order to achieve in each successive year an increase in the size of
        the species population until it no longer needs to be designated as an ESA Listed Species.

VII.    For an award of $1,000,000 in compensatory and punitive damages against each of these
        Defendants; Pentony, ASMFC, Sawyer, Davenport, Knowlton, the New England Aquarium and
        the Defenders of Wildlife.

VIII.   For an award of the M. A. X.’s direct costs of his prosecution against the Defendants

IX.     For any further relief that the Court deems appropriate

 BY:

         /s/ Richard Maximus Strahan
         ______________________________
         Richard Maximus Strahan as Man Against Xtinction
         esistoo@yahoo.com

         Pro Se and Proud!
           Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 42 of 96
28 February 2028 Typographic Corrected Complaint in Strahan v. Pentony, 1:21-cv-01131-TJK
                                                                                                  42




                             VERIFICATION OF THE COMPLAINT

 I Richard Maximus Strahan verify under the pains and penalties of perjury that all the facts alleged
 in the above complaint are known to the best of my ability to be true. Signed under the pains and
 penalties of perjury this 28th Day in the month of February 2022

        /s/ Richard Maximus Strahan
        ________________________
       Richard Maximus Strahan
       Man Against Xtinction


                                    CERTIFICATE OF SERVICE


I hereby certify that a copy of the above document was served on the current DefendantsVIA the
ECF filing system this same day.

/s/ Richard Maximus Strahan
_________________________
Richard Maximus Strahan
          Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 43 of 96
28 February 2028 Typographic Corrected Complaint in Strahan v. Pentony, 1:21-cv-01131-TJK
                                                                                            43




APPENDIX
         Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 44 of 96




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1-1-2009

A New Paradigm for Conservation of Great
Whales in the Urban Sea of the
United States -- Species in Need of a
"Green Night"
Richard Max Strahan




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Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 45 of 96




     A NEW PARADIGM FOR CONSERVATION OF
      GREAT WHALES IN THE URBAN SEA OF
      THE UNITED STATES—SPECIES IN NEED
             OF A “GREEN KNIGHT”

                                  Richard Max Strahan*

       Abstract: The great whales of the North Atlantic live, breed, and are now
       being injured and killed in the “Urban Sea” —a growing feature of the
       United States coastline resulting from coastal development. The primary
       threats to great whales are anthropogenic: vessel strikes and entangle-
       ment in commercial fishing gear. Despite their popularity as cultural icons,
       and federal and state protective regulations on the books, endan- gered
       whales increasingly suffer collateral damage from coastal com- merce.
       Ample law and technology exist to eliminate these problems. Rather than
       advancing the protection of whales, however, government agencies and
       some nonprofit organizations have aggravated the problem through their
       lack of meaningful action. This essay examines systemic reasons why
       harmful entanglements in commercial fishing gear continue to occur and
       are likely to go on unabated into the future. The essay then proposes a
       paradigm shift for approaching these problems that will pro- tect whales
       and will also benefit other wildlife in the ocean and its coastal Urban Sea.




          * Founder and chief science officer of Whale Safe USA, a citizen organization that aims
     to protect the ocean environment by encouraging state and federal governments to establish
     a “whale safe” environmental review standard for their licensing and regulating of
     commercial and industrial activities that occur in the marine environment or affect it—
     including commercial fishing and commercial whale watch tourism. The author has litigated
     a number of marine mammal protection lawsuits as a non-attorney plaintiff pro se. See
     Strahan v. Holmes, 595 F. Supp. 2d 161 (D. Mass. 2009); Man Against Extinction v. Hall,
     No. C 08-01488 SI, 2008 WL 3549197 (N.D. Cal. Aug. 13, 2008); Strahan v. Pritchard, 473 F.
     Supp. 2d 230 (D. Mass. 2007); Strahan v. Linnon, 967 F. Supp. 581 (D. Mass. 1997), aff’d, 187
     F.3d 623 (1st Cir. 1998); Strahan v. Coxe, 939 F. Supp. 963 (D. Mass. 1996), aff’d, 127 F.3d
     155 (1st Cir. 1997); Bays’ Legal Fund v. Browner, 828 F. Supp. 102 (D. Mass. 1993).




                                                431
Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 46 of 96




   432                             Environmental Affairs                              [Vol. 36:431

                                        Introduction
        The status of the great whales1 in law and biology makes it fitting
   to describe them as “Twenty-Ton Canaries.” Like the small, sensitive
   birds that warned miners of lethal odorless gases in the coal mines of the
   19th century, the great whales in effect serve a utilitarian function,
   warning the public of imminent environmental dangers in the coastal
   environment. Today, most deaths and injuries of great whales are caused
   by humans, and occur in two settings—the diminishing killing of whales
   by a very few nations’ whaling fleets,2 and the dramatically increasing
   harms collateral to the growing development and industri- alization of
   the coastal marine environment of the United States and other nations.3
        Today the number of great whales killed by Japan’s small hunting
   fleet is dwarfed by the collateral killing of these whales along the coast-
   line of the United States from commercial and industrial activity. Coastal
   marine fisheries in the United States and Canada routinely kill and in-
   jure great whales by entangling them in commercial fishing gear—the



        1 The term “great whales” typically refers to the baleen whales and the sperm whale. John
   Bannister, Great Whales 3 (2008). The North Atlantic right whale (Eubalaena gla- cialis),
   the southern right whale (Eubalaena australis), the North Pacific right whale (Eubalaena
   japonica), the humpback whale (Megaptera novaeangliae), the fin whale (Balaenop- tera
   physalus), the sei whale (Balaenoptera borealis), the sperm whale (Physeter catodon), and theblue
   whale (Balaenoptera musculus) are listed as protected species under the federal Endan- gered
   Species Act. See Endangered and Threatened Wildlife, 50 C.F.R. § 17.11 (2008). In 2008 the
   National Marine Fisheries Service divided the previously listed single species known as the
   northern right whale (Eubalaena glacialis) into two separate species, the North Atlanticright
   whale (Eubalaena glacialis) and the North Pacific right whale (Eubalaena japonica). En-
   dangered Status for North Pacific and North Atlantic Right Whales, 73 Fed. Reg. 12,024 (March
   6, 2008). The author has disputed the validity of this division in a pending notice of intent to
   sue. This essay, however, employs the currently official nomenclature.
        2 Currently, the minke whale is the main species of whale commercially hunted. See
   The Mammal Society, Fact Sheet: The Minke Whale Balaenoptera acutorostrata, http://www.
   abdn.ac.uk/mammal/minke.shtml (last visited Apr. 27, 2009). The great whales are gener-
   ally not commercially hunted, although Iceland and Japan hunt fin whales, and Japan has
   proposed hunting humpback whales. See Richard Black, Iceland Sets Major Whaling Quota,
   BBC News, Jan 27, 2009, http://news.bbc.co.uk/2/hi/science/nature/7854705.stm; Japan
   Drops Humpback Whale Hunt, BBC News, Dec. 21, 2007, http://news.bbc.co.uk/2/hi/asia-
   pacific/7155255.stm. Additionally, NMFS allows Alaskan Eskimos to hunt up to seventy-five
   bowhead whales under the aboriginal subsistence exemption of the International Whaling
   Commission. Aboriginal Subsistence Whaling, 50 C.F.R. § 230.4 (2008); Aboriginal Subsis-
   tence Whaling Quotas, 74 Fed. Reg. 10,035, 10,035–36 (Mar. 9, 2009).
        3 See Allison H. Glass et al., U.S. Dep’t of Commerce, Mortality and Serious In-
   jury Determinations for Baleen Whale Stocks Along the United States Eastern
   Seaboard and Adjacent Canadian Maritimes, 2002–2006, at iv, 3–5 (2008).
Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 47 of 96




     2009] A New Paradigm for Conservation of Great Whales in the Urban Sea of the U.S. 433

     primary focus of this essay.4 Additionally, ships traversing the coastal seas
     regularly strike great whales.5 These impacts on great whales from
     coastal industrialization violate state and federal laws meant to protect
     them from these direct and collateral threats. This essay asserts that
     these killings and injuries continue—and are on the increase—because
     of a systemic failure of the prevailing paradigm of current law that man-
     ages and nominally offers protection to the great whales and their
     coastal marine habitat. It is the opinion of the author that these harms
     are to a large extent preventable and that the fact that they continue
     offers an opportunity to evaluate the effectiveness of the fundamental
     social and legal paradigm currently employed to protect the environ-
     ment and great whales from the adverse affects of human activity.6
           The waters off the northeast coast of the United States have been
     referred to as part of the Urban Sea.7 The development impacts of the
     great coastal cities do not stop at the docks of their ports but continue
     out into the ocean. The Urban Sea reflects the commerce of the East Coast
     and the huge volume of shipping flowing through the great ports of New
     York, Philadelphia, and Boston. It is impacted by pollution and detritus
     flowing from inland and port cities and cast off by ships at sea. Its waters
     receive air pollution from inland industry and the smokestackemissions
     of ships. It is infused with noise reverberating out from ves- sels and
     Navy sonar.8 The coastal sea is also laced with thousands of in-
     stallations of fishing gear from fishing fleets, all of which can kill great
     whales, and some of which are never retrieved by fishermen but remain
     as derelict “ghost gear” drifting with the currents, continuing to kill
     without purpose. Conditions in the Urban Sea have deteriorated to the

          4 See Jamison Smith et al., Nat’l Marine Fisheries Service, Large Whale Entan-
     glement and Ship Strike Report 2005, at 2–4, 6 (2008), available at http://www.nero.noaa.
     gov/whaletrp/plan/disent/2005%20Large%20Whale%20Entanglement%20and%20Ship
     strike%20Report.pdf.
          5 See id. at 7; David Laist et al., Collisions Between Ships and Whales, 17 Marine Mammal
     Sci. 35, 35–36, 58–59 (2001).
          6 See James E. Scarff, The International Management of Whales, Dolphins and Porpoises: An
     Interdisciplinary Assessment (pt. 2), 6 Ecology L.Q. 571, 597–98 (1977).
          7 See generally Lee E. Koppelman et al., The Urban Sea: Long Island Sound (1976)
     (discussing the commercial development of Long Island Sound as “a microcosm of na-
     tional—even global—situations”). The Urban Sea is the area of the ocean starting at the
     coastline and spanning outwards to about 100–200 miles off the coast. It is an artificial
     entity manufactured by the industrialization of the coastal seas of the United States.
          8 See Brandon Southall et al., Addressing the Effects of Human-Generated Sound
     on Marine Life: An Integrated Research Plan for U.S. Federal Agencies 13– 14 (2009);
     see Robin Kundis Craig, Beyond Winter v. NRDC: A Decade of Litigating the Navy’s Active SONAR
     Around the Environmental Exemptions, 36 B.C. Envtl. Aff. L. Rev. 353, 353–54 (2009).
Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 48 of 96




   434                             Environmental Affairs                              [Vol. 36:431

   point that great whales can no longer survive in these urbanized coastal
   waters without active protection.
        The great whales breed, feed, migrate, and live in the coastal wa-
   ters of the Urban Sea for a majority of their life spans.9 Several coastal
   states—like Massachusetts—list them as native resident species of their
   states and protect them under state endangered species acts.10 The fed-
   eral government has designated Cape Cod Bay and other coastal areas as
   essential protected habitat for the North Atlantic right whale.11
   Humpback whales breed and feed just twenty miles from downtown
   Boston on Stellwagen Bank.12 The proximity of great whale habitat to
   major metropolitan areas makes the commercial whale-watching indus-
   try possible.13 It also subjects these wild animals to the adverse impacts
   of the urban environment.
        Great whale populations in the North Atlantic are still seriously
   endangered despite the fact that they have not been hunted for dec-
   ades; have few natural predators;14 and do not seem susceptible to le-
   thal pandemic diseases like measles or distemper,15 although toxins
   produced from algal blooms have been linked to incidents of mass kill-
   ings of great whales.16 It is the collateral destruction of individual
   whales and their marine habitat caused by the consequences of human
   commercial and industrial development that must now be seen as the
   likely cause of future whale extinctions.17 The whales are frequently
   injured and killed by human activity in the Urban Sea and these casual-
   ties occur in numbers and rates that threaten the whales’ continued


        9 Like birds need trees, the great whales require coastal habitat in the Urban Sea for their
   survival as species.
        10 321 Mass. Code Regs. 10.90 (2009) (Listing the great whales as protected species).
        11 Critical Habitat for Northern Right Whales, 50 C.F.R. § 226.203 (2008).
        12 Stellwagen Bank National Marine Sanctuary, Marine Life, http://stellwagen.noaa.
   gov/about/keyresources.html (last visited Apr. 27, 2009).
        13 See Pinnacle-travel.org, Whale Watching, http://whale-watching.pinnacle-travel.org/
   history.htm (last visited Apr. 27, 2009).
        14 See Whale Trust, Population Status: How Many Humpback Whales Are There in the
   North Pacific?, http://www.whaletrust.org/whales/whale_conservation.html (last visited
   Apr. 27, 2009).
        15 There are, however, reports that raise these concerns as well. See V.S. Hinshaw et al.,
   Characterization of Two Influenza A Viruses from a Pilot Whale, 58 J. Virol. 655, 655 (1986).
        16 Joseph R. Geraci, Humpback Whales (Megaptera novaangliae) Fatally Poisoned by
   Dinoflagellate Toxin, 46 Can. J. Fisheries & Aquatic Sci. 1895, 1895–96 (1989); Diane Du-
   manoski, Red Tide-Laden Mackerel Believed Cause of Humpback Whale Deaths, Boston Globe,
   Dec. 20, 1987, at 29, 42.
        17 See Richard Merrick et al., Endangered Species and Populations, in Encyclopedia of
   Marine Mammals 368, 373 (William F. Perrin et al. eds., 2d ed. 2008).
Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 49 of 96




     2009] A New Paradigm for Conservation of Great Whales in the Urban Sea of the U.S. 435

     survival by frustrating the capacity of species populations to regain and
     maintain stable, sustainable, healthy population levels.18
          The continued killings may critically deplete their small current
     numbers and precipitate extinction of species long after commercial
     whale hunting has ended.19 Great whales possess problematic biologi-
     cal parameters for survival compounded by their depleted numbers—
     specifically, great whales are long-lived, slow to reproduce, and incapa-
     ble of quick population recoveries.20 This is why the historical cessation
     of hunting right and humpback whales has not resulted in a rapid re-
     covery of species populations.21 As this “small-population” problem
     demonstrates, so long as their numbers remain low, whales remain vul-
     nerable to extinction.22
          The ruthless hunting of great whales caused the extinction of at
     least one population.23 Right whales were recognized as being so close
     to extinction that an international treaty has totally banned their hunt-
     ing since 1931.24 Whaling in general became a regulated activity in 1945
     under an international treaty signed by all nations then whaling.25
     However, that treaty’s intent was essentially commercial, designed to
     prevent over-hunting to ensure that the whale-hunting industry could
     survive over time.26 American and Canadian commercial whaling died
     out primarily due to public sentiment and a lack of commercial inter- est,
     not due to law or a lack of whales.27 In the early 1970s, Congress


           18 See Hal Caswell et al., Declining Survival Probability Threatens the North Atlantic Right
     Whale, 96 Proc. Nat’l Acad. Sci. 3308, 3312–13 (1999).
           19 See Lonny Lippsett, Diving into the Right Whale Gene Pool, Oceanus, Vol. 44, No. 3, 2005
     at 18, available at http://www.whoi.edu/cms/files/kjoyce/2006/1/Oceanus-whale-
     DNA_7086.pdf. Studies suggest “the low level of genetic variation in the small North Atlan-
     tic right whale population” contributes to their low reproduction rate. Id.
           20 Id.
           21 Id.
           22 See Anthony Ronald Sinclair et al., Wildlife Ecology, Conservation, and
     Management 312 (2d ed. 2006). When wildlife populations go below a certain size they
     lose their ability to adapt to environmental stress and face an enhanced risk of extinction
     from this fact alone. See id.
           23 See James David Darling & Jim Darling, Gray Whales 24 (1999). The Atlantic gray
     whale was possibly hunted to extinction by the end of the 17th century. Id.
           24 Convention for the Regulation of Whaling art. 4, Sept. 24, 1931, 49 Stat. 3079, 155
     L.N.T.S 351. Japan did not sign on to this treaty. P. van Heijnsbergen, International
     Legal Protection of Wild Flora and Fauna 14–15 (1997).
           25 International Convention for the Regulation of Whaling, Dec. 2, 1946, 62 Stat. 1716,
     161 U.N.T.S. 72.
           26 Steinar Andresen, The Effectiveness of the International Whaling Commission, 46 Arctic
     108, 109 (1993).
           27 See Eric Jay Dolin, Leviathan 353–69 (2007).
Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 50 of 96




   436                             Environmental Affairs                               [Vol. 36:431

   passed two relatively stringent statutes that protect whales: the Marine
   Mammal Protection Act and the Endangered Species Act.28
         That great whales are being killed in the United States and Cana-
   dian Urban Sea may seem odd, because they enjoy such strong public
   support as well as full protection as endangered species under the law.
   Since the time of Moby Dick, whale conservation in the United States and
   Europe has enjoyed both political and emotional public support.29 In
   part because of their massive size, they are among the most charis- matic
   of wildlife, celebrity species that the public will never again allow to be
   hunted in the United States or Canada.30 Despite the charismatic status
   of great whales, the threats against them posed by the Urban Sea have
   resulted in little public outcry—in great measure because, in this
   author’s opinion, insufficient information about these threats has
   reached the public.
         This is of interest because sympathetic public pressure is a neces-
   sary factor to prompt government agencies to manage marine com-
   merce in order to protect the great whales’ use of coastal marine habi-
   tat. This author believes that lack of public awareness prevents criticism
   of commercial fishermen’s role in whale entanglements.31 This lack of
   public alarm facilitates commercial interests’ ability to avoid substantial
   restraints on their activities by government agencies or from private
   lawsuits. Government agencies also do not face enough political pres-
   sure from non-profit groups or the scientific community to change the
   status quo. As a result, state and federal governments have little interest
   in stopping the collateral killing and injuring of great whales and tend
   to avoid significant regulation of commercial fishing designed to elimi-
   nate whale entanglements.32 For example, neither federal nor state
   wildlife agencies, as a matter of policy, prosecute individuals who en-

         28 Marine Mammal Protection Act, 16 U.S.C. §§ 1361–1423h (2006); Endangered Spe-
   cies Act, 16 U.S.C. §§ 1531–1544 (2006).
         29 See, e.g., Dolin, supra note 27, at 231–32 (describing the letter from “a Polar Whale”
   in the Honolulu Friend newspaper letters section).
         30 On the other hand, even the governments of New Zealand and Australia are mili-tant
   about stopping Japanese whaling. See Australia Warns Japan Over Whales, BBC News, May 24,
   2005, http://news.bbc.co.uk/2/hi/asia-pacific/4574451.stm; Stephanie Kennedy, Australia
   Pressures IWC on Japanese Whaling, ABC News, Mar. 7, 2008, http://www.abc.net.
   au/news/stories/2008/03/07/2182722.htm.
         31 There is literature available that documents the hazards to whales but it is mostly
   found in scientific publications rather than major media outlets. See, e.g., Scott D. Kraus et
   al., North Atlantic Right Whales in Crisis, 309 Science 561, 561 (2005) (describing the effects of
   fishing gear entanglement on right whales).
         32 Outside of the North Atlantic right whales, the author is aware of no extensive ongo-
   ing state or federal recovery efforts for whales.
Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 51 of 96




     2009] A New Paradigm for Conservation of Great Whales in the Urban Sea of the U.S. 437

     tangle whales in fishing gear or strike whales with a ship.33 This state of
     affairs deserves analysis and explanation.
          Functioning as the coal miner’s canary, the great whales in the
     North Atlantic Urban Sea warn not only of the escalating destruction of
     the coastal seas, but of the inability of the current environmental pro-
     tection regime of the United States to meaningfully mitigate or prevent
     the killing—if not the extinction—of these celebrity species of wildlife.
     As a focal case in point, Part I of this essay addresses one of the major
     threats to the survival and welfare of North Atlantic great whales—the
     distressing and illuminating problem of injuries and death attributable
     to entanglement in commercial fishing gear. Part II then undertakes a
     detailed review of legal protections for great whales under United States
     statutes and regulations, and international treaties in which this nation
     participates. Part III sets out the author’s observations of delin- quencies
     of omission and commission by government agencies, non- profit
     organizations, and researchers, with regard to threats facing great
     whales and also offers some possible explanations. Part IV offers
     potential solutions in light of this essay’s analysis.

         I. Hazards to Great Whales: Entanglement by Commercial
                       Fishing Gear in the Urban Sea

               A. Entanglement Basics: Threats Posed by Current Commercial
                                     Fishing Practices
          One of the two main anthropogenic threats to great whales in the
     Urban Sea is their injurious entanglement in commercial fishing gear.34
     In large part because of the practices of its commercial fishing industry
     over the last forty years, the United States contributes significantly to
     this threat to great whales—despite theoretically stringent statutory
     protection.35




          33 See Press Release, Pub. Employees for Envtl. Responsibility, Whale Prots. Rarely En-
     forced ( July 1, 2004), http://www.peer.org/news/print_detail.php?row_id=380.
          34 Kraus et al., supra note 31, at 561; Andrew J. Read, The Looming Crisis: Interactions Be-
     tween Marine Mammals and Fisheries, 89 J. Mammalogy 541, 541, 543 (2008). The other threat
     is ship strikes. See Smith et al., supra note 4, at 2–3; Laist et al., supra note 5, at 35– 37.
          35 See Andrew J. Read et al., Bycatch of Marine Mammals in U.S. and Global Fisheries, 20
     Conservation Biology 163, 164 (2006).
Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 52 of 96




   438                              Environmental Affairs                                [Vol. 36:431

         Great whales are routinely caught and entangled by commercial
   fishing gear.36 A significant number of the known anthropogenic mor-
   talities and injuries of great whales in the Urban Sea come from entan-
   glement in such gear.37 Great whales get caught up in ropes (lines) and
   nets used in the coastal fishing industry.38 Ropes suspended in the wa-
   ter column have a surprising ability to ensnare, wrap around, and form
   cinch knots (that is, entangle) upon just about any large moving object
   that comes in contact with them.39 The actual mechanics of a whale’s
   entanglement in fishing ropes—particularly involving commercial pot
   gear and gill nets—is, in the author’s opinion, relatively simple to ap-
   preciate and to prevent. The defining task in managing commercial
   fisheries so as to prevent whale entanglement is eliminating the possi-
   bility of a whale making physical contact with fishing gear.40




   Figure 1: Typical lobster pot gear deployment in U.S. coastal waters. Chart courtesy of Boston
   College Environmental Law Society, 2008.




       36 See id. at 167. Ten to thirty percent of North Atlantic right whales and Gulf of Maine
   humpback whales become entangled each year. Id.; see also Amanda Johnson et al., Fishing
   Gear Involved in Entanglements of Right and Humpback Whales, 21 Marine Mammal Sci. 635,
   635–36 (2005); Kraus et al., supra note 31, at 561.
       37 See Johnson et al., supra note 36, at 636.
       38 Id. at 640–41.
       39 The lines used in the coastal fixed gear fishery are generally made of plastic poly-
   mers—polypropylene, polyester and the like. See Johnson et al., supra note 36, at 638.
       40 See Read, supra note 34, at 543.
Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 53 of 96




     2009]    A New Paradigm for Conservation of Great Whales in the Urban Sea of the U.S.      439

           Fixed fishing gear is the type of fishing equipment that causes the
     greatest number of recorded marine mammal entanglements in the
     Urban Sea.41 Fixed gear is anchored in position and tended to by fish-
     erman every few days.42 Fixed gear consists of two kinds of fishing gear:
     (1) gear using traps (also called pots) tied together in a string (a trawl)
     that is attached to vertically suspended ropes (vertical buoy lines or
     VBL) from floating buoys on the sea surface; and (2) sink gill nets that
     resemble volleyball nets anchored to the sea floor (gill nets).43
           The fishery for American lobster (Homarus americanus) is the most
     familiar fishery which uses pot gear. Its rectangular box-like wire traps
     are baited and have entrance holes, but only a small exit for undersized
     crustaceans.44 Intensively deployed on the coastal ocean floor, these and
     similar forms of traps catch fish and crustaceans.45 The rope that runs
     horizontally between the adjacent linked pots in a trawl is called a
     ground-line; if buoyant, it sometimes floats in an upward curve between
     the traps.46 The ropes that extend downward from the buoys to the end
     pots in the trawls are the vertical buoy lines, and are subsequently used
     to retrieve the trawls of pots.47 The fishery for American lobsters ex-
     tends along the Atlantic coast of the United States and Canada from
     the Bay of Fundy to the Carolinas.
           The scale of the threat posed by lobster-set vertical buoy lines is
     illustrated by the placement of fixed gear at the top of Cape Cod Bay in
     relation to sightings of North Atlantic Right Whales. To enter Cape Cod
     Bay, one of their major historical habitats, right whales must pass
     through a gauntlet of vertical buoy lines anchored to thousands of lob-
     ster pot trawls. Evidence suggests that great whales primarily become
     entangled in the vertical rope lines that stretch from gear on the ocean
     floor to surface-floating buoys.48 When an area becomes known as a hot

          41 See Johnson et al., supra note 36, at 636.
          42 Each season, a typical lobster pot fisherman may deploy as many as 800 traps con-
     figured as trawls, each consisting of twenty or fewer traps. There are two vertical buoy lines
     per trawl. The fishing gear remains in the water continuously for the duration of the sea-
     son, which can last up to eight months or more.
          43 See Johnson et al., supra note 36, at 636–37.
          44 See Pots, FAO Fisheries Glossary, available at http://www.fao.org/fi/glossary/default.
     asp (click “Search for Term” hyperlink; then search “Pots”).
          45 See id.
          46 Johnson et al., supra note 36, at 638 & fig.1.
          47 Id.
          48 See id. at 643 (“Fifty-six percent of the entanglements for [North Atlantic right whales
     and humpback whales] involved buoy line ”). The author goes on to argue,
     however, that “[w]hether buoy and surface system lines represent more of an entangle-
     ment risk than groundline is currently difficult to determine.” Id.
Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 54 of 96




   440                              Environmental Affairs                               [Vol. 36:431

   spot for lobsters or prey fish, fishermen deploy thousands of traps—
   with attendant buoys and vertical lines—into a limited expanse of
   coastal waters, creating a rope forest.




   Figure 2. Lobster trap sets and right whale sightings, Cape Cod Bay. In this chart, each dot repre-
   sents a sighting of a North Atlantic right whale in Cape Cod Bay since 1988 (the solid dark area is
   the land area of Cape Cod and adjacent mainland). The lined quadrilateral zones indicate the
   locations of just three lobster pot fields where thousands of lobster gear trawls are annually de-
   ployed, each set typically with one vertical buoy line attached at either end. Chart created by Jona-
   than Sege, Boston College Geophysics GIS Lab, 2008.


         Great whales can get entangled just from running into this gear as
   they swim along. As a whale makes physical contact with a vertical buoy
   line by running into it, the line may wrap itself around a whale’s flip-
   pers, its tail, its body, and/or even through its mouth, and then set on
   itself and knot up. Repeated exposures to potentially fatal entangle-
   ment are a routine event for a majority of individual great whales in the
   North Atlantic Urban Sea.49 It appears that, once entangled, some

       49 See Read et al., supra note 35, at 167 (“50% to more than 70% of animals in some
   populations (Gulf of Maine humpbacks and North Atlantic right whales, respectively) have
   been entangled at least once in their lives ”).
Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 55 of 96




     2009] A New Paradigm for Conservation of Great Whales in the Urban Sea of the U.S. 441

     whales are able to shed the gear.50 In other entanglement episodes, ow-
     ing to the whales’ large size, they can break away from some of the fish-
     ing gear with only the vertical lines wrapped around them. At other
     times they carry larger amounts of fishing gear when they break away
     from an entanglement site. Severe entanglement proceeds over time to
     constrict, cut, scar, or otherwise injure them, or worse.51
          Fixed sink gill nets also entangle whales.52 Gill nets are widely used
     by the commercial fishing industry for harvesting ground fish, the spe-
     cies of commercial fish that customarily live on or near the ocean floor—
     principally haddock, flounder, cod, skate, and fluke. Such nets also have
     vertical buoy lines that can entangle whales.53 Gill nets unfor-tunately
     do not discriminate in what they kill. They catch and kill many species of
     fish and wildlife that are not targets of the licensed fishery— so-called
     bycatch—including seals, dolphins, turtles, and other marine mammals
     besides whales.54 Gill nets can be aptly described as a “wall of death.”
     Nets can become transient killers when they break loose and drift
     randomly around bays and oceans as derelict “ghost nets,” holding
     entrapped and decomposing sea creatures, sometimes for years, until
     the nets finally disintegrate.55
          Eyewitness accounts of entanglements are rare, despite years of
     researchers observing these whales.56 This does not mean that entan-
     glement is a rare event, however. Further compelling evidence for a high
     rate of entanglement comes from reports assessing rope-scarring on
     whales, the origin of which is overwhelmingly likely to have been caused
     by entanglement in fishing gear.57 Over seventy-five percent of

          50 See Johnson et al., supra note 36, at 642.
          51 See Michael J. Moore et al., Fatally Entangled Right Whales Can Die Extremely Slowly,
     (Sept. 18–21, 2006) (paper presented at OCEANS’06 MTS-IEEE Conference, Boston, MA),
     available at https://darchive.mblwhoilibrary.org/bitstream/1912/1505/1/ Moore%20et%
     20al%20IEEE%20Entanglements%202006060330-71.pdf.
          52 See Johnson et al., supra note 36, at 636.
          53 The gill net is intended to be a simple killing machine, catching any fish swimming
     through the water. When the head of a fish pushes through any of the individual openings
     in the invisible monofilament net, a nylon loop cinches around the gills behind the head.
     The caught fish is held in place with impaired gill breathing until it literally drowns.
          54 See Read, supra note 34, at 542.
          55 A ghost net can drift aimlessly for more than a dozen years before it starts to disin-
     tegrate or becomes so balled-up that it can no longer kill. See, e.g., Derelict Net Entangled, Killed
     3,500 Animals in 15 Years, SanJuanJournal.com, June 11, 2008, http://www.pnwlocal
     news.com/sanjuans/jsj/news/19785739.html.
          56 See Mason Weinrich, Behavior of a Humpback Whale (Megaptera Novaeangliae) Upon
     Entanglement in a Gill Net, 15 Marine Mammal Sci. 559, 559–61 (1999).
          57 See, e.g., Amy Knowlton et al., Analysis of Scarring on North Atlantic Right Whales
     (Eubalaena glacialis): Monitoring Rates of Entanglement Interaction: 1980–2002 11 (Feb.
Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 56 of 96




   442                            Environmental Affairs                              [Vol. 36:431

   North Atlantic right whales evidence scarring from such entanglement
   in fishing gear,58 as do approximately half of humpback whales.59 An
   assessment of the problem from field reports leaves no doubt that en-
   tanglement is a routine and dangerous phenomenon. As a recent re- port
   noted: “Entanglement in fishing gear is a significant cause of in- jury and
   mortality to many marine mammal populations throughout the world.
   Large whale populations along the U.S. east coast remain susceptible to
   entanglement, despite management efforts to reduce overfishing of
   lobster and groundfish species.”60 Entanglement in fixed fishing gear
   inflicts significant mortality and serious injury on hump- back whales61
   and North Atlantic right whales,62 threatening the sur- vival of these
   endangered species.
         As noted above, vertical buoy lines are involved in the majority of
   recorded fixed-gear entanglements of whales.63 There are an abun-
   dance of reports from the field of injured, dead, or disabled great whales
   entangled only in vertical buoy lines and attached buoys, often just a
   single line. On the other hand, the author is not aware of any great whale
   that has ever been sighted entangled solely in ground-line. When whales
   are observed dragging pots and other parts of pot gear, including
   ground-lines in these entanglements, the ground-lines are tied to
   vertical lines. Right whales in particular spend much of their lives
   swimming at or near the surface. Ground-lines hug or hover very near
   the seafloor. Great whales seldom dive to the seafloor and, when they do,
   appear to make vertical descents and ascents, not the travers- ing lateral
   movement that would increase exposure to ground-line. In addition, the
   ground-lines’ lateral orientation with two ends weighted down by
   attached traps creates a geometry that tends to limit entan-

   2005) (unpublished report to the National Marine Fisheries Service) (on file with author);
   Jooke Robbins & David K. Mattila, Ctr. for Coastal Studs., Monitoring Entanglements of
   Humpback Whales (Megaptera novaeangliae) in the Gulf of Maine on the Basis of Caudal
   Peduncle Scarring (2001) (unpublished report to the 53rd Scientific Committee Meeting of
   the International Whaling Commission, Hammersmith, London), available at http://
   www.coastalstudies.org/what-we-do/whale-rescue/scar-study.htm. Many whales are seen
   annually with fresh surface scarring caused by fishing gear entanglement. See id.
        58 Knowlton et al., supra note 57, at 11.
        59 Robbins & Mattila, supra note 57.
        60 Johnson et al., supra note 36, at 636.
        61 Id. “[A] scar-based study of Gulf of Maine humpback whale entanglement rates indi-
   cated that more than half of the population had experienced a previous entanglement,
   and 8%–25% received new injuries each year.” Id.
        62 Id. “Mortality from entanglements in fishing gear, in particular fixed gear, is a factor
   inhibiting the recovery of the critically endangered North Atlantic right whale (Eubalaena
   glacialis).” Id.
        63 See id. at 640–41.
Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 57 of 96




     2009] A New Paradigm for Conservation of Great Whales in the Urban Sea of the U.S. 443

     glement opportunity, and therefore risk. For a number of reasons based
     on physics and behavior, therefore, ground-line participation in
     entanglements thus appears to the author to be at most marginal com-
     pared to the initial and continuing entanglement of whales caused by
     vertical buoy lines. When the National Marine Fisheries Service(NMFS)
     was asked via subpoena to produce any extant records of great whales
     becoming initially entangled in ground-lines rather than in ver- tical
     lines, the agency responded to the court in writing that they “ha[d] no
     such records.”64
          Fishing gear, and particularly vertical buoy lines, constantly pose a
     significant risk to entangle great whales whenever the two meet in close
     encounters.65 Regulations that are reasonable—and enforced—could
     almost entirely eliminate this threat.66 Otherwise the consequences will
     be to continue to expose endangered great whales to risk of extinction
     because reproducing numbers and the gene pool are already so lim-
     ited.67
          This author believes NMFS resists regulating, banning, or requir-
     ing alternatives to conventional vertical buoy lines.68 As noted infra, the
     author has observed a distinct aversion to requiring re-engineering of
     vertical lines to make them “whale-safe.” Instead, NMFS chooses to is-
     sue a simple mandate for sinking ground-lines as a symbolic act to ad-
     dress entanglement.69 Given the questionable magnitude of the entan-
     glement risk posed by ground-lines, this token regulatory act can be
     characterized as a political feint in deference to the industry that side-


           64 Subpoena issued in Strahan v. Holmes, 595 F. Supp. 2d 161 (D. Mass. 2009). When
     NMFS initially failed to comply, a contempt proceeding was brought by the plaintiff against
     it. After the court ordered its compliance, NMFS’s attorney informed the court on the record
     that NMFS had no records of ground-line ever on its own initiating the entan- glement of a
     great whale. It is also possible that most ground-line found entangled on whales comes from
     gill nets, not lobster gear.
           65 Johnson et al., supra note 36, at 644. “This analysis confirms that any line rising into
     the water column poses a significant entanglement risk for these two species.” The author
     does also note, however, that groundline can also float up into the water column. Id. at
     643.
           66 See Kraus et al., supra note 31, at 562.
           67 See Lippsett, supra note 19. The results are also horribly cruel in terms of animal wel-
     fare as these great mammals suffer serious injuries and long lingering painful deaths. See
     Moore et al., supra note 51.
           68 See Taking of Marine Mammals Incidental to Commercial Fishing Operations; Atlan- tic
     Large Whale Take Reduction Plan Regulations, 72 Fed. Reg. 57,104, 57,104 (Oct. 5, 2007)
     (covering only weak link or breakaway buoys, not vertical buoy lines) (to be codified at 50
     C.F.R. §§ 229.2, 229.3, 635.69(a)(3), 648.264(a)(6)(i)).
           69 See id.
Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 58 of 96




   444                           Environmental Affairs                            [Vol. 36:431

   steps enforcement of the substantial commands of the Endangered
   Species Act (ESA).

             A. Alternative Technologies and Commercial Fishing Practices
                           That Reduce Risk of Entanglement
        Because feasible technology and methodology exist to substantially
   reduce—if not largely eliminate—the hazards of whale entanglementin
   vertical buoy lines, the official regulatory focus on ground-lines by NMFS
   appears to be politically driven. Effective regulation strategies would
   focus on whale-safe buoy lines and redesigning fishing seasons and
   zones to limit the time and placement of entangling gear.70 A re- cent
   study comparing lobster fishing in the Canadian and American portions
   of the Gulf of Maine shows that a large reduction of fishing effort would
   greatly reduce the entanglement risk posed by the fishery while reducing
   the total lobster catch only trivially.71 This also results in a substantial
   lessening of actual net cost per pound of catch.72 The straightforward
   regulatory logic and simplicity of requiring whale-safe vertical lines,
   moreover, is obvious. Making vertical buoy lines signifi- cantly more
   whale-safe does not require sophisticated electronic trap- retrieval
   devices or remote-triggered buoy systems that pop up from the ocean
   floor. Stiffened, less-entangling ropes and other simple substan- tial
   improvements could be readily developed.73 The failure of NMFS to
   require whale-safe ropes for commercial fishing gear is not based on a
   failure of available technology.




        70 Kraus et al., supra note 31, at 562.
        71 See Ransom A. Myers et al., Saving Endangered Whales at No Cost, 17 Current Biol-
   ogy R10, R11 (2007). “If Maine restricted its fishing season to 6 months and reduced the
   number of traps by a factor of 10, the same amount of lobster could be landed, with greatly
   reduced risk to right whales and other species.” Id.
        72 Id.
        73 Nonknottable rope designs have been developed by researchers at the Massachu- setts
   Institute of Technology and could be quickly brought to commercial production if a regulatory
   mandate existed to create a market.
Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 59 of 96




     2009]     A New Paradigm for Conservation of Great Whales in the Urban Sea of the U.S. 445

     II. The Current Government and Private Regulatory Paradigm
           for Protection and Conservation of Great Whales

             A. The Federal and State Regulatory Scheme for Fixed Gear Fisheries

     1. Regulation of Marine Commercial Fisheries in General
          The marine fisheries regulatory systems adopted by both the fed-
     eral government and coastal states share basic key features. State and
     local marine fisheries agencies (as opposed to inland fisheries agencies,
     which focus upon conservation and noncommercial utilization) are
     designed and established to regulate and promote the commercial ma-
     rine fishing industry.74 These agencies are mandated by statute to assist
     the private commercial fishing industry, and in practice seem demon-
     strably to have far less concern for serving public interests like animal
     welfare and conservation.75 The fishing agencies usually are directed by
     a commission whose membership, by explicit statutory mandate, is
     dominated by members who are either commercial fishermen or are
     otherwise associated with the commercial fishing industry. The result of
     the private commercial orientation of these agencies is that the fishing
     industry essentially regulates itself. At the federal level, moreover, state
     marine fishing agencies play a major role on the commissions govern-
     ing the federal fisheries regulatory scheme and the National Marine
     Fisheries Service (NMFS).76 Environmental impact review laws have a
     tendency to limit the autonomy of these agencies as well as the fishing
     industry. In the case of state agencies, as a matter of political realities
     rather than by statutory exemption, regulation of marine fisheries is




          74 See Fisheries Conservation and Management Act of 1976, 16 U.S.C. § 1801 (2006);
     Atlantic Coastal Fisheries Cooperative Management Act 16 U. S. C. § 5101(a) (2006).
          75 See 16 U. S. C. § 1801(a)(6): “A national program for the conservation and man-
     agement of the fishery resources of the United States is necessary to prevent overfishing,
     to rebuild overfished stocks, to insure conservation, to facilitate long-term protection of
     essential fish habitats, and to realize the full potential of the Nation's fishery resources.” These
     statutes show little concern for any adverse impact of fishing on the environment or any need
     to make fishing environmentally safe.
          76 Pat Murray, Coastal Conservation Association Vice President & Director of Conserva-
     tion, Federal Fisheries Management 101 ( Jan./Feb. 2008), http://www.joincca.org/TIDE/
     101.html. This “bottom up” state-federal regulation of coastal fisheries came from the need for
     state fisheries to attempt to minimize federal mandates on state fisheries. See Daniel B.
     Rodriguez, The Role of Legal Innovation in Ecosystem Management: Perspectives from American Local
     Government Law, 24 Ecology L.Q. 745, 749 (1997).
Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 60 of 96




   446                             Environmental Affairs                                [Vol. 36:431

   historically not subjected to the mandates of state environmental review
   laws.77

   2. Federal Fishing Industry
        NMFS is the federal fishing agency.78 NMFS issues regulations to
   implement fisheries management plans and has enforcement authority
   in regard to fisheries regulations. It manages marine commercial fisher-
   ies principally under the terms of three federal statutes: (1) the
   Magnuson-Stevens Fisheries Management Conservation Act; (2) the
   Sustainable Fisheries Act; and (3) the Atlantic Coastal Fisheries Man-
   agement Act.
        The Magnuson-Stevens Fisheries Management Conservation Act
   (FMCA) regulates commercial fishing off the coast of the United States in
   the Urban Sea.79 The FMCA is the core law that defines NMFS’s pur- pose
   as an agency and lays out its duties.80 The FMCA regulates the tak-ing of
   fish populations or stocks within the Exclusive Economic Zone (EEZ) off
   the U.S. coast.81 It does this by establishing regional Fisheries
   Management Councils (FMCs) to develop Fisheries Management Plans
   (FMPs) for specific commercial fisheries.82 FMC members are required
   to be from state fishing agencies, the fishing industry, or regulated fish-
   ermen.83 In 2007, Congress reauthorized the FMCA with modifica-
   tions.84

        77 A case in point is the historical refusal of the Massachusetts Executive Office of En- ergy
   and Environmental Affairs (EOEEA) to review the licensing of commercial fishing for its
   impact on the environment under the Massachusetts Environmental Protection Act (MEPA).
        78 Reorganization Plan No. 4 of 1970, 3 C.F.R. 1075 (1970), reprinted as amended in 5
   U.S.C. app. at 648–50 (2006), and in 84 Stat. 2090–93 (1970). NMFS was established by
   Reorganization Plan No. 4 of 1970 which transferred the responsibilities of the former
   Department of Interior’s Bureau of Commercial Fisheries to it. Id.
        79 See Fisheries Conservation and Management Act of 1976, Pub. L. No. 94-265, 90 Stat.
   331 (codified as amended at 16 U.S.C. §§ 1801–1884, 1891–1891d (2006)).
        80 NOAA Fisheries Feature: Magnuson-Stevens Fishery Conservation and Management
   Act Reauthorized, http://www.nmfs.noaa.gov/msa2007/details.html (last visited Apr. 27,
   2009).
        81 16 U.S.C. § 1811(a). “As a steward, NOAA Fisheries Service conserves, protects, and
   manages living marine resources in a way that ensures their continuation as functioning
   components of marine ecosystems, affords economic opportunities, and enhances the quality
   of life for the American public.” Nat’l Oceanic & Atmospheric Admin. Fisheries Serv.,
   http://www.nmfs.noaa.gov (last visited Apr. 27, 2009) (emphasis added).
        82 See 16 U.S.C. §§ 1851–1853.
        83 See 16 U.S.C. § 1852(b)–(c).
        84 Magnuson-Stevens Fishery Conservation and Management Reauthorization Act of
   2006, Pub. L. No. 109–479, 120 Stat. 3575 (2007).
Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 61 of 96




     2009]    A New Paradigm for Conservation of Great Whales in the Urban Sea of the U.S. 447

          In 1995 Congress passed the Sustainable Fisheries Act (SFA)85 es-
     tablishing a mandate that marine fisheries be managed to ensure that
     they are sustainable and to assist in the recovery of depleted fisheries.86
     This Act is considered a part of the FMCA.87
          The Atlantic Coastal Fisheries Cooperative Management Act
     (ACFCMA)88 establishes an Atlantic States Marine Fisheries Commis-
     sion (ASMFC) in which each member state is represented by three
     commissioners along with a representative from NMFS.89 The Ameri-
     can lobster fishery is currently managed under the terms of a voluntary
     compact of fifteen Atlantic coastal states (from Maine to Florida) or-
     ganized under NMFS federal oversight pursuant to the ACFCMA.90
     Currently, NMFS has agreed to let the ASMFC and its member coastal
     states develop a uniform fisheries management plan for the American
     lobster fishery for these coastal state waters and for federal waters as
     well.91 NMFS then implements this plan under its federal management
     authority after a simple review.92 Individual states also may issue com-
     plementary public laws beyond the agreed upon base regulations.93 Gill
     nets, too, are a focus of the cooperative regulatory management by
     coastal states and NMFS pursuant to the ACFCMA, along with regula- tion
     of moving purse-seine techniques in modern otter trawl fishing.




           85 Pub. L. No. 104–297, 110 Stat. 3559 (1996) (codified in scattered sections of 16
      U.S.C.). See generally Nat’l Oceanic & Atmospheric Admin. Fisheries, Office of Sustainable
      Fisheries, Sustainable Fisheries Act, http://www.nmfs.noaa.gov/sfa/ (last visited Apr. 4, 2009)
     (providing information associated with the implementation of the Sustainable Fisheries Act).
           86 Nat’l Marine Fisheries Serv., U.S. Dep’t of Commerce, Implementing the Sus-
      tainable Fisheries Act: Achievements from 1996 to the Present 2 (2003), available at
     http://www.nmfs.noaa.gov/sfa/SFA-Report-FINAL7_1.pdf.
          87 See id.
          88 Pub. L. No. 103-206, 107 Stat. 2447 (1993) (codified as amended at 16 U.S.C.
     §§ 5101–5108(2006)).
          89 16 U.S.C. § 5102(3) (2006); Nat’l Oceanic & Atmospheric Admin. Fisheries, Office of
     Sustainable Fisheries, State-Federal Fisheries: The Atlantic Coastal Fisheries Cooperative Man-
     agement Act, http://www.nmfs.noaa.gov/sfa/state_federal/State-Federal-WEB/acfcmafs.htm
     (last visited Apr. 27, 2009).
          90 16 U.S.C. § 5101(4); Nat’l Oceanic & Atmospheric Admin. Fisheries, Office of Sus-
     tainable Fisheries, State-Federal Fisheries: Regulatory Activities, http://www.nmfs.noaa.
     gov/sfa/state_federal/regulatory_activities.htm (last visited Apr. 27, 2009).
          91 See 16 U.S.C. § 5104(a); Atlantic Coastal Fisheries Cooperative Management, 50
     C.F.R. pt. 697 (2008); State-Federal Fisheries: The Atlantic Coastal Fisheries Cooperative
     Management Act, supra note 89.
          92 16 U.S.C. § 5103(a); State-Federal Fisheries: The Atlantic Coastal Fisheries Coopera-
     tive Management Act, supra note 89.
          93 50 C.F.R. § 697.3(c) (2008).
Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 62 of 96




   448                             Environmental Affairs                              [Vol. 36:431

   3. Coastal States Fishing Industry
         Typical of state marine fisheries is the Massachusetts Division of
   Marine Fisheries (MDMF) that is overseen by the independent Massa-
   chusetts Marine Fisheries Advisory Commission (MMFAC).94 The mem-
   bers of the MMFAC are appointed by the governor and must be com-
   mercial fishermen, sport fishermen, or members of the marine fisheries
   industry.95 Interestingly, Massachusetts statutes include whales within
   the definition of “fish.”96 The MMFAC is vested with the sole authority to
   approve regulations proposed by the MDMF concerning the “mannerof
   taking fish” and fishing gear itself.97 This is thus a typical state ar-
   rangement by which the commercial fishing industry in effect regulates
   itself. The MMFAC is usually chaired by leaders of commercial fishing
   lobby groups.98
         The failure of state fishing agencies to adequately protect the pub-
   lic interest has on occasion caused various ocean user groups to seek
   protection for marine wildlife from the impact of commercial fishing.
   In 1994, Florida sports fishermen successfully promoted a measure to
   ban gill nets in Florida through a ballot referendum initiative approved
   by the voters.99 This led to a constitutional provision banning gill nets
   and other entangling nets from being used in Florida coastal waters,
   and was joined by similar bans in other states.100 The Florida law was
   challenged in court and was eventually upheld by the Florida District
   Court of Appeal for the First District.101




        94 Mass. Gen. Laws ch. 130, § 1B (2006); Mass. Div. of Marine Fisheries, Marine Fisheries
   Commission, http://www.mass.gov/dfwele/dmf/marinefisheriesnotices/mfcmeetings.htm#
   marincom (last visited Apr. 27, 2009).
        95 See Mass. Div. of Marine Fisheries, supra note 94.
        96 Mass. Gen. Laws ch. 130, § 1 (2006) (defining “[f]ish” as “any animal life inhabiting
   the ocean or its connecting waters including any crustacean or marine fish, whether free
   swimming or free moving, and any shellfish or sea worms, whether or not imbedded in the
   soil”).
        97 Mass. Gen. Laws ch. 130, § 17A(1) (2006).
        98 The current MFAC Vice-Chairman is Bill Adler, Executive Director of the Massachu-
   setts Lobstermen’s Association. See Marine Fisheries Commission, supra note 94.
        99 See Alexandra M. Renard, Will Florida’s New Net Ban Sink or Swim?: Exploring the Consti-
   tutional Challenges to State Marine Fishery Restrictions, 10 J. Land Use & Envtl. L. 273, 273– 75
   (1995).
        100 Fla. Const. art. X, § 16(b)(1) (stating “[n]o gill nets or other entangling nets shall
   be used in any Florida waters”); Renard, supra note 99, at 275 & n.7.
        101 Fla. Marine Fisheries Comm’n v. Pringle, 736 So. 2d 17, 23–24 (Fla. Dist. Ct. App.
   1999).
Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 63 of 96




     2009]    A New Paradigm for Conservation of Great Whales in the Urban Sea of the U.S. 449

     4. Effects and Causes of the Current Regulatory Framework
          The standard regulatory provisions affecting coastal fisheries focus
     in one form or other upon catch limitations.102 Limitations of catch have
     long been criticized as so permissive that they have allowed the
     destruction of many commercial species.103 Even where excessive catch
     rates clearly threaten the reproduction of future harvestable popula-
     tions, short-term pressures from the commercial industry regularly
     override scientific warnings.104
          The political forces behind commercial fishing come from a com-
     bination of an appealing public image and highly focused financial and
     lobbying efforts from the large commercial players. The characteristic
     political image typically is the small family fishing boat, and the need to
     save fishing families from economic disaster and harsh government
     regulation. The substantive political force comes from, and benefit ac-
     crues to, the large fishing companies that dominate the market. The
     result of the erosion of agency authority to conserve fisheries is that
     maximum sustainable yield has not been a possibility for decades.105 In
     this author’s opinion, if fishing agencies find it impracticable to enforce
     statutory mandates and adopt regulations directed at achieving maxi-
     mum sustainable long-term harvests—which support the true long-term
     interests of the industry and society—it is understandable that they have
     low motivation to enforce federal and state regulatory structures for
     protecting great whales from adverse industry-caused impacts.

                       B. Whale Conservation Laws: Federal and State
           Starting with the Whaling Convention Act (WCA) of 1949, whales
     have been subject to conservation and management laws in the United
     States.106 But it is important to note that these laws generally construed
     whales to be a “living marine resource” in terms applied to harvestable
     fish, and their conservation was intended at least originally to serve the

          102 See, e.g., 50 C.F.R. § 648.200–01 (2008).
          103 See Christopher Costello et al., Can Catch Shares Prevent Fisheries Collapse?, 321 Sci-
     ence 1678, 1678 (2008).
          104 See id.
          105 Maximum sustainable yield (MSY) is a management ideal and norm that on its terms
     defines a laudable sustainability objective: maintaining the maximum level of catch of a fish
     population in a year that can then be fully replaced by simple reproduction and growth each
     year. See 50 C.F.R. § 600.310(c)(1) (2008). Under current conditions fish populations cannot
     support anything approaching MSY.
          106 See Jordan Curnutt, Animals and the Law: A SourceBook 351 (2001) (discuss-
     ing the International Convention for the Regulation of Whaling).
Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 64 of 96




   450                           Environmental Affairs                           [Vol. 36:431

   purpose of ensuring future supplies for commercial whale harvest-
   ing.107 Even today the great whales are for all intents and purposes le-
   gally lumped together with fish. As noted supra, whales are defined as
   fish by Massachusetts statute and, like fish, are protected under fisher-
   ies’ living resource rules.108 The protection of great whales is thus as-
   signed to fisheries agencies internally committed to supporting and
   encouraging the commercial catch, a classic problem of foxes guarding
   the chicken coop.

   1. Whaling Convention Act
        Protection for great whales was first specifically legislated in mod-
   ern times by the International Convention for the Regulation of Whal-
   ing (1946), signed by all the whaling nations, establishing the Interna-
   tional Whaling Commission (IWC).109 The Whaling Convention Act
   (WCA) was adopted by Congress in 1949 to implement the treaty.110
   The original motivation for the IWC was utilitarian: to preserve whales
   for future commercial harvesting: for whaling.111 The duality of in-
   tent—on one hand to “protect” the whales and on the other hand to
   ensure the opportunity for commercial harvest of whales—has often
   been cited as a problematic conflict in the managed exploitation of
   natural resources.112 This purpose of management was the unabated
   practice of the IWC for the three decades following the WCA adop-
   tion.113 Reflective of this, the Department of the Interior assigned man-
   agement responsibilities under the WCA to the Bureau of Commercial
   Fisheries (BCF). As its name implied, the BCF was designed to encour-
   age the commercial fishing industry, and did little or nothing to change
   its practices in order to meet mandates imposed on it to con- serve
   threatened marine mammals.



        107 Id. at 351–52 (discussing the International Convention for the Regulation of Whal-
   ing).
        108 See Mass. Gen. Laws ch. 130, § 1 (2006).
        109 International Convention for the Regulation of Whaling, Dec. 2, 1946, 62 Stat.
   1716, 161 U.N.T.S. 72.
        110 The Whaling Convention Act of 1949, Pub. L. No. 81-676, 64 Stat. 421 (1950)
   (codified as amended at 16 U.S.C. §§ 916–916l (2006)).
        111 Andresen, supra note 26, at 109.
        112 Id. “The duality of purposes reflected in the 1946 Convention, conservation of the
   living resource and the ‘development’ of the industry that exploits it, resulted in a long
   history of decisions sacrificing the former objective for the attainment of the latter.” Mi-
   chael J. Bean, The Evolution of National Wildlife Law 263 (1983).
        113 See Andresen, supra note 111, at 109–10.
Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 65 of 96




     2009]   A New Paradigm for Conservation of Great Whales in the Urban Sea of the U.S. 451

          Predictably, whale populations continued to crash from over-
     exploitation.114 In 1972, the United States signed on to the United Na-
     tions Conference on the Human Environment (the Stockholm Declara-
     tion) that called for a ten-year moratorium on hunting of great
     whales.115 The IWC voted a ten-year moratorium on whaling into effect
     in 1982 to begin in 1986.116 Japan refused to comply with the morato-
     rium at first, but eventually brokered a deal with the United States to
     support the moratorium starting in 1988 in exchange for non-
     enforcement of potential sanctions imposed against its other fisher-
     ies.117

     2. The Endangered Species Conservation Act of 1969
          The great whales were first listed as endangered species pursuant
     to the Endangered Species Conservation Act of 1969.118 This 1969 pre-
     cursor to the ESA, however, had little or no enforceable federal protec-
     tions for the species that were listed as endangered.119

     3. Reorganization Plan No. 4 of 1970 and the Formation of the
        National Oceanic and Atmospheric Administration
          Reorganization Plan No. 4 of 1970 (RPN-4) created the National
     Oceanic and Atmospheric Administration (NOAA).120 It also trans-
     ferred all duties and staff from the BCF—including whaling manage-
     ment responsibility—to the Commerce Department, which delegated it
     to NOAA.121 NMFS was created as the agency within NOAA into which



         114 See id.
         115 U.N. Conference on the Human Environment, June 5–16, 1972, Declaration of the
     U.N. Conference on the Human Environment, U.N. Doc A/CONF.48/14 ( June 16, 1972).
         116 Curnutt, supra note 106, at 352.
         117 See Japan Whaling Ass'n v. Cetacean Soc'y, 478 U.S. 221, 227–28 fn.1 (1986).
         118 Endangered Species Conservation Act of 1969, Pub. L. No. 91-135, § 1(c), 83 Stat.
     275 (codified as amended in scattered sections of 16 U.S.C.) (granting to Secretary of the
     Interior the power to list endangered species); see List of Endangered Foreign Fish and
     Wildlife, 35 Fed. Reg. 18,319, 18,320 (Dec. 2, 1970) (codified as amended at 50 C.F.R.
     § 17.11(2008)).
         119 Sections 2 and 4 provide for listing of endangered species but do not provide for
     protective measures beyond habitat conservation. See Endangered Species Conservation Act
     of 1969 §§ 2, 4. Furthermore, the Act authorized penalties in the form of fines of up to
     $5000 or imprisonment for not more than one year. See id. § 4(b).
         120 Reorganization Plan No. 4 of 1970 § 2, 3 C.F.R. § 1075 (1966–1970), reprinted as
     amended in 5 U.S.C. app. at 648–50 (2006), and in 84 Stat. 2090 (1970).
         121 See id. at § 1(a), reprinted in 84 Stat. at 2090.
Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 66 of 96




   452                          Environmental Affairs                           [Vol. 36:431

   the former BCF was folded.122 The current core duty of NMFS is to
   promote, license, and regulate commercial fishing under the Fisheries
   Management and Conservation Act mandated by law to strive to obtain
   Maximum Sustainable Yields (MSY) of harvested fish.123
         There was no mandate under RPN-4 to assign management au-
   thority for whales to NMFS. RPN-4 only directed that BCF duties were
   to be placed with the broad umbrella agency, NOAA, and not specifi- cally
   to the fishing agency, NMFS.124 NOAA was and remains free to assign
   the responsibility for conserving and protecting great whales to any of
   its sub-agencies. This author believes responsibility for whale
   conservation could have been assigned to far better alternate agencies,
   like NOAA’s National Ocean Service. The decision to place whales with
   NMFS reflects the concept by which whales are construed as “fish” and
   “living marine resources” under federal law. Even though this transfer
   was made before the adoption of the Marine Mammal Protection Act
   (MMPA)125 and the Endangered Species Act (ESA),126 it defined the
   subsequent core status of whales under federal law as that of exploit-
   able resources even under the MMPA and ESA.

   4. The Marine Mammal Protection Act of 1972
        The 1940s regulatory approach—justifying conservation measures
   for whales in order to enable a sustained future commercial harvest of
   whales—was similarly echoed in a subsequent major piece of statutory
   protection for whales, the Marine Mammal Protection Act of 1972
   (MMPA).127 The MMPA declared a moratorium on the harvesting of
   marine mammals in order to build up their remaining depleted popu-
   lations.128 This moratorium was to be enforced within the nation’s 200-
   mile EEZ.129 The text of the MMPA expresses concerns about the
   harming of marine mammals by the commercial fishing industry, but
   its provisions are quite lenient toward fishermen and explicitly limit the


        122 John A. Guinan & Ralph E. Curtis, Nat’l Oceanic & Atmospheric Admin., A
   Century of Conservation (Apr. 1971), available at http://www.nefsc.noaa.gov/history/
   stories/century.html.
        123 See id.; Nat’l Oceanic & Atmospheric Admin., About National Marine Fisheries Ser-
   vice, http://www.nmfs.noaa.gov/aboutus.htm (last visited Apr. 1, 2009).
        124 See Reorganization Plan No. 4 of 1970, at § 1(d), reprinted in 84 Stat. at 2090.
        125 16 U.S.C. §§ 1361–1423h (2006).
        126 16 U.S.C. §§ 1531–1544 (2006).
        127 See 16 U.S.C. § 1361.
        128 See id. § 1371.
        129 Id. § 1362(15)(B).
Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 67 of 96




     2009] A New Paradigm for Conservation of Great Whales in the Urban Sea of the U.S. 453

     protection of whales from incidental takings from commercial fish-
     ing.130
           The MMPA designated NOAA as its defined oversight agency, and
     NOAA assigned this responsibility to NMFS, perpetuating the con- flicted
     status of whales.131 American fishermen generally do not hunt whales
     or other marine mammals, but do recognize MMPA protections as a
     serious potential limitation upon commercial fishing.132 Minimiz- ing
     the MMPA’s constraints on commercial fishing appears to have en-
     couraged a de facto operating policy of NMFS to treat collateral entan-
     glement of great whales as a problem, but not as an object of enforced
     prohibitions under the MMPA.133
           Sections 117 and 118 of the MMPA’s 1994 amendments adopted a
     detailed regime for dealing with the problem of marine mammal en-
     tanglement and entrapment by commercial fishing practices.134 They
     set as a goal that NMFS eliminate the entanglement problem by April
     2001.135 Section 117 of the MMPA requires that NMFS annually assess
     and produce a stock assessment report (SAR) on known incidents of
     killings and serious injury to specific populations of marine mammals
     from entanglement.136 Section 118 requires that NMFS publish an an-
     nual list of fisheries (LOF) categorizing fisheries that cause entangle-
     ments into one of three named categories based on the incidents of
     killing and serious injury (IKSI) inflicted on a marine mammal popula-



          130 See id. § 1371; see also Eugene H. Buck, CRS Report for Congress: Marine Mam-
     mal Protection Act Amendments of 1994, 94-751 ENR (1994), available at http://ncse
     online.org/NLE/CRSreports/Biodiversity/biodv-11.cfm (implying that the 1994 Amend-
     ments to the to the MMPA exempt commercial fishermen from the purview of the statute
     by implicitly characterizing fishing gear entanglements as incidental takings).
          131 See 16 U.S.C. § 1362(12)(A)(i).
          132 See id. § 1371(a)(2) (noting that permits can be obtained for incidental takings of
     marine mammals in the course of commercial fishing); see also Philippe Sands, Princi-
     ples of International Environmental Law 954 (2d ed. 2003) (highlighting the impact
     that the MMPA has on the tuna fishing industry).
          133 See 16 U.S.C. § 1371(a)(2) (indicating incidental takings can be permitted under
     section 1374 of the Act). But see George A. Feldhammer et al., Wild Mammals of
     North America: Biology, Management, and Conservation 442 (2d ed. 2003) (noting
     that the NMFS is under pressure to reduce takings of whales due to ship strikes and entan-
     glements and thus has proposed regulations known as recovery plans to ensure the sur-
     vival and success of whales).
          134 See Marine Mammal Protection Act Amendments of 1994, Pub. L. No 103-238, secs.
     10–11, 108 Stat. 532, 543–57 (codified as amended at 16 U.S.C. §§ 1386–1387) (adding
     sections 117 and 118 to the MMPA).
          135 See 16 U.S.C. § 1387(b)(1).
          136 See id. § 1386.
Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 68 of 96




   454                             Environmental Affairs                                [Vol. 36:431

   tion by entanglements.137 This category scheme also incorporates Take
   Reduction Plans (TRP) that have the goal of reducing incidental kill- ings
   and serious injuries below the potential biological removal (PBR) level
   set for the stock pursuant to Section 117.138 Fixed gear fisheries inthe
   northeastern U.S. have been designated as Category I fisheries and thus
   the highest risk of IKSI to great whales.139 To assist NMFS, section118
   allows the Secretary of Commerce, acting through a relevant office, to
   designate a Take Reduction Team (TRT) as an advisory group assist- ing
   in the preparation of a TRP to specify how reduction in entangle- ments
   shall be achieved.140 Emergency regulations to implement the TRP were
   to be promulgated as soon as feasible.141
        This author believes the 1994 MMPA amendments eliminated in-
   centives for the commercial fishing industry to come up with ways to
   eliminate bycatch of whales on its own, instead passing the political
   burden of the bycatch problem to NMFS. In place of the lost prohibi-
   tions, NMFS set out the detailed regime, described supra, aimed at re-
   ducing serious entanglements to near zero by April 2001. Obviously,
   NMFS has failed to meet this mandate, as whale entanglements did not
   stop in 2001, and have at times exceeded 2001 levels.142 Unsurprisingly,
   there is a correlation between assigning sole responsibility to the NMFS
   for whale entanglements and a number of takes that exceeds the PBR.143


        137 See id. § 1387(d)(4); see also Authorization for Commercial Fisheries Under the Ma-
   rine Mammal Protection Act of 1972, 50 C.F.R. § 229.2 (2008) (defining the categories of
   fisheries under the Act).
        138 See § 1386(f); 50 C.F.R. § 229.2. The potential biological removal level is defined in the
   Code of Federal Regulations as “the maximum number of animals, not including natu- ral
   mortalities, that may be removed from a marine mammal stock while allowing thatstock to
   reach or maintain its optimum sustainable population.” 50 C.F.R. § 229.2. Further, “[t]he
   potential biological removal level is the product of the following factors: (1) The minimum
   population estimate of the stock; (2) One-half the maximum theoretical or es- timated net
   productivity rate of the stock at a small population size; and (3) A recovery factor of
   between 0.1 and 1.0.” Id.
        139 See List of Fisheries for 2009, 73 Fed. Reg. 73,032, 73,066 (Dec. 1, 2008) (to be codi-
   fied at 50 C.F.R. pt. 229).
        140 See 16 U.S.C. § 1387(f).
        141 50 C.F.R. § 229.9(a)(2).
        142 See Misty Nelson et al., Northeast Fisheries Sci. Ctr. Reference Doc. 07-05,
   Mortality and Serious Injury Determinations for Baleen Whale Stocks Along the
   United States Eastern Seaboard and Adjacent Canadian Maritimes, 2001–2005, 7 tbl.1
   (2007), available at http://www.nefsc.noaa.gov/nefsc/publications/crd/crd0705/crd
   0705.pdf.
        143 See Andrew J. Read & Paul R. Wade, Review: Status of Marine Mammals in the United
   States, 14 Conservation Biology 929, 931–33 (2000).
Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 69 of 96




     2009]     A New Paradigm for Conservation of Great Whales in the Urban Sea of the U.S. 455

     5. The Pelly Amendment to the Fishermen’s Protective Act of 1967 and
        the 1979 Packwood Amendment to the Fisheries Management and
        Conservation Act
          These acts, often referred to together as “Pelly-Packwood,” imposed
     a “restriction on importation of fishery or wildlife products from coun-
     tries which violate international fishery or endangered or threatened
     species programs.”144 The Supreme Court ruling in Japanese Whaling
     Association v. American Cetacean Society, however, allowed the executive
     branch broad discretion in deciding whether to trigger such trade re-
     strictions, further undercutting citizen attempts to compel the imposi-
     tion of authorized sanctions.145

     6. The Marine Mammal Commission
          The Marine Mammal Commission (MMC) is an independent fed-
     eral commission established by statute146 to be the federal govern-
     ment’s main advisor on marine mammal issues, and in the author’s
     opinion is the agency that should be assigned the federal management
     role for great whales in any future redesign of whale conservation pol-
     icy. The MMC’s enabling statute requires that its commissioners must
     be persons “who are not in a position to profit from the taking of ma- rine
     mammals,” recognizing the inherent compromising influence of vested
     interests in the field.147 The MMC has compiled an impressive record in
     assuming leadership for government action on the conserva- tion of
     marine mammals, having recommended significant conserva- tion
     actions for marine mammals, but it has been delegated no substan-tive
     regulatory powers.148

     7. The Endangered Species Act of 1973
          The Endangered Species Act of 1973 (ESA) replaced and built sig-
     nificantly on Congress’s original endangered species legislation.149 Two

          144 22 U.S.C. § 1978 (2006).
          145 See 478 U.S. 221, 231–41 (1986) (noting that as long as the Secretary’s interpreta- tion
     and application of the Pelly-Packwood Amendments were reasonable, they would receive
     deference from the courts).
          146 Marine Mammal Commission, 16 U.S.C. §§ 1401–1407 (2006).
          147 See id. § 1401(b)(1).
          148 See id. § 1402(a); see also Marine Mammal Commission, Annual Reports, http://www.
     mmc.gov/reports/annual/ (last visited Apr. 27, 2009).
          149 See U.S. Fish and Wildlife Service, Endangered Species Program, History and Evo-
     lution of the Endangered Species Act of 1973 (2008), http://www.fws.gov/endangered/
     esasum.html (last visited Apr. 27, 2009).
Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 70 of 96




   456                             Environmental Affairs                              [Vol. 36:431

   improvements to the original 1966 legislation and the 1969 amend-
   ments were sections 7 and 9 of the ESA.150 Section 7 of the Act provides
   that, absent an exemption from the Secretary of the Interior, all “Fed-
   eral agenc[ies] shall . . . insure that any [authorized] action . . . is not likely
   to jeopardize the continued existence of any endangered species or
   threatened species or result in the destruction or adverse modifica- tion
   of habitat of such species        ”151 Further, section 9 of the ESA “ap-
   plied broad ‘take’ prohibitions to all endangered animal species and
   allowed the prohibitions to apply to threatened animal species by special
   regulation.”152
        There are serious problems with the functionality of the improved
   ESA, however, in that it does not effectively establish an agency to over-
   see implementation of section 7 reviews, to enforce section 9 prohibi-
   tions, and otherwise oversee compliance by other government agencies
   with mandatory and nondiscretionary ESA duties. These statutory
   functions are largely left to the vagaries of citizen enforcement.153
        Section 9 also suffers from not including an explicitly stated pro-
   hibition against individuals conducting “activities” that take endan-
   gered wildlife, as well as on such activities themselves.154 Based on the
   wording of the ESA text and existing case law, section 9 prohibitions
   clearly apply when a person engages in an activity that actually causes a
   prohibited taking.155 Unfortunately, section 9 does not prohibit a fish-
   erman’s actual deployment of types of fishing gear known to entangle
   whales (for example, fixed gear) in the absence of a specific entangle-
   ment.156 The current need under section 9 jurisprudence to prove that
   each person out of thousands doing the same thing will “actually” on
   his own kill an animal—whether it be a lumberman cutting trees where
   endangered birds live or a fisherman using vertical buoy lines in Cape
   Cod Bay—in order to enforce section 9 prohibitions against him per-
   sonally is enough to block the effective injunctive protection of great
   whales at the present time.157


        150 See id.
        151 16 U.S.C. § 1536(a)(2) (2006).
        152 U.S. Fish and Wildlife Service, supra note 149; see 16 U.S.C. § 1538(a), (g).
        153 See 16 U.S.C. § 1540(g).
        154 See id. § 1538.
        155 See id.
        156 See id.; see also Am. Bald Eagle v. Bhatti, 9 F.3d 163, 165–67 (1st Cir. 1993) (indicat-
   ing that takings must be intentional or cause actual harm); 50 C.F.R. § 17.3 (2007) (defin-
   ing the term “taking” in the context of the ESA).
        157 See 16 U.S.C. § 1538; Am. Bald Eagle, 9 F.3d at 163; 50 C.F.R. § 17.3.
Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 71 of 96




     2009]    A New Paradigm for Conservation of Great Whales in the Urban Sea of the U.S. 457

     8. International Convention for the Prevention of Pollution from
        Ships: MARPOL 73/78.
          The MARPOL Convention was incorporated into U.S. law by the
     federal Act to Prevent Pollution from Ships (APPS).158 The statute de-
     fined derelict fishing gear as “pollution” and bans it.159

     9. State Conservation Programs for Whales
           Currently, there is a lack of cooperation between states and the
     federal government regarding endangered species and state participa-
     tion generally.160 Some states have adopted their own endangered spe-
     cies acts.161 However, such state laws can be preempted by the federal
     ESA if they are determined to be more lax than the federal law.162 States,
     like the federal government, often divide wildlife agencies into land-
     based and marine-based agencies. State marine fisheries agencies
     historically focused only on commercial fishing, disregarding protec-
     tions for whales, marine mammals, and sea birds as a job for the land-
     based wildlife state agencies assigned the role of protecting all state
     wildlife as protected species. However—perhaps because entangle-
     ments of endangered marine mammals now are recognized as posing
     an increasing potential for limitations upon commercial fishing—there
     is a current move for state marine fishing agencies to take over endan-
     gered species jurisdiction as applied to endangered marine wildlife,
     contradicting the terms of relevant state statutes.163


          158 Act to Prevent Pollution from Ships, 33 U.S.C. §§ 1901–1915 (2006); see also Bruce
     S. Manheim, Annex V of the MARPOL Convention: Will It Stop Marine Plastic Pollution?, 1 Geo.
     Int’l Envtl. L. Rev. 71, 72 (1988).
          159 See Comm. on the Effectiveness of Int’l and Nat’l Measures to Prevent and
     Reduce Marine Debris and Its Impacts, Nat’l Research Council of the Nat’l
     Acads., Tackling Marine Debris in the 21st Century 90 (2008).
          160 See Robert L. Fischman & Jaelith Hall-Rivera, A Lesson for Conservation from Pollution
     Control Law: Cooperative Federalism for Recovery Under the Endangered Species Act, 27 Colum. J.
     Envtl. L. 45, 78–81 (2002); James M. Taylor, Governors Call for Endangered Species Act Reform,
     Env’t & Climate News, May 1, 2004, http://www.heartland.org/policybot/results/14867/
     Governors_Call_for_Endangered_Species_Act_Reform.html.
          161 See, e.g., The Massachusetts Endangered Species Act, Mass. Gen. Laws ch. 131A
     (2006).
          162 See Fischman & Hall-Rivera, supra note 160, at 80.
          163 In 1993 the MDMF forced the Massachusetts Division of Fish and Wildlife, the proper
     endangered species agency, to sign a memorandum of understanding ceding man- agement
     and lead agency responsibility for whales in state waters to it. The MDFW and its Natural
     Heritage and Endangered Species Program (NHESP) are imbued by the Massa- chusetts
     Endangered Species Act (MESA) with responsibility for all state protected endan- gered
     species—including whales. Because of the 1993 MOU, great whales in Massachusetts
Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 72 of 96




   458                             Environmental Affairs                                [Vol. 36:431

         C. The Entanglement Problem—Regulatory Efforts by Fishing Agencies
        Prior to the 1994 amendments to the MMPA, NMFS and state ma-
   rine fishing agencies largely ignored the problem of the entanglement
   of great whales in fishing gear. To a substantial extent, NMFS also tended
   to ignore the ESA in regards to endangered great whales until lawsuits
   coerced it to do otherwise.164 At present, there is no currently active
   NMFS-appointed ESA recovery team for any endangered spe- cies—
   including the great whale species—and no significantly funded recovery
   program, except for the North Atlantic right whale recovery program.
   NMFS prefers to address protection for great whales under the more
   lenient terms of the MMPA, which treats marine mammals asa “living
   resource” to be managed like fish stocks, is industry-tolerant, does not
   directly prohibit entanglement of great whales, and does not allow
   citizen enforcement of its rules.165

   1. Federal Regulation of Fisheries to Reduce Entanglement
        Federal and state regulatory attention to the great whale entan-
   glement problem of can be attributed to two linked elements: (1) the
   passage of the 1994 amendments to the MMPA, which at least adverted
   to the problem; and (2) the commencement of two citizen lawsuits:
   one against the United States Coast Guard and NMFS—Strahan v.
   Linnon166—and the other against the Massachusetts Division of Marine
   Fisheries (MDMF)—Strahan v. Coxe.167 The lawsuits were precipitated
   by the failure of NMFS to take appropriate actions to assemble the re-
   quired MMPA Take Reduction Team (TRT) for the great whales or

   coastal waters were effectively removed from any protection by MESA. The author is aware
   of no provision of the MESA or law that supports the 1993 MOU. It remains in effect to
   the present day.
        164 The list of private action ESA and MMPA enforcement cases for whales is large. See,
   e.g., Defenders of Wildlife v. Gutierrez, 532 F.3d 913 (D.C. Cir. 2008); Natural Res. Def.
   Council, Inc. v. Winter, 518 F.3d 658 (9th Cir. 2008); Vill. of False Pass v. Clark, 733 F.2d
   605 (9th Cir. 1984); Ocean Mammal Inst. v. Gates, 546 F. Supp. 2d 960 (D. Haw. 2008);
   Natural Res. Def. Council, Inc. v. Evans, 232 F. Supp. 2d 1003 (N.D. Cal. 2002).
        165 Unlike most environmental statutes, the MMPA does not include a citizen standing
   enforcement provision. 16 U.S.C. § 1377 (stating “[e]xcept as otherwise provided in this
   subchapter, the Secretary shall enforce the provisions of this subchapter”); Strahan v. Coxe,
   127 F.3d 155, 160 (1st Cir. 1997).
        166 967 F. Supp. 581 (D. Mass. 1997); see also Amber Shell Ward, Casenote, Strahan v.
   Linnon: A Missed Opportunity for Testing the Use of Section 7(a)(1) as an Action-Forcing Provision,
   4 Ocean & Coastal L.J. 311 (1999).
        167 Strahan v. Coxe, 127 F.3d 155, 160 (1st Cir. 1997); see also Susan Gray, Recent De-
   velopment, Strahan v. Coxe: Massachusetts’s Issuance of Commercial Fishing Permits Constitutes
   a Violation of the Endangered Species Act, 6 U. Balt. J. Envtl. L. 260 (1997–1998).
Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 73 of 96




     2009] A New Paradigm for Conservation of Great Whales in the Urban Sea of the U.S. 459

     make the necessary formal List of Fisheries (LOF) determinations re-
     quired by the MMPA’s 1994 amendments.
          Linnon addressed incidents of Coast Guard boats killing and injur-
     ing right whales,168 and prompted NMFS to establish a Large Whale
     TRT.169 The suit also prompted NMFS to agree to classify inshore and
     offshore lobster fisheries as Category I in its first published LOF.170 The
     Linnon suit also led NMFS to adopt of a rule requiring a 500-yard dis-
     tance separation between whales and boats.171
          In 1999, NMFS adopted its first version of its Atlantic Large Whale
     Take Reduction Plan (ALWTRP) for the great whales in the United States
     Urban Sea of the North Atlantic.172 The 1999 ALWTRP stated its long-
     term goal was to reduce entanglement-related injuries and mor- talities
     to right, fin, humpback, sei, and minke whales.173 However, in practice,
     NMFS focused its efforts almost exclusively on the right whale,in effect
     creating, in this author’s opinion, a non-statutory requirement that a
     species be facing imminent extinction in order to be the benefi- ciary of
     any government efforts to stop their killing in fishing gear or by ship
     strikes.174
          Further entanglements after the publication of the 1999 ALWTRP
     prompted NMFS to mandate gear modifications, such as the use of weak-
     link buoy lines, as well as seasonal area restrictions.175 These measures
     subsequently proved to be ineffective.176 This author main- tains that
     the required break-away link technology had never beentested in the
     field and the required seasonal area restrictions also of- fered no proven
     track record for anyone to expect it to work. Other vertical buoy line
     mitigation proposals calling for electronically re-


          168 967 F. Supp. at 589.
          169 Id.
          170 Id.
          171 Id.; North Atlantic Right Whale Protection, 62 Fed. Reg. 6729 (Feb. 13, 1997)
     (codified at 50 C.F.R. pts. 217, 222).
          172 See Taking of Marine Mammals Incidental to Commercial Fishing Operations; At-
     lantic Large Whale Take Reduction Plan Regulations, 64 Fed. Reg. 7529 (Feb. 16, 1999)
     (codified at 50 C.F.R. pt. 229).
          173 Id. at 7531.
          174 For example, the 1999 ALWTRP only requires gear marking of lobster and gillnet gear
     in “right whale critical habitat, in the southeast observer area and on Stellwagen Bank and
     Jeffreys Ledge in the Gulf of Maine.” Id. at 7533.
          175 Atlantic Large Whale Take Reduction Plan Regulations, 65 Fed. Reg. 80,368,
     80,368, 80,374–75 (Dec. 21, 2001) (codified at 50 C.F.R. pt. 229).
          176 The entanglement of a right whale in July 2001 in gear with the “weak link” modifi-
     cations spurred NMFS to propose further alterations. Atlantic Large Whale Take Reduc-
     tion Plan Regulations, 66 Fed. Reg. 49,896, 49,899 (Oct. 1, 2001).
Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 74 of 96




   460                           Environmental Affairs                            [Vol. 36:431

   leased buoy assemblies on the sea floor have yet to go beyond the wish-
   ful-thinking phase.177
        In its 2007 amendment to its ALWTRP,178 NMFS did not explore
   other practical alternative approaches to resolving the vertical buoy line
   threat—stiffened vertical lines that cannot entangle, or substantial re-
   duction in numbers or locations of deployment of fishing gear sets that
   would mitigate the threat.179 Instead, NMFS adopted a more lenient
   Massachusetts-type approach, directing that licensed fisheries use sink-
   ing ground-line as the sole means to reduce entanglement risk.180 NMFS
   also abandoned a useful previous requirement—the Dynamic Area
   Management (DAM) and Seasonal Area Management (SAM) policies181
   that limited placement of fixed gear near some of the places where right
   whales are known to aggregate. The sole justification for the 2007
   ALWTRP sinking ground-line requirement, beyond its simplicity of
   adoption, was a theory devoid of empirical evidence for its support—
   that nonsinking ground-line is the most significant source of right whale
   entanglement. NMFS asserted, despite a lack of evidence, that requiring
   widespread use of sinking ground-line would substantially reduce the
   threat to Right Whales of entanglement by lobster pot gear sufficiently
   to comply with the MMPA and ESA. The 2007 ALWTRP stated it would



        177 Pop-up buoys are not commercially available and exist only as unproven experi-
   mental technology.
        178 Atlantic Large Whale Take Reduction Plan Regulations, 72 Fed. Reg. 57,104, 57,105–
   06 (Oct. 5, 2007) (to be codified at 50 C.F.R. pts. 229, 635, 648). The 2007 amendment to the
   ALWTRP was advanced because of the continuing killing and injuring of right whales under
   the regime of the 2005 ALWTRP in Fixed Gear. See id. at 57,104.
        179 See id. at 57,106 (only requiring weak links on buoy lines).
        180 See id.
        181 Id. at 57,105–06. Dynamic Area Management (DAM) is a management strategy to
   declare an emergency zone around a recent aggregation of right whales and to impose for
   a stated temporary period of time in the declared DAM area further restrictions on fixed
   fishing gear. Atlantic Large Whale Take Reduction Plan Regulations, 67 Fed. Reg. 1133, 1134–
   35 ( Jan. 9, 2002). See generally Phillip J. Clapham & Richard M. Pace, Northeast
   Fisheries Sci. Ctr. Reference Doc. 01-06, Defining Triggers for Temporary Area
   Closures to Protect Right Whales from Entanglements: Issues and Options
   (2001) (discussing triggers for DAM). Seasonal Area Management (SAM) is a management
   strategy to declare a seasonal zone around areas where aggregation of right whales are
   seasonally expected, and to impose for a stated period of time each year further restric-
   tions on fixed fishing gear in the SAM area. Atlantic Large Whale Take Reduction Plan
   Regulations, 67 Fed. Reg. 1142, 1150 ( Jan. 9, 2002); see Richard L. Merrick et al.,
   Northeast Fisheries Sci. Ctr. Reference Doc. 01-14, Identification of Seasonal
   Area Management Zones for North Atlantic Right Whale Conservation, at v
   (2001).
Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 75 of 96




     2009] A New Paradigm for Conservation of Great Whales in the Urban Sea of the U.S. 461

     postpone consideration of the proven threat posed by vertical buoy lines
     to an indefinite “future date.”182
          NMFS’s current de facto policy of refusing to enforce ESA section
     9 prohibitions to prevent entanglements of great whales practically dis-
     courages the innovation and adoption of whale-safe fishing technology.
     NMFS has also chosen to oppose private enforcement actions against the
     industry and to assist fishermen in winning these lawsuits.183 De- spite
     the large number of incidents where whales have been injured or killed
     by vertical buoy lines and the fact that in many entanglement events the
     removed gear had tags on it identifying the owner, NMFS has never
     prosecuted a fisherman for an entanglement of a great whale under the
     ESA or MMPA. In 1997, the First Circuit Court of Appealsheld in
     Strahan v. Coxe that entanglements are prohibited ESA tak- ings.184 In
     response, however, NMFS adopted a policy not to enforce the section 9
     take prohibitions, instead treating whale entanglement as a regulatory
     problem to be handled under the agency’s commercial fishing regulatory
     program. In so doing, NMFS’s refusal to prosecute any fisherman
     whose fishing gear entangles endangered whales applies even when
     fishermen explicitly acknowledge that their gear entangled a specific
     whale.185 The author concludes that by its avoidance of prose-


         182 Atlantic Large Whale Take Reduction Plan Regulations, 72 Fed. Reg. 57,104, 57,117
     (Oct. 5, 2007) (to be codified at 50 C.F.R. pts. 229, 635, 648) (“[T]he DEIS includes a dis-
     cussion of vertical lines. Specifically, the DEIS notes that further risk reduction to address risk
     associated with vertical line will occur through a future rulemaking action due to the need for
     additional information and discussions to develop comprehensive and effective management
     measures.”).
         183 NMFS refused to comply with—and sought to quash—all subpoenas that the au-thor
     served on it to reveal the names of commercial fishermen whose fishing gear entan- gled a
     great whale. The Center for Coastal Studies—who is contracted to perform great whale
     disentanglement—also refuses to reveal the identity of the fishermen who own the fishing
     gear that it removes from entangled great whales.
         184 See Strahan v. Coxe, 939 F. Supp. 963, 984 (D. Mass. 1996); see also Strahan v.
     Holmes, No. 07-10359-NMG, slip op. at 7 (D. Mass. filed Jan. 30, 2009).
            Although the whale . . . was later disentangled from the gear stuck in its ba-
            leen, it was “taken captive” by Holmes’s gear for at least some period of time.
            Therefore, the Court concludes that Holmes violated Section 9 of
            the ESA when the humpback whale became entangled, and hence “taken,” in
            his lobster gear. The fact that the taking was accidental is irrelevant.
     Id. See also Greenpeace Found. v. Mineta, 122 F. Supp. 2d 1123, 1136 (D. Haw. 2000) (find- ing
     accidental takes of monk seals to be takes, nonetheless).
          185 For example, attorney Deirdre Casey from the civil enforcement section of NOAA’s
     Office of General Counsel for Enforcement and Litigation (GCEL) in Gloucester, MA stated
     in 2008 that fishermen should not be prosecuted for entangling whales because they are
     under license by NMFS and a whale entanglement is incidental to NMFS’s licensing
Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 76 of 96




   462                             Environmental Affairs                              [Vol. 36:431

   cutions, NMFS has simply chosen to ignore the ESA statutory prohibi-
   tions and its statutory responsibilities to enforce them.
         NMFS has a specialized ESA office distinct from its MMPA of-
   fice.186 NMFS, however, removed great whales from the jurisdiction of
   its internal ESA enforcement division and placed them exclusively un-
   der the jurisdiction of the office vested with the more lenient require-
   ments of the MMPA, which refuses to prosecute fisherman under ESA
   section 9 for entangling great whales, or to require ESA compliance by
   state licensing agencies. The court in Coxe required Massachusetts to
   apply to NMFS for an incidental take permit (ITP) for the right whale.187
   NMFS, however, has refused to process the resultant applica-tion and
   has yet to ask any state marine fishing agency to apply for an ITP for
   whales under section 10 of the ESA to manage fisheries incompliance
   with section 9’s take prohibitions.
         A recent example of such agency avoidance is NMFS’s refusal to
   prosecute a fisherman who admitted to NMFS employees that he owned
   and had placed the fishing gear removed from an entangled humpback
   whale in August, 2006.188 The removed gear had his name and permit
   number on it. NMFS investigators declined, however, to refer the
   fisherman and the entanglement incident to its civil or crimi- nal
   enforcement offices for consideration of possible prosecution and


   and regulating of their fishing. Telephone Interview with Deirdre Casey, Attorney in Office
   of General Counsel for Enforcement and Litigation, NOAA (Dec. 8, 2008).
        186 See Office of Protected Fisheries, National Marine Fisheries Service, About the Of- fice
   of Protected Fisheries, http://www.nmfs.noaa.gov/pr/about (last visited Apr. 27, 2009). Sea
   turtles, for example, are handled by its ESA office, which has actively applied section 9 against
   a state fishery agency regarding turtle entanglement in state-licensed fishing gear. NMFS has
   issued an ESA section 10 incidental take permit—NMFS ITP #1325—to the state of North
   Carolina Division of Marine Fisheries for the entanglement of endangered species of sea
   turtles in the fishing trawls it licenses and regulates. See Issu- ance of Permits #1325 and
   1348, 66 Fed. Reg. 51,023 (Oct. 5, 2001). As this article was going to press, the office of the
   U.S. Attorney in Boston brought criminal indictments for violating the MMPA against
   commercial gillnetters for entangling humpback whales in two separate incidents. See
   Complaint at 4–6, United States v. Eldridge, No. 09-10059 (D. Mass., Mar. 9, 2009); Complaint
   at 3–5, United States v. Jacques, No. 09-10066 (D. Mass., Mar. 11, 2009). These are the first
   such governmental prosecutions of fishermen under either the ESA or the MMPA in the
   Northeast, and may be unprecedented nationally as well.
        187 See Strahan v. Coxe, 127 F.3d 155, 158 (1st Cir. 1997).
        188 The author is the citizen advocate bringing the suit in question. See Strahan v. Holmes,
   595 F. Supp. 2d 161 (D. Mass. 2009). On August 2, 2006, the entangled humpback whale was
   sighted in Cape Cod Bay off the Massachusetts coast. A disentanglement effort was
   commenced by an NGO—the Center for Coastal Studies—contracted by NMFS and the state
   fishing agency to do this work. Vertical buoy line and a single attached lobster pot were
   removed from the whale. Id. at 162–63.
Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 77 of 96




     2009] A New Paradigm for Conservation of Great Whales in the Urban Sea of the U.S. 463

     assessment of a civil fine.189 NMFS also attempted to keep the name of
     the fisherman secret, which would effectively prevent citizen enforce-
     ment under the ESA citizen suit provision. When NMFS was subpoe-
     naed to produce the records of this entanglement,190 it refused to pro-
     duce any document with the name or permit number of the fisherman
     on it. On photographs of the entangling fishing gear supplied pursuant to
     subpoena, NMFS redacted the permit number to prevent identifica- tion.
     Eventually, a federal judge ordered NMFS under threat of con- tempt to
     supply nonredacted photos and the missing documents, and the
     withheld information was released.191 While this entanglement wasthe
     subject of an ESA citizen enforcement suit, the federal court ac-
     knowledged that the entanglement violated the law, but refused to issue
     an order to prevent future such entanglements of whales. 192
           NMFS has also failed to initiate any specific program to eliminate
     the risk of whale entanglements. Over the years, NMFS has undertaken
     only limited efforts to assess or encourage scientific development of
     nonentangling fishing gear, and funding has generally been awarded to
     research unlikely to lead to substantial changes in established industry
     practices. NMFS has in practice declined to impose restraints upon
     commercial fishing to meet the MMPA’s 1994 amendments’ 2001 goal
     of zero risk of death or serious injury to great whales from fishing gear.
     It has declined to state when it may actually issue a zero-risk standard.
           Great whale entanglement is in effect treated by NMFS as a prob-
     lem of bycatch—the incidental catch of under-sized fish or species of fish
     neither intended nor licensed to be caught.193 NMFS applies its




          189 Complaint at 22, Strahan v. Holmes, 595 F. Supp. 2d 161 (D. Mass. 2009) (No.
     07-cv-10359-NMG).
           190 The subpoena was issued pursuant to an ongoing ESA enforcement action in the
      U.S. District Court in Boston, MA against the Massachusetts state marine fishing agency. See
     Strahan v. Pritchard, 473 F. Supp. 2d 230, 237 (D. Mass. 2007).
          191 The fisherman subsequently maintained that the fishing gear was not placed within
     the 3-mile boundary of Massachusetts’s state jurisdiction, despite the disentanglement
     occurring within its jurisdictional boundary. See id. The “not in state waters” claim was then
     used by the court to find that the August 2006 entanglement could not be used by the plaintiff
     to prove that Massachusetts’s licensing of lobster pot fishing causes whale entan- glements in
     violation of the ESA. See id. at 237–38.
          192 Strahan v. Holmes, No. 07-10359-NMG, slip op. at 8–10 (D. Mass. filed Jan. 30, 2009).
          193 See NOAA Fisheries Feature: What is Bycatch?, http://www.nmfs.noaa.gov/by_
     catch/bycatch_whatis.htm (last visited Apr. 27, 2009). There are significant efforts under- way
     to reduce bycatch of all types. See id.
Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 78 of 96




   464                            Environmental Affairs                            [Vol. 36:431

   bycatch policy—in general, a “sustainable” bycatch is tolerated194—to
   great whales as it would to fish.195
        The federal courts for their part have held that NMFS’s FMCA
   regulations cannot be directly challenged under the Administrative
   Procedure Act for violations of MMPA and ESA mandatory duties, only
   under the citizen suit provision of the FMCA. Violations of MMPA and
   ESA duties thus at best result in collateral review. Federal courts to date
   will not enjoin federal fisheries regulations for failure to comply with the
   MMPA or ESA.196
        NMFS has no internal research and engineering program to de-
   velop whale-safe fishing gear. It has funded several research projects by
   grants from the National Fish and Wildlife Fund, but this money has
   primarily gone to amateur inventors for attenuated ideas.197 Grant
   money is directed to proposals recommended for approval by commer-
   cial fishermen.198 The MDMF Right Whale Conservation Program is
   funded by NMFS through the ESA section 6 cooperative agreement
   program with state governments.199 NMFS does not engage in formal
   and directed engineering initiatives to produce whale-safe fishing gear.
   It does not fund dedicated university or corporate engineering projects
   to make fishing gear whale-safe. Absent enforcement of ESA section 9
   prohibitions against fishermen whose gear entangles great whales, and
   absent significant state or federal funding of engineering solutions to

        194 See Sustainable Fisheries Act, 16 U.S.C. §§ 1802(5), 1851(a)(9) (2006).
        195 See 16 U.S.C. § 1387 (2006) (outlining the bycatch policy as it pertains to marine
   mammals); 16 U.S.C. § 1802(2) (defining “bycatch” to pertain to “fish”); 16 U.S.C. § 1802(12)
   (defining “fish” to be “all . . . forms of marine animal and plant life other than marine mam-
   mals”).
        196 See, e.g., Turtle Island Restoration Network v. U.S. Dep’t of Commerce, 438 F.3d 937,
   946 (9th Cir. 2006) (citing Blue Water Fishermen’s Ass’n v. Nat’l Marine Fisheries Serv., 158
   F. Supp. 2d 118, 121–22 (D. Mass. 2001)). “[T]he NMFS implemented the rule pursuant to its
   authority over FMPs under the Magnuson-Stevens Act, not the Endangered Species Act
   [C]ouching the action in different statutory language ‘is not a hook which
   can remove the prohibitions of the Magnuson-Stevens Act.’” Blue Water Fishermen’s Ass’n, 158
   F. Supp. 2d at 122 (quoting A.M.L. Int’l, Inc., v. Daley, No. 00-10241-EFH (D. Mass. May
   18, 2000)). This means that ESA section 7 claims against fisheries management under the
   FMCA must be brought pursuant to the FMCA citizen-suit provision.
        197 See Nat’l Marine Fisheries Serv., Strategic Plan for Fisheries Research 41
   (1998) (stating that most of the “recent gear research has been accomplished through
   grants      [that] have gone to fishers, or to organizations such as states and universities,
   which carry out the research with the help and cooperation of the fishing industry”).
        198 See id.
        199 See 16 U.S.C. § 1535(d) (2006); Mass. Div. of Marine Fisheries, Budgets, http://www.
   mass.gov/dfwele/dmf/information/budgets.htm (last visited Apr. 27, 2009). The funds from
   Congress are funneled directly through the National Fish and Wildlife Foundation—an en- tity
   established by Congress to distribute funds for wildlife management.
Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 79 of 96




     2009] A New Paradigm for Conservation of Great Whales in the Urban Sea of the U.S. 465

     whale entanglement by fishing gear, there is, at best, limited private en-
     trepreneurial motivation to develop whale-safe technology.
          In 2007, the Marine Mammal Commission (MMC) sponsored a
     review of NMFS’s program to reduce the risk of entanglement of great
     whales in fixed gear.200 The study was highly critical of NMFS’s meth-
     ods, and doubted their ability to reduce risk for whale entanglement.
     The report stated:
           Complicating efforts to resolve the entanglement issue is the
           fact that NMFS has a dual charge—on one hand to promote and
           manage fisheries and on the other to protect right whales and
           encourage their recovery. These often-conflicting man- dates
           are administered by separate programs within the agency. The
           role of the federal regional fishery management councils and
           the various state fishery management agencies in developing
           management plans complicates matters further. To overcome
           these complications, the entanglement problem needs to be
           recognized as a fishery management crisis that re- quires
           decisive action at the highest levels of government. The
           extinction of the North Atlantic right whales would represent a
           fundamental failure in both fishery management and the con-
           servation of protected resources in the United States.201
          In 2007, the Government Accounting Office (GAO) did a study on
     NMFS’s proposed 2007 ALWTRP and found it critically lacking in offer-
     ing any reasonable expectation of possible success.202 Further, “its sci-
     entific stock assessments and entanglement reports . . . showed that—
     despite current regulatory measures—right and humpback whales are
     being seriously injured or killed by entanglements in commercial fish-
     ing gear at a rate that limits the species’ ability to recover.”203


         200 Randall R. Reeves et al., Report of the North Atlantic Right Whale Pro-gram
     Review 3 (2007), available at http://www.mmc.gov/reports/workshop/pdf/rightwhale
     report.pdf.
         201 Id. at 41.
         202 U.S. Gov’t Accountability Office, National Marine Fisheries Service: Im- proved
     Economic Analysis and Evaluation Strategies Needed for Proposed Changes to
     Atlantic Large Whale Protection Plan 7–8 (2007), available at http://www.gao.gov/
     new.items/d07881.pdf. The report stated that “NMFS has not developed strategies for fully
     evaluating the effectiveness of the proposed regulatory changes,” and that “NMFS has not yet
     developed a strategy for monitoring the level of industry compliance.” Id.
         203 Id. at 5. The report also found that “NMFS developed the specific proposed gear
     modifications [i.e., ground-line rules] based, in part, on a study of gear found on entan-
     gled right and humpback whales that indicated that all parts of commercial fishing gear
Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 80 of 96




   466                            Environmental Affairs                            [Vol. 36:431

   2. State Regulation of Fisheries to Reduce Entanglement
         In 1998 the Massachusetts Division of Marine Fisheries (MDMF)
   was forced to take measures to reduce the risk of right whale entangle-
   ment in state-licensed fishing gear as a result of an order issued in the
   Strahan v. Coxe decision. The court found that state fishing regulatory
   agencies—in that case the MDMF—are liable for violating the ESA sec-
   tion 9 take prohibitions as a result of great whales being entangled in the
   fishing gear they license and regulate. The court held that any en-
   tanglement is a violation of the ESA section 9 prohibitions.204 The Coxe
   decision resulted in an order for the MDMF to form a “working group” to
   come up with a plan to reduce the risk of entanglement in licensed
   fishing gear. In order to “get out from under the order,”205 the agency
   decided to impose entanglement prevention measures, and in so doing
   established a right whale conservation program (MDMF Right Whale
   Program) that continues to the present day.206 The MDMF added on to
   its codified regulations a section that is dedicated to right whale con-
   servation—titled “Northern Right Whales”207—containing special rules
   to reduce the risk of entanglement of right whales in the fishing gear it
   licensed.208 The MDMF also has produced an annual report on the ac-
   tivities of its MDMF Right Whale Program.209
         The MDMF Right Whale Program in practice, however, has not
   operated to make state-licensed fishing gear whale-safe. It has adopted
   no requirement that fishing gear be whale-safe. Its whale conservation
   program is centered upon an agreement executed with a fishing indus-

   create a risk of entanglement for these whales,” implying that other portions of the gear,
   like vertical lines, should have been regulated. See Id. (emphasis added).
        204 See Strahan v. Coxe, 127 F.3d 155, 168 (1st Cir. 1997).
        205 Interview with David Hoover, Legal Counsel, Massachusetts Division of Marine
   Fisheries, in Boston, Mass. (Apr. 1999).
        206 See Erin Burke & Dan McKiernan, Mass. Div. of Marine Fisheries, Right Whale
   Conservation, www.mass.gov/dfwele/dmf/programsandprojects/ritwhale.htm (last visited
   Apr. 27, 2009). “MarineFisheries Conservation Program was established in 1997 with input
   from the Massachusetts Endangered Whale Working Group. The Working Group was
   appointed by the federal court and charged with devising measures to minimize harm to
   Northern Right Whales in state waters.” Id.
        207 322 Mass. Code Regs. §§ 12.00–.11 (2006).
        208 See id. § 12.01.
        209 Erin Burke & Dan McKiernan, Div. of Marine Fisheries, Massachusetts Division
   of Marine Fisheries Right Whale Conservation Program: 2005                        Projects and
   Accomplishments (2005). Because the Strahan v. Coxe injunction only required ac-tions
   to benefit the right whale and no other great whale species, the state agency, like NMFS,
   targeted its rules to reduce entanglement risks for right whales alone, without di- rect
   regard for the migration patterns and locations of other species of great whale. See 322 Mass.
   Code Regs. §§ 12.01–.11; Strahan v. Coxe, 127 F.3d 155, 158 (1st Cir. 1997).
Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 81 of 96




     2009] A New Paradigm for Conservation of Great Whales in the Urban Sea of the U.S. 467

     try association and an NGO intervening in the Strahan v. Coxe law-
     suit,210 calling for use of sinking ground lines with no meaningful re-
     straints on vertical buoy lines, and funding for another NGO to seek
     out entangled right whales and attempt disentanglement.211 In prac-
     tice, the MDMF Right Whale Program serves to shield the agency from
     being subjected to further court orders requiring it to actually end the
     entanglement of whales in state-licensed fishing gear.
           Since no other state has been subjected to a lawsuit, no Atlantic
     coastal state other than Massachusetts has initiated its own state-based
     conservation effort for great whales to reduce the risk of entanglement.
     The initiative for whale conservation is deemed primarily to be a fed-
     eral problem—a “top down” government problem. By contrast, marine
     fisheries regulation is deemed a “bottom up” regulatory scheme where
     states have the major role in coastal fisheries—in direct terms by licens-
     ing fishing in state waters, and on the federal level by state dominance of
     federal regional fisheries management councils. Since the fishing
     industry has dominating influence in the state fishing agencies, it effec-
     tively controls NMFS. To close this circle, it can be observed that some of
     the most progressive politicians in coastal states are ironically among the
     most ardent supporters of the fishing industry’s “self-regulation.”212
     Coupled with consistent support in Congress,213 the industry has been
     aided by state fisheries agencies in resisting efforts to force fisheries to
     comply with ESA prohibitions on whale entanglement and state envi-
     ronmental review laws.




          210 The Massachusetts Lobstermen’s Association (MLA) and the Conservation Law
     Foundation (CLF) brokered the deal with the state. See Strahan v. Coxe, 939 F. Supp. 963,
     963 (D. Mass. 1996) (showing that CLF did intervene in the suit).
          211 Currently the MDMF gives funding to the Provincetown Center for Coastal Studies
     to look for right whales—especially entangled ones. Provincetown Center for Coastal
     Studies, Annual Report 2007: A Year in Review 7, 11 (2008), available at http://www.
     coastalstudies.org/pdf/AnnRep07_2.pdf (stating that the group disentangles large whales
     and identifying the Massachusetts Division of Marine Fisheries as a donor).
          212 Richard Gaines, Senators’ Moves to Right Fishing Rule in Limbo, Gloucester Daily Times
     Online (Mass.), Mar. 18, 2009, http://www.gloucestertimes.com/punews/local_
     story_077221439.html?keyword=topstory (describing northeastern Senators’ united front
     against a specific federal fishing regulation).
          213 In Massachusetts, Senators Kennedy and Kerry consistently support the fishing in-
     dustry’s self-regulation, as do Senators Collins and Snowe in Maine. Like the late Repre-
     sentative Gerry Studds, federal legislators who are otherwise among the most progressive
     have regularly championed the commercial fishing industry’s interests. See id.
Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 82 of 96




   468                            Environmental Affairs                             [Vol. 36:431

                 III. The Green Knight Has Left the Building:
                   Failure of the Current Societal Paradigm
                        for Protection of Great Whales
        Over the past century, our national policies and strategies for envi-
   ronmental protection have been fundamentally based on the ideas and
   efforts of individual altruistic citizens who organized others in citizen-
   based political movements for environmental protection.214 These are
   the “Green Knights” whose efforts are almost wholly responsible for cur-
   rent state and federal regulatory schemes for protecting environmental
   quality for the general benefit of the public. First with the late 19th cen-
   tury “conservation” movement and then the later 1970s “environ-
   mental” movements, more than two dozen federal statutes were drafted
   and regulatory systems designed and pushed by these private entities—
   not by legislatures, business, or by the normal established players in our
   system of government.215 Individual Green Knights have been the pri-
   mary driving forces for enforcement of most of the breakthrough and
   precedent-setting lawsuits enforcing environmental laws.216 Statutes are
   written, agencies are created to implement the statutory policies, and—
   faced with the traditional ability of regulated industries to constrain
   regulatory agencies—citizen groups have to fight a chronic battle to
   push agencies and courts to enforce the laws as written.217
        Individual Green Knights have generally been driven by idealism,
   philosophy, and science, not by prospects for personal financial enrich-
   ment. Green Knights like Aldo Leopold,218 Rachel Carson,219 Jane
   Goodall,220 Ralph Nader,221 and Dian Fossey,222 are some of the exam-


        214 Zygmunt J.B. Plater et al., Environmental Law and Policy: Nature, Law,
   and Society 73 (3d ed. 2004). The first Earth Day in 1970 was the idea of such an indi-
   vidual.
        215 For an excellent history of the creation and evolution of environmental law, specifi-
   cally as it pertains to national parks, see Joseph L. Sax, Mountains Without Handrails:
   Reflections on the National Parks (1980).
        216 The National Environmental Policy Act, for example, has never been actively en-
   forced by the federal government against the federal agencies that were its primary ad-
   dressees. Plater et al., supra note 214, at 477. Many other statutes have had their primary
   enforcement from voluntary citizen efforts rather than official enforcement. See James R.
   May, Now More Than Ever: Trends in Environmental Citizen Suits at 30, 10 Widener L. Rev. 1,
   2 (2003).
        217 See Zygmunt J.B. Plater, Dealing with Dumb and Dumber: The Continuing Mission of Citi-
   zen Environmentalism, 20 J. Envtl. L. & Litig. 9, 26–27 (2005).
        218 See generally Aldo Leopold, A Sand County Almanac (1949).
        219 See generally Rachel Carson, Silent Spring (1962).
        220 See generally Jane Goodall, In the Shadow of Man (rev. ed. 1988).
        221 See generally Ralph Nader, Unsafe At Any Speed (1965).
Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 83 of 96




     2009] A New Paradigm for Conservation of Great Whales in the Urban Sea of the U.S. 469

     ples of the tradition, inspiring pioneering laws protecting the environ-
     ment, beginning with the very American idea of national parks.223 The
     National Forest system, laws protecting migratory birds and raptors, the
     Clean Water Act, the Clean Air Act, the Endangered Species Act, and the
     ban on DDT are just a small part of their accomplishments.224
          Sadly, however, no individual Green Knight has come forward to
     protect great whales in the Urban Sea. There indeed are a number of
     whale interest organizations among the community of “Ocean NGOs” —
     the amalgam of NMFS-licensed whale researchers, non-profit corpora-
     tions, commercial fishermen associations, and other miscellaneous enti-
     ties that evince an interest in whales and other marine mammals.225
     However, despite the horrific harm and threat of extinction for great
     whales that result from commercial fisheries’ practices, in the author’s
     observation, most of these organizations have been markedly hesitant to
     confront the commercial interests that cause whale entanglement, and
     sometimes take positions disfavoring common sense protections af-
     forded whales by law.226
          The refusal of Ocean NGOs to demand that NMFS and state fish- ing
     agencies license only whale-safe fishing gear, including non- entangling
     vertical lines, is a prime example of how professional actors

          222 See generally Dian Fossey, Gorillas in the Mist (1983). According to many
     sources, the last words in Fossey’s journal were, “When you realize the value of all life, you
     dwell less on what is past and concentrate more on the preservation of the future.” See, e.g.,
     Diane Toroian Keaggy, Who Would You Invite?, St. Louis Dispatch, Apr. 7, 2007, at 4.
          223 George Catlin, a Western artist in the 1830s, is generally credited with first express-
     ing the idea that there should be “a nation’s Park containing man and beast” which ulti-
     mately led to the creation of the National Park system. Isaac Kantor, Ethnic Cleansing and
     America’s Creation of National Parks, 28 Pub. Land & Resources L. Rev. 41, 45 (2007). See
     generally Linda Lear, Rachel Carson: Witness for Nature (1997) (explaining how the
     publication of Carson’s Silent Spring lead to the U.S. ban on DDT).
          224 An incomplete list of environmental laws that allow for citizen enforcement would
     number more than a dozen; the author believes that citizen action may have spurred the
     creation of many of these. See Plater et al., supra note 214, at 407 & n.38.
          225 See, e.g., Conservation Alliance for Seafood Solutions, Who We Are, http://www.so-
     lutionsforseafood.org/whoweare (last visited Apr. 25, 2009) (showing a list of ocean- centric
     organizations working with the seafood industry); Massachusetts Ocean Partner- ship,
     Current Partners, http://www.massoceanpartnership.org/partners.html (last visited Apr. 25,
     2009) (providing a list of organizations in the Massachusetts Ocean Partnership).
          226 This includes their opposition to the enforcement of the ESA and MMPA prohibi- tions
     against individual commercial fishermen for entanglements. The author had to sub- poena
     NGO employees to testify as expert witnesses at a federal trial where the Massachu- setts
     fishing agency was being sued as responsible for unlawful whale entanglements. See generally
     Strahan v. Pritchard, 473 F. Supp. 2d 230 (D. Mass. 2007). These witnesses claimed that
     sinking ground-line would save whales from entanglement although no one could provide any
     example of a whale ever being entangled directly in floating ground-line. Seeid. at 238–39.
Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 84 of 96




   470                            Environmental Affairs                             [Vol. 36:431

   in marine issues align their positions with commercial interests. Off the
   record, informed members of these organizations identify vertical buoy
   lines on lobster pots and fixed gill nets as the critical element in whale
   entanglement, and the optimal object for stringent regulation to endthe
   cruelty, injuries, and death caused by entanglement. Publicly, how- ever,
   they shrink from efforts to enforce strict industry compliance withthe
   ESA.
         As noted in this essay, vertical buoy lines pose the prime entangle-
   ment threat to whales, but NGOs have deferred to industry and NMFS
   preference for the questionable theory that requiring sinking horizon-
   tal ground-lines should be the focus of regulatory efforts to protect the
   whales, avoiding the obvious measure of vertical line regulation. In on-
   going citizen litigation seeking to enforce ESA section 9 prohibitions
   against placement of vertical buoy lines, moreover, it has not been pos-
   sible to get NGO testimony in support of those facts.227
         The question is raised why NMFS would require lobster pot fish-
   erman each to spend a good deal of money substituting sinking ground-
   line for existing ground-line without compelling proof that it works.228
   Why too does industry accept an NMFS directive making it spend
   hundreds of thousands of dollars for a red herring, an unproven fix, in
   the absence of a lawsuit?229 In part it may be an instance of

        227 Representatives of the Provincetown Center for Coastal Studies, the New England
   Aquarium, and the Humane Society of the United States were subpoenaed to testify at trial
   in both Strahan v. Pritchard and Strahan v. Holmes. They were asked repeatedly to speculate
   on whether or not whales are currently being entangled either in Massachusetts or other state
   coastal waters. Each testified that they did not know and refused to even speculate on the
   possibility. See Strahan v. Holmes, 595 F. Supp. 2d 161, 163–64 (D. Mass. 2009); Pritchard, 473
   F. Supp. 2d, at 236–38.
        228 Congress was lobbied by NMFS and the Ocean NGOs to buy sinking ground-line for
   the commercial fishing industry. See Memorandum from Laura Ludwig, Bottom Line Project
   Director, Gulf of Maine Lobster Foundation, to all Maine state and federal lobstermen (Dec.
   14, 2007), available at http://www.gomlf.org/docs/Survey_Letter_and_FAQ_12_07_final.pdf.
   It appropriated millions of dollars for the buyout. The International Federation of Animal
   Welfare (IFAW) (known for its campaign against Newfoundland seal hunts) partnered with
   the MDMF to administer the distribution of the money to commercial fishermen. The IFAW
   has zealously maintained the need for sinking ground-lines and has opposed NMFS focusing
   on vertical buoy lines. In January 2008, it also hosted a conference for commercial fishermen
   in Boston, Massachusetts to discuss the cost, problems, and alleged benefits associated with
   converting to sinking ground-line. See Press Release, Int’l Fed’n of Animal Welfare [IFAW],
   IFAW and Atlantic Offshore Lobstermen’s Association to Host Whale Friendlier Lobster Gear
   Summit ( Jan. 3, 2008), available at http://www.ifaw.org/ifaw_asia_pacific/media_center/
   press_releases/01_03_2008_17390.php.
        229 In the written comments submitted to NMFS’s draft Environmental Impact State- ment
   and, and during the comment period for the draft 2007 ALWTRP, there is not a sin- gle
   letter from a licensed commercial fisherman or any established NGO complaining that
Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 85 of 96




     2009] A New Paradigm for Conservation of Great Whales in the Urban Sea of the U.S. 471

     NMFS selecting the most easily accommodated adjustment—a simple
     substitution of one line type that works in effectively the same manner
     as existing lines—for which, moreover, the federal government could
     be expected to subsidize the cost.230 In addition, the industry and NMFS
     may not want to set a precedent where commercial fisheries are
     aggressively targeted to comply with environmental laws.
          The sinking ground-line theory originated from a negotiated proc-
     ess between commercial fisherman and the Massachusetts Division of
     Marine Fisheries (MDMF), with the active collaboration of several
     Ocean NGOs, in the working group ordered by the court in Strahan v.
     Coxe. The MDMF chose employees of the New England Aquarium
     (NEA), the Provincetown Center for Coastal Studies (CCS), and two
     fishermen to be its representatives on this working group.231 The judge’s
     order in Coxe required the working group to produce a recommenda-
     tion to the court on how fixed gear could be made safer for right
     whales—with no reference to other endangered whales.232 A one-vote
     majority—an alliance between the state parties (NEA, CCS, MDMF),
     commercial fishermen, and the Conservation Law Foundation
     (CLF),233 a major NGO—recommended the use of sinking ground-
     lines, with continuation of disentangling attempts for entangled right
     whales, and data collection in right whale aerial sighting surveys that
     would be done by the CCS and NEA under contract to the MDMF.234
     Dissents came from the author, the Sierra Club, the HSUS, and an in-
     dependent scientist.
          The Strahan v. Coxe lawsuit then ended in 2001 after the judge ac-
     cepted a joint 2001 intervention motion from CLF and the Massachu-



     there was no factual basis to assert that sinking ground-lines reduce the threat to great
     whales. Taking of Marine Mammals Incidental to Commercial Fishing Operations; Atlantic
     Large Whale Take Reduction Plan Regulations, 72 Fed. Reg. 57,104, 57,132–36 (Oct. 5,
     2007) (codified at 50 C.F.R. pts. 229, 635, 648) (showing that no party challenged the fac- tual
     basis for the ground-line changes).
          230 See 50 C.F.R. § 229.32(c)(1)(ii)(D)–(E) (2008); Dan McKiernan, Lobstermen Gear-up
     with Whale-safe Lines: Federal Grant Subsidizes Replacement Line, DMF News, Second Quarter
     2004—Third Quarter 2004, available at http://www.mass.gov/dfwele/dmf/public-ations/
     dmfn_q3_04.pdf.
          231 Court Orders Additional Right Whale Protection Measures, DMF News, Fourth Quarter
     1996, available at http://www.mass.gov/dfwele/dmf/publications/dmfnq496.htm.
          232 Id.
           233 The Conservation Law Foundation is an environmental law group based in Massa-
      chusetts. Conservation Law Foundation, Home, http://clf.org/ (last visited Apr. 25, 2009).
           234 Every meeting of the working group was audio taped by the MDMF and copies of
     those tapes were supplied to the author. The author also attended most of the meetings.
Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 86 of 96




   472                            Environmental Affairs                              [Vol. 36:431

   setts Lobstermen’s Association (MLA).235 The court then accepted a
   five-year settlement agreement—signed by CLF, MDMF, and the MLA,
   but not the author, who maintained the litigation—adopting the work-
   ing group’s one-vote majority proposal for sinking ground-line regula-
   tions, plus surveys and disentanglement efforts, and dismissed the case.
   CLF initially requested more than $300,000 in attorneys’ fees but later
   withdrew the demand. The outcome was that the judge, who earlier
   had found that state licensing of entangling gear violated ESA section
   9’s prohibition, simply dismissed the case with prejudice. Massachusetts
   then instituted a remedy that lacked in scientific evidence of effective-
   ness, ignored the primary role of vertical line entanglement, and only
   nominally attempted to reduce the entanglement of endangered right
   whales in state-licensed fishing gear. Other states’ fixed gear fisheries
   thereafter also agreed to a NMFS mandate for sinking ground-lines,
   which was included prospectively in the 2007 ALWTRP.236
        After the Coxe order was signed, the MDMF issued a contract to
   CCS to do aerial survey and disentanglement work,237 and provided
   grants to the NEA for further research.238 The commercial industry then
   successfully lobbied Congress to fund lobstermen’s conversion to
   sinking ground-lines, in the program managed by the International
   Federation of Animal Welfare.239
        In 2008, two Ocean NGOs—the Whale and Dolphin Conservation
   Society and the Ocean Conservancy—engaged in a campaign with the

        235 The CLF and the MLA intervened in a joint effort to terminate the action after the
   author insisted on going to trial. In the author’s opinion, the CLF was a “Trojan Horse”
   plaintiff—an intervening plaintiff who seeks to serve the interests of the current defen- dant—
   entering the case to help the state get a resolution in its favor by posing as the re- quired
   plaintiff for a settlement deal. See Strahan v. Coxe, 127 F.3d 155, 157, 161, 171–72 (1st Cir.
   1997); see also Strahan v. Pritchard, 473 F. Supp. 2d 230, 233 (D. Mass. 2007) (dis- cussing the
   outcome of Strahan v. Coxe).
        236 Diane Borgaard et al., Nat’l Oceanic and Atmospheric Admin., Guide to The
   Atlantic Large Whale Take Reduction Plan 3 (2008), available at http://www.nero.
   noaa.gov/whaletrp/plan/ALWTRPGuide.pdf. In the author’s opinion, Maine and other
   states made formal protests of the requirement, but filed no administrative appeals, to estab-
   lish an appearance that the rule represents a middle-ground compromise. See John H.
   Cushman Jr., Lobstermen See Threat in Whale Protection Plan, N.Y. Times, May 5, 1997, at A10.
        237 Erin Burke & Daniel McKiernan, Mass. Div. of Marine Fisheries, Right Whale
   Conservation Program: 2006 Projects and Accomplishments 3 (2007), available at
   http://www.mass.gov/dfwele/dmf/programsandprojects/rwcp_2006.pdf.
        238 See David C. Hoover, Massachusetts’ Actions that Help Protect the Northern Right Whale,
   DMF News, Second Quarter 1996, available at http://www.mass.gov/dfwele/dmf/publica-
   tions/dmfnq296.htm.
        239 See Memorandum from Laura Ludwig, supra note 228. At an informal press event,
   Senator Edward Kennedy handed a symbolic check to the IFAW president and an industry
   representative from the MLA. McKiernan, supra note 230.
Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 87 of 96




     2009] A New Paradigm for Conservation of Great Whales in the Urban Sea of the U.S. 473

     Massachusetts Lobstermen’s Association to promote the Massachusetts
     lobster industry as environmentally safe because of its use of sinking
     ground-lines.240 The parties to the campaign hope to convince the pub-
     lic to buy Massachusetts lobsters as a “green alternative” to lobsters
     caught by Canadian and Maine fisheries, which are not required to use
     sinking ground-lines.241
           Some of the reasons for the political passivity and avoidance of sci-
     entific data by the agencies and some—though not all—NGOs are read-
     ily apparent. The commercial fishing industry enjoys well-organized po-
     litical representation in Congress and in coastal states.242 The industry
     and its coalitions exercise substantial influence upon state marine fish-
     ing agencies and NMFS itself.243 The industry’s political heft is discerni-
     ble in financial “greenmail” grants to certain NGOs from oil companies
     and developers in exchange for nonconfrontation on issuance of poten-
     tially threatening development permits.244 Because most financial sup-
     port for marine research comes from entities responsive to exploitative
     uses of the ocean—primarily NMFS, the U.S. Navy, and the federal Min-


          240 Press Release, Whale and Dolphin Conservation Society, Ocean Conservancy, Whale
     and Dolphin Conservation Society and Massachusetts Lobstermen Launch “Massa- chusetts
     Lobster Fishing: The Right Way” ( July 3, 2008), available at www.wdcs-na.org/
     downloads/MassLobsterJuly08.pdf. The press release states that they—along with the
     Massachusetts Lobstermen’s Association and Massachusetts Division of Marine Fisheries—
     are “working with local restaurants, fish markets and seafood dealers to ensure that resi-
     dents and visitors know to buy locally caught lobster.” Id.
          241 See id.; Alan Burke, Green Lobster Bands Mark Whale-Safe Fishing, Gloucester daily
     Times Online, July 8, 2008, available at http://www.gloucestertimes.com/punews/local_
     story_190110942.html. The MLA fishermen now put “green bands” on their lobsters to
     identify them in the marketplace as “whale safe,” as affirmed by the NGOs. Massachusetts
     Lobster Fishing: The Right Way, Right Whale News, August 2008, at 1, 4 (stating that “[a] new
     labeling and education program in Massachusetts will encourage businesses and con- sumers
     to buy lobsters caught locally, using fishing practices that are safer for whales”).
          242 See James M. Acheson, Lobster and Groundfish Management in the Gulf of Maine: A Ra-
     tional Choice Perspective, 65 Hum. Org. 240, 240, 249 (2006); Walter W. Fondren III, Coastal
     Conservation Association, http://www.joincca.org/TIDE/Stand%20Up.html (last visited Apr.
     25, 2009). In 2008, Massachusetts passed an act that, in the author’s opinion, protects
     commercial fishing as valuable to the state, with insignificant attention given to protecting
     marine wildlife from development. See 2008 Mass. Acts 143.
          243 See Acheson, supra note 242, at 240, 249; Fondren, supra note 242.
          244 See Patrick Anderson, LNG Port Operator’s Donations Go Beyond Minimums, Gloucester
     Daily Times Online, June 9, 2008, available at http://www.massenergy.com/news/Glouster
     DailyTimes-2008-06-09-LNG_port_operators_donations_go_beyond%20_minimums.pdf. In
     2008, two international liquid natural gas (LNG) companies (Neptune LNG LLC and Excel-
     erate Energy LLC) seeking to develop LNG port facilities in Massachusetts each agreed to pay
     $23.5 million to a consortium of commercial fishermen and NGOs in exchange for the issuing
     of required permits by state and federal review agencies. This arrangement was a stated
     requirement for the state to approve its permit for the project. See id.
Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 88 of 96




   474                            Environmental Affairs                            [Vol. 36:431

   eral Management Service—successful research grant applicants reflect a
   strong incentive toward research paths that do not conflict with com-
   mercial interests.
        A number of the NGOs involved in ocean issues—soliciting mil- lions
   of dollars annually from well-intentioned contributors to their ap-peals
   for ocean conservation—have chosen to develop and maintain
   acquiescent “partnership” relationships with the commercial fishing
   industry.245 Some Ocean NGOs supported the 1994 MMPA Amend- ment
   scheme of granting blanket immunity to fishermen who entangle whales.
   The linkage has been explained as a battle between which of the two
   becomes endangered: whales or fishermen.246
        The issue is not that such relationships are inappropriate per se, but
   rather that they are inappropriate if they derogate efforts for con-
   serving threatened marine life. That NGOs have avoided eliminating,
   reducing, or redesigning vertical buoy lines is only one primary indica-
   tion that such relationships are inappropriate. In response, a justifica-
   tion voiced by these NGOs is that no regulation at all would be possible
   if politically opposed by the industry, so that NGOs must take whatever
   they can get as better than nothing.247 NGOs that conduct whale re-
   search, in particular, are understandably sensitive to the commercial
   fishing industry.248 Researchers rely on receiving ESA and MMPA per-
   mits issued by NMFS, and need to be attuned to the agency’s political
   position and orientation. Many professional field researchers rely on
   commercial whale-watch operations, which typically have originated
   from or been linked to commercial fishing operations, as “platforms of
   opportunity” for their observations and research and as a source of
   supplementary funding.249 As with the fisheries regulatory agencies
   and many Ocean NGOs, the resulting professional conflict-avoiding
   alignment of researchers with the fishing industry reflects a symbiosis.



        245 See Conservation Alliance for Seafood Solutions, supra note 225; Massachusetts
   Ocean Partnership, Current Partners, supra note 225.
        246 See Tora Johnson, Entanglements: The Intertwined Fates of Whales and
   Fishermen 4, 264 (2005).
        247 See IFAW, supra note 228 (noting that collaboration between conservationists and
   industry is necessary).
        248 See id.
        249 See Whale Watching Tours, Whale Watch trips from Cape Ann, North of Boston,
   http://www.yankeefleet.com/ (last visited Apr. 25, 2009). See generally Stacie Koslovsky, Wan-
   dering Whale Watchers: The Effectiveness of Whale Watches as a Platform of Opportunity for
   Data Collection (May 2008) (unpublished M.S. thesis, Duke University), available at
   http://dukespace.lib.duke.edu/dspace/bitstream/10161/516/1/MP_smk20_a_200805.pdf.
Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 89 of 96




     2009]    A New Paradigm for Conservation of Great Whales in the Urban Sea of the U.S. 475

          IV. A New Paradigm for Whale Survival in the Urban Sea:
               Whales as Protected Features of the Urban Sea,
                         Like Mountains or Rivers

                                A. What Is to Be Done Generally?
          Great whales should no longer be conceived merely as wildlife.
     Their legal status should be as protected essential features of the envi-
     ronment, like notable mountains or river valleys that are preserved
     solely for their aesthetic value.250 They should formally be treated as
     “Twenty-Ton Canaries” by federal and state governments, protected not
     just for their own welfare, but also to ensure the generic welfare of the
     whole ocean ecosystem. Whales’ current status as a “living resource”
     managed by agencies designed to support commercial fisheries must be
     changed if great whales are to be adequately protected or expected to
     survive in the long term.

                                     B. Remedial Propositions

     1. Transfer Management Authority for Great Whales Away from NMFS
        and Re-Task the Marine Mammal Commission to Oversee Actions
        for Protection of Great Whales.
          Implementing a rationally based and effective conservation effort
     for great whales requires legal responsibility to be transferred to an
     agency whose employees see getting the job done as their core task. At a
     minimum, the conservation responsibilities for great whales should be
     transferred to NOAA’s National Ocean Service (NOS) or NOS’s Office
     of Ocean and Coastal Resource Management (OCRM)—established by
     the Coastal Zone Management Act (CZMA).251 Either would be a far
     better platform for overseeing the protection and recovery of endan-
     gered whale populations.252 The ESA and MMPA state that direct re-

         250 See generally Jim Thorsell & Larry Hamilton, A Global Overview of Mountain Protected Ar-
     eas on the World Heritage List (Int’l Union for Conservation of Nature, Working Paper No. 6,
     2002), available at http://www.unep-wcmc.org/wh/reviews/MOUNTAIN_PROTECTED_
     AREAS.pdf; Nat’l Park Serv., National Heritage Areas Program, http://www.nps.gov/his-
     tory/heritageareas/VST/INDEX.HTM (last visited Apr. 25, 2009) (describing various “Heri-
     tage Areas” that are nationally protected).
         251 Coastal Zone Management Act, 16 U.S.C. §§ 1451–1452 (2006);, Nat’l Ocean Serv.,
     Nat’l Oceanic & Atmospheric Admin., Office of Ocean and Coastal Resource Manage- ment,
     http://coastalmanagement.noaa.gov/welcome.html (last visited Apr. 25, 2009).
         252 Both of these agencies’ missions are—in their statutory charges—focused on holistic
     protection of the marine ecosystem, and neither of them license or regulate any commercial
Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 90 of 96




   476                            Environmental Affairs                            [Vol. 36:431

   sponsibility for great whales is assigned to NOAA under these acts, but
   this need does not require subdelegation to NMFS; NOAA has full statu-
   tory discretion to transfer these duties to NOS from NMFS.253
        Additionally, Congress should transfer responsibilities from NMFS
   to the Marine Mammal Commission to oversee and approve issuance of
   research licenses on great whales; the adoption of MMPA take reduc-
   tions plans (TRPs) and other tasks to be performed under MMPA sec-
   tion 118; the issuance of ESA section 10 incidental take permits (ITPs)
   and ESA section 7 biological opinions involving great whales; and the
   appointment and administration of ESA recovery teams for the great
   whales.

   2. Transfer State Management Authority for Great Whales to a State’s
      Coastal Zone Management Office or at a Minimum to Its
      Endangered Species Agency
        States should adopt a whale-safe standard for management of
   coastal industrial projects and state commercial fishing. Management
   responsibilities for great whales in a state’s coastal waters should be es-
   tablished within that state’s Coastal Zone Management office. A whale-
   safe environmental standard to be enforced pursuant to state environ-
   mental review laws could indeed utilize great whales as “Twenty-Ton
   Canaries” where the status of their population’s health would be used
   to generally indicate the health of the local marine environment. The
   safety of the great whales and the overall health of the marine envi-

   activity at all. These agencies mostly conduct scientific research on the ocean environment
   and review the impacts of commercial development on the marine environment. Nat’l Ocean
   Serv., Nat’l Oceanic & Atmospheric Admin., NOAA’s National Ocean Service: Pro- gram
   Offices, http://oceanservice.noaa.gov/programs/ (last visited Apr. 25, 2009); Nat’l Ocean
   Serv., Nat’l Oceanic & Atmospheric Admin., NOAA Office of Ocean and Coastal Re- source
   Management: Our Programs, http://coastalmanagement.noaa.gov/programs/wel- come.html
   (last visited Apr. 25, 2009). The web site for NOS states that “NOAA’s National Ocean Service
   (NOS) is the nation’s premier science agency for oceans and coasts” and its mission is “[t]o
   provide science-based solutions through collaborative partnerships to address evolving
   economic, environmental, and social pressures on our oceans and coasts.” Nat’l Ocean Serv.,
   Nat’l Oceanic & Atmospheric Admin., About the National Ocean Service,
   http://oceanservice.noaa.gov/about/ (last visited Apr. 25, 2009). NOS administers the
   National Marine Sanctuaries Program. The web site for OCRM similarly emphasizes its
   mission is to protect the coastal marine environment. NOAA Office of Ocean and Coastal
   Resource Management: Our Programs, supra.
        253 See 16 U.S.C. § 1536(a)(2) (2006). It could be argued that NOAA from the start should
   have assigned its MMPA and ESA duties to a subagency other than NMFS. ESA requires that
   NOAA take no action that would jeopardize the survival of listed species, and in weighing
   that choice it could have been expected that NMFS would dilute regulatory protections
   conflicting with the commercial fishing industry. See id.
Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 91 of 96




     2009] A New Paradigm for Conservation of Great Whales in the Urban Sea of the U.S. 477

     ronment would be reinforced if every proposed marine activity was as-
     sessed for its impact on great whales during any environmental review
     process. Alternatively, state jurisdiction over great whales should be
     transferred away from state agencies linked to the commercial fishing
     industry and assigned to the state agencies committed to endangered
     species protection.

     3. Vigorously Enforce the Prohibitions of the ESA, MMPA, and
        Applicable State Laws Against Commercial Fishermen Whose Gear
        Entangles Whales
          The NMFS’s de facto offering of safe harbor to fishermen from ESA
     or MMPA enforcement must end. There is no market incentive for
     private enterprise to develop further whale-safe fishing technologies if
     commercial interests are not required to utilize them. The current
     blanket refusal by NMFS and state law enforcement agencies—and the
     Coast Guard, which has concurrent enforcement authority under
     ESA254—to prosecute fishermen whose gear entangles whales is a pri-
     mary factor responsible for the continuing entanglement-related killing
     and injuring of great whales.

     4. Radically Redesign Federal and State Regulation of the Commercial
        Fishing Industries
           No single programmatic change would better benefit the conser-
     vation of the ocean’s wildlife than a radically conceived redesign and
     redirected regulation of the fishing industry, ending the jurisdiction of
     industry-oriented “private” government fishing agencies. A modern
     redesign would charge protection-focused agencies to serve the pur-
     poses of ensuring that fisheries resources are not depleted by the indus-
     try, that the industry will be conducted in an environmentally whale-
     safe manner, and that industry will experience full review under state
     and federal environmental laws. Elements of this agenda include: (1)
     ending industry-dominated commissions that oversee fisheries agen-
     cies, and changing the fisheries agencies’ core operating duty to the
     task of assuring that commercial fishing permits comply with environ-
     mental protection goals; (2) retasking the function of the revised fish-
     eries regulatory agencies from promoting commercial fisheries to an
     oversight duty of protecting a public resource from industry exploita-
     tion; (3) ensuring, in the issuing of fishing leases to private parties, that

         254 Id. § 1540(e)(1) (2006).
Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 92 of 96




   478                             Environmental Affairs                              [Vol. 36:431

   whale-safe and environmentally sound fishing practices are required on
   the lease-holders’ part, and that fees for fishing lease holders assist in
   offsetting the cost of environmental law compliance, including the cost
   of developing whale-safe fishing technology; (4) installing a system of
   market-based access to fisheries resources for specified areas, thereby
   ending the process of issuing annual permits for the right to fish for a
   minimal, fixed processing fee;255 and (5) giving “green fishermen”
   preference in access to state and federal fisheries resources.256

   5. Impose Professional Ethical Standards on Licensed Whale
      Researchers and on NGOs Who Accept Funds to Lobby for Whale
      Conservation
        Ethical standards of professional conduct should be enforced on
   all who are licensed under the ESA or the MMPA to conduct research
   on endangered whales.257 The need for professional ethical standards is
   especially strong for publicly funded researchers and those directly li-
   censed by government agencies to do research on great whales under
   those statutes. Ethical standards for researchers need to provide public

        255 Five-year leases could be issued for fishing in specific designated blocks of 100 square
   miles, under competitive bidding processes without perennial renewals of individ- ual fishing
   licenses. Leases would not be issued to individual fishermen but to collective groups or
   business interests with the financial resources to pay for environmental mitiga- tion. The
   substantial revenue from such lease sales could fund scientific research to estab- lish effective
   quotas. Restraints on commercial fishing practices would be spelled out in the individual
   lease agreements, rather than being imposed as government regulations.
        256 As part of any bid for a lease, bidders would include a conservation plan to insure
   that commercial fishing under the lease would not have an unacceptable impact on the marine
   environment. An offer to use innovative whale-safe technology could be part ofthat plan.
   The cost of conservation programs would be borne by the bidders, and they would be
   allowed to compete as to the most aggressive conservation measures. Bidders that make
   a significant commitment to “green fishing” in excess of other bidders would be given “green
   credits” to offset higher bids from “non-green” bidders. As a result, “green fishing” would be
   promoted based on individual motivation. Non-green bidders would over time be driven
   out of the market, unlikely to wait five years without fishing after a losing bid, to return
   and offer a non-green bid. If anything, the most realistic way for a new bidder to seize control
   of a leased area would be to offer an even “greener” bid than the current lease holder.
        257 The Wildlife Society (TWS) is an NGO that conducts a “certified wildlife biologist”
   program that requires a wildlife biologist to comply with a set of professional ethical standards
   in order to be certified. The Wildlife Society, The Wildlife Society Certification Program,
   http://joomla.wildlife.org/index.php?option=com_content&task=view&id=29&Itemid=234
   (last visited Apr. 25, 2009). The ethical standards promoted by TWS directly address the prob-
   lem of a wildlife biologist becoming influenced to serve the vested interests that determine the
   funding for its research activities. The Wildlife Society, Ethics and Professional Conduct for
   Wildlife Biologists, http://joomla.wildlife.org/index.php?option=com_content&task=view&
   id=72&Itemid=72 (last visited Apr. 25, 2009).
Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 93 of 96




     2009] A New Paradigm for Conservation of Great Whales in the Urban Sea of the U.S. 479

     disclosure of field data about whales obtained in the course of licensed
     research (for example, accessibility of photographs and databases of
     whale sightings and locations). Licensed species conservation research
     should not be based on funding from commercial interests or agencies
     that promote commercial activity.
          Ethical conduct requires that transparency standards be imposed
     on agency scientists doing research and assisting in environmental re-
     views. Agency employees should not consult with commercial interests
     until reviews have been completed, and discussions with reviewing
     agency staff should be recorded and conducted under protocols that
     preserve the independence of the reviewing staff. NGOs that publicly
     advertise a commitment to protect wildlife should open themselves to
     public review and comment to insure that these purposes are served
     with objectivity and accuracy.
          The failure to protect great whales is in no small part due to such
     failures on the part of whale researchers and advocacy NGOs. Only re-
     searchers who become certified under professional ethical standards
     should be allowed to obtain research permits under the ESA or the
     MMPA. Even NGOs that professionally involve themselves with wildlife
     conservation should be subject to an ethics oversight certification.

     6. Amend the ESA and MMPA to Correct the Defects that Prevent
        These Acts from Fulfilling Their Intent to Protect Great Whales
          The ESA and MMPA are substantively deficient in their abilities to
     protect whales.258 ESA section 9 prohibitions should be amended to
     explicitly prohibit activities in a specific habitat (for example, lobster pot
     fishing in Cape Cod Bay) that are operating in a manner as a whole that
     has resulted in numbers of killed or injured members of a listed species
     in that habitat in the past. Injunctive relief against individual fishermen
     could be issued upon a simple showing that a party was at- tempting to
     conduct the prohibited activity, without any need to prove that a
     member of a listed species might be taken in the future by parties
     conducting the activity. This would compel regulated parties to apply for
     and receive ESA section 10 incidental take permits and bear the burden
     of proving the stringent requirements for avoiding killing or injuring
     listed species.
          This change would also assist citizen suit plaintiffs in protecting
     great whales from commercial fishing as regulated by state agencies.

         258 See generally Marine Mammal Protection Act of 1972, 16 U.S.C. §§ 1361–1407
     (2006); Endangered Species Act of 1973, 16 U.S.C. §§ 1531–1544 (2006).
Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 94 of 96




   480                      Environmental Affairs                   [Vol. 36:431

   Perhaps due to the Eleventh Amendment of the United States Consti-
   tution and comity considerations, and despite the liability holding in
   Strahan v. Coxe, federal courts appear unwilling to enjoin state agencies’
   licensing activities that incidentally take ESA-listed species. The pro-
   posed change would support successful enforcement suits by expressly
   rejecting the plaintiffs’ unprovable burden of demonstrating by the
   preponderance of evidence that a specific piece of gear will more likely
   than not entangle a great whale in the future.

   7. Rethink Participation in the International Whaling Commission
        The International Whaling Commission (IWC) is an old-school
   whaling entity, not a modern resource conservation agency. It needs to
   be replaced by a new kind of treaty organization. Until then, the United
   States should simply pull out of participation in the IWC and rigorously
   impose sanctions on whaling nations so long as the IWCmaintains its
   role as a harvest-regulating agency. This current role is inconsistent with
   modern standards of treating whales as essential at- tributes of the
   marine environment. The IWC should be replaced witha new protocol
   forever banning hunting of whales, establishing them under
   international law as “Twenty-Ton Canaries,” with their health and
   welfare serving as an international environmental standard for en-
   suring ocean conservation.

                                  Conclusion
        The “Twenty-Ton Canary” is trying to tell us something. Our na-
   tion’s current operating paradigm for protecting the environment and
   preventing the irreparable loss of biodiversity and ecosystems appears
   to be insufficient as applied to great whales living in the Urban Sea of the
   United States and Canada. Great whales continue to be killed and injured
   by a number of avoidable human causes, including entangle- ment by
   fixed commercial fishing gear in the Urban Sea of the United States and
   other nations where they live and breed. The avoidable harm continues
   despite the passage of the MMPA and the ESA and the broad support of
   the public for the welfare of whales. The destructionof the great whales
   is occurring as collateral damage to the exponen- tially increasing
   industrial exploitation of the ocean by a nation that in principle reveres
   them and has extensively protected them under law.
        The essential elements of the Green Knight paradigm are: (1) fo-
   cused and uncompromising advocacy for the environment; (2) an
   alerted public and press who demand action; (3) willingness on the
   part of a democratic government to pass effective and comprehensive
Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 95 of 96




     2009] A New Paradigm for Conservation of Great Whales in the Urban Sea of the U.S. 481

     environmental protection laws; (4) willingness on the part of agencies
     to incorporate the normative mandate to protect wildlife; and (5) the
     willingness of courts to force agencies and industry to protect the envi-
     ronment. For the great whales, some aspect of each of these essential
     elements has simply failed to crystallize.
          It is proposed that things must fundamentally change. The great
     whales should be legally treated as protected attributes of the environ-
     ment like mountains and rivers, and no longer regulated in the cate- gory
     of a harvestable living resource. NOAA should reassign great whales
     from NMFS to an agency solely interested in protecting biodi- versity in
     the ocean, such as the National Ocean Service. NGOs should change their
     modus operandi to that of a Green Knight, taking respon- sibility to
     develop whale-safe fishing gear and working to assure that the fishing
     industry is legally bound to use it. The great whales still await a Green
     Knight to come to their rescue.
Case 1:21-cv-01131-TJK Document 73 Filed 02/28/22 Page 96 of 96
